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                                            REPORTERS          RECORD
                                                                                                 74721
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     2                                  VOLUME    48   OF            VOLUMES


     3                          TRIAL    COURT    CAUSE NO.          F01-00237-T


     4   STATE     OF   TEXAS                                         IN   THE      DISTRICT      COURT

     s   VS.                                                          DALLAS        COUNTY       TEXAS

     6   RANDY     ETHAN    HALPRIN                                   283RD      DISTRICT        COURT

     7




     8




     9




                                                                                           F11       IN
10




11                                               JURY    TRIAL
                                                                                          CCT102003
12


                                                                                    Troy C. Bennett Jr. Cler
13




14




15                 On the       5th   day of     June       2003      afternoon        session       the


16       following proceedings             came    on to       be    heard     in   the


17       above-entitled          and numbered          cause    before       the    Honorable

18       Vickers    L.     Cunningham          Sr. Judge            Presiding        held    in


19       Dallas     Dallas       County     Texas.


20                 Proceedings          reported       by machine       shorthand.


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                           NANCY BREWER   OFFICIAL COURT REPORTER
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     1                                    A   P   P   E A R   A N C E    S


     2   APPEARING          FOR   THE   STATE

     3   Mr.    Toby    Shook
         SBOT    NO.    18293250
     4   And
         Mr.    Bill    Wirskye
     5   SBOT    NO.    00788969
         And
     6   Mr. Tom DAmore
         SBOT NO. 05349500
     7   Assistant District Attorneys
         133 No.  Industrial Blvd.
     a   Dallas Texas 75207
         Phone         214/653-3600
     9


         Ms.    Lisa    Smith
 10      Appellate       Division


 11      APPEARING          FOR   THE   DEFENDANT


 12      Mr.    George Ashford
         SBOT    NO.  01374530
13       325    N. St.  Paul Street
         Ste.    2475
14       Dallas        TX    75201
         214/922-0212
15

         Mr. Edwin King
16       SBOT NO. 11472200
         2305 Cedar Springs
17       Ste.    250
         Dallas        TX   75201
18       214/871-8800



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21




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     i                                         P    R       O    C E E       D    I    N G    S


     2                                                       Jury in

     3                                        THE       COURT            Thank          you.           You     may be

     4   seated.


     5                                   DIRECT             EXAMINATION               CONTINUED


     6   BY MR.       KING

     7                Q.           Mr.       Halprin              before          we    broke          for     lunch we       were

     8   talking       about       how you met George                            Rivas       and the           events

     9   leading up          to    the       escape.              The    six other                 individuals          with


10       which    you escaped                from prison                 were          they         as    best    you know

11       involved          in any       gang       activity             there          at    the       prison          Were

12       they    part       of    --    were       they          part    of       a    gang       at     all    that    you are

13       aware    of

14                    A.           Not       that       I    know       of        no        sir.


15                    Q.           And did you                   see    them          all     once        you    began

16       working       in maintenance                       on    a    regular basis

17                    A.           Most       of    the          guys    in       the       back.         The    guys    in    the


18       front    I    didnt           see    too    much.


19                    Q.          Okay.            When          you    started             discussing           this    escape

20       situation with                Mr.    Rivas              were    there occasions                       when

21       everybody         would        get    together                and discuss             the        escape

22       situation

23                    A.          With        Rivas          and the          people          in the           warehouse

24       yes.     With      the        guys    in the             front           not       until        the    end     no.




                           --283RD
25                    Q.          Okay.            And       who       did       --    who    did the           planning




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 i   who   did the        majority of           the       planning       of    the       escape

 2             A.              George       Rivas.


 3             Q.              Did you        aid or assist             in    the    planning            of    the


 4   escape

 5             A.              Not    really         not    on the       big    stuff           no       sir.


 6             Q.              All    right.         Now     yall were working                      in


 7   maintenance          and    thats where               the    escape       began          is    that


 8   correct

 9            A.               Yes     sir.


10             Q.              And you were           able       to    overpower           on      some


11   occasions        some      of    the     individuals             were    struck       with      objects

12   over the       head        is    that     correct

13            A.               Yes     sir.


14            Q.               Some    of     the    other       escapees       had prison-made


is   weapons        is    that       correct

16            A.               Yes     sir.


17            Q.               Some    type     of    shank       or some       type       of      metal


18   object      is      that    correct

19            A.               Yes     sir.


20            Q.              All     right.         And    those       individuals             that      were


21   overpowered              they    were     civilian          employees          of   the       Texas


22   Department          of    Corrections           for    the       most part          is     that


23   correct

24            A.              Yes      sir.


25            Q.              All     right.         At    the    end there          was      also a          couple




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     1   of    other       inmates that             were       overpowered          and everybody               was   put


     2   into    an     electrical           room of           some    kind    or some         type     of      utility

     3   room     is       that    correct

     4                A.           Yes       sir.


     s                Q.           Some      of     those       individuals         had been          tied up         or


     6   bound        is    that    correct

     7                A.           Yes       sir.


     8                Q.           Clothing was                taken    from some         of    those


     9   individuals

10                 A.              Yes       sir.


11                    Q.           Part      of     the    escape       plan    was      to    move     from the

12       maintenance            building           location       to    one    of   the       towers       so    that


13       the    gates       could      be    opened        and    yall could             get    out        is    that


14       right

15                 A.              Yes       sir.


16                                           MR.     SHOOK            Judge     well object                to


17       leading       questions.

18                                           MR.     KING         I    apologize         for    leading           Your

19       Honor.        Im       just     trying       to       cover    some    basic         ground.           Im

20       sure Mr.          Shook    will      have        an    opportunity         to    flush       it     out.


21                                           THE     COURT            Still    leading.          Sustained.


22                 Q.              By       Mr.    King          Were    you    one      of    the    individuals

23       that   went       up     into      the    tower

24                A.               No       sir.


25                 Q.              Who      were     those       individuals          that      went       up   into




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     1   the    tower

     2               A.         George           Rivas        Larry Harper              Patrick          Murphy

     3   and Donald Newbury.


     4               Q.         And did you              ever       go    up    into    the      tower

     5               A.         No        sir.


     6               Q.         Where       were       you     at    that       point       in   time

     7               A.         I    was    in     the       maintenance             shop.


     8               Q.         Okay.         At    some       point       in    time did          yall        leave


     9   the    prison

10                   A.         Yes        sir.


11                   Q.         And how did you                 leave          the    prison

12                   A.         In    a    white       pickup        truck.


13                   Q.         And where           were       you       located       in    the      pickup

14       truck

is                   A.         I    was    under        a   board        in    the    back      of    the   bed of

16       the    pickup     truck.


17                   Q.         And was           there       anybody else under                   the   board

18       with    you

19                   A.         Yes        sir.


20                   Q.         Who

21                   A.         That       was     Patrick          Murphy           Mike    Rodriguez          and


22       Donald      Newbury.

23                   Q.       Would         it    be     safe       to   say that           yall were hidden

24       underneath        this     board        and     the    other members were                    either     on


25       top    of   the   board     or in the               truck




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     1                   A.           I    believe        they were          in the       truck.


     2                   Q.           So    the     truck       would       have    appeared          to    whomever

     3   was       in the       tower who           might be          observing          this    as    having       three


     4   individuals             with      uniforms of               some    kind

     s                   A.        Yes        sir.




--11
 6                       Q.        Driving           a    State       vehicle       off    the    property

 7                       A.        Yes        sir.


 8                       Q.        Now        were        any    shots       fired during             the    escape

 9                       A.        No        sir.


10                       Q.        Was      anybody            stabbed       during       the    escape

                         A.        No        sir.


12                       Q.        --      during         the    escape            Okay.        Once       yall     left


13       the       prison        where      did you            go
14                       A.        We      went     to     --    actually           we    went    into       the    town

15       to    a    Wal-Mart.

16                       Q.       And what               was    the    purpose       of    doing       that

17                       A.        To      pick     up     a    vehicle       that       had been          left    there

18       for       us


19                       Q.       All       right.             Did    you have       anything          to    do    with

20       arranging the            vehicle           to     be    there

21                      A.        No        sir.


22                       Q.       Presuming               that       you    took    that    vehicle           did you

23       leave          the   truck       or keep        the     truck

24                      A.        We       left     the        white       pickup    truck       there.


25                      Q.        And where              did     yall proceed              from that          point




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     I             A.           Went    to     San       Antonio.


     2             Q.           Did    yall stay there long

     3             A            Just    the     night.


     4             Q.           Now     in between              that       point       in time          and the


     s   Oshmans         were    there        any       robberies          committed

     6             A.           Yes     sir.


     7             Q.           Where    was        the    first          one

     8             A.           Radio    Shack           in Houston.


     9             Q.           And    did you participate                       in that       robbery

10                 A.           Yes     sir.


11                 Q.           And    did you           carry       a   gun     in    that    robbery

12                 A.           No     sir.


13                 Q.           What    was     your       role          in that       robbery

14                 A.           Just    to     go       in and grab            stuff.


15                 Q.           Who    did carry weapons                    in    that       robbery

16                 A.           The    only two           that       Im     aware       of    were      Donald

17       Newbury    and George          Rivas.


18                 Q.           And    did     they       go    into      the    Radio        Shack      and

19       secure    the   employees

20                 A.           Yes     sir.


21                 Q.           Did    yall         take       --   what       did you        take

22                 A.           Went    in there           and      grabbed           some    --    a   couple    of


23       DVD   players      some       junk         I    believe         some    phone        cards       radios

24       two-way    radios        some       scanners               glue       different           electronical

25       sic      components           things           like    that.




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     1             Q.            Now        were     any       shots           fired at          that       location

     2             A.            No      sir.


     3             Q.            Were       there any           confrontations                       between


     4   employees            customers            and Mr.           Rivas          or anybody else who                   had


     s   a   weapon

     6             A.            There       was     actually              before          we    had gone          in

     7   somebody       had droven           up     in a       van        while       Rivas          was    in the


     8   process of           taking    care        of    the        robbery          or       the    employees         and

     9   putting       them     in the       back.         And        I    just       noticed          they went          into


 10      the    store    with        them.         And    then            you       know        later he       called         us


 11      in.     When    we     went    in another              person              showed       up    at    the    door


 12      and    just    out     of    the    blue        and he           told him to                go to the       back.


 13      That    was    it.


 14                Q.            All    right.            So    there           were       some       surprises

 15      during    the        course    of     the       robbery               but    they       resolved          in a


 16      manner    where        no one       was     shot       and no              one    was       hurt

 17.               A.            Yes        sir.


 18                Q.            Whose       idea        was    it        to    rob       the    Radio       Shack

19                 A.            That       was    George        Rivas.

20                 Q.            Theres           another        robbery                  is    that       correct

21       after    that        point    in    time

22                 A.            There       was     a    Western Auto.

23                 Q.            Did you participate                           in    that       robbery

24                 A.            No     sir.


25                 Q.            Did you go              and help              carry       anything         out    of     that




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     1   one

     2             A.         No      sir.


     3             Q.         Who     went       and did that                   robbery

     4             A.         It    was     Patrick          Murphy              Donald      Newbury          Joseph

     5   Garcia     Larry Harper             and George                Rivas.


     6             Q.         All     right.           And    who did not               go
     7             A.         Michael        Rodriguez             and myself.

     8             Q.         Why    didnt you participate                             in that         robbery

     9             A.         Because        I       told    them       I       wasnt       going      to    rob       any

10       more.


11                 Q.         Did    they        --    were       you       left      by yourself

12                 A.         No.


13                 Q.         And nobody              forced       you to            go along with            these

14       guys     did   they

15                A.          No     sir.


16                 Q.         Why    did you           want       to    escape         from prison


17                A.          I    wanted        a    chance       at       a   new    life.


18                Q.          Now     did        yall        leave          that      area     after        that


19       second    robbery

20                A.          We    left.            Im     not    sure         of    the    time      period          but


21       we   did go    to   Dallas       after        that.


22                Q.          Okay.         Did you          --   whose          idea       was   it    to    rob      the


23       Oshmans

24                A.         George         Rivas.

25                Q.         Now      I   want        to     talk       about         the    Oshmans.              I




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 1   want    to    start      with       going        into          the    store         going     into     the


 2   Oshmans.           Who       goes    into        the          Oshmans           first

 3                A.          As best           as    I    can       remember            it    would   have       been


 4   Donald       Newbury         and Joseph              Garcia.


 s                Q.          And what           were          their roles             to     be

 6                A.          I    believe           Donald          Newburys            role was      to    go to

 7   the    gun section            and Joseph              Garcias              role    was     supposed      to    go


 8   and gather         shoes       in    the        shoe          section.


 9                Q.          Who    went        in       next

10                A.          That       would        have          been       Michael        Rodriguez      and


11   myself.


12                Q.          And    what        were          yalls roles

13                A.          To    go    in and           act       like       we    were     shopping      and


14   fill    up    a   shopping          cart.


15                Q.          Who    went        in       after       that

16                A.          That       would        have          been       Larry Harper        and George


17   Rivas.


18                Q.          And what          were           their roles


19                A.          Their       roles were                 to    act       like     security      guards.


20                Q.          Did    you have              a       weapon

21                A.          Yes        sir.


22                Q.          What       kind        of    weapon          were       you     carrying

23                A.          I    was    carrying one                    of    the    revolvers       from


24   prison.


25                Q.          And was       there              a    color       coding        system




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 1             A.         Yes        sir.


 2             Q.         All    right.           And    whose        idea       was    that

 3             A.         That       was    George       Rivas.

 4             Q.         And    did you          have    tape        on your          gun

 5             A.         I   believe         yes        sir.


 6             Q.         And    whose       idea       was     it    to       put    the   tape   on the

 7   guns

 8             A.         That       was    George       Rivas.

 9             Q.         Once       Mr.    Rivas       and Mr.        Harper          entered     the


10   store     was   there      at    some    point       in     time          when    there was       some


11   indication      that     the     robbery       was       going        down

12             A.         Can you repeat                the    question              again

13             Q.         Sure.        Once       everybody           was       in the      store      at


14   some   point    in time the            robbery       went        down           correct

15             A.        Yes         sir.


16             Q.        All     right.           Where       were     you       right      before     the


17   robbery      went   down         Where       were    you          What          part   of   the   store


18   were   you     in

19             A.         I   was     in the       apparel           section.


20             Q.        All     right.           And    where        was       Mr.    Rivas

21             A.        As     the    robbery          was    going           down     right

22             Q.        Correct.


23             A.        He     was    up    at    the    front            I    think       at   the   cash

24   registers.

25             Q.        And     who       did he       have     with          him up there




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     1               A.            The    best        that       I    can          remember            it    was    Larry

     2   Harper           Joseph       Garcia         and Donald                   Newbury.

     3               Q.            Now       where         was       Rodriguez

     4               A.            Rodriguez              was    with          me.


     s               Q.            And what           were       yall              still        doing

     6               A.            We    were        loading          up       a    shopping           cart.


     7               Q.            How    did you know                    the       robbery        was       going    down

     8               A.            I    could        hear them                 you know.               He    was    within

     9   hearing      distance           and     I    could          hear him from where                       he    was.


 10                  Q.            Now       was      everybody                also        carrying          radios

11                   A.            Yes       sir.


12                   Q.           And     did        all    the       radios             have     the       ear things       or


13       not

14                   A.           No      sir.


15                   Q.           Okay.         Just        some          of       the     radios

16                   A.           Yes        sir.


17                   Q.           But     the        radios          --    could           you hear somebody

18       talking      on the           radio

19                   A.           At     the    time        there was                a     lot    of    different

20       chatter.          There       was     just        chatter             coming           from somewhere          else.


21       I   guess    somebody           else had           some          two-way           radios          and there was

22       some    like      normal        family           chatter.             And         then    there       was    also

23       Rivas    who      would       check         in    every once                in     a    while and          Patrick

24       Murphy      would        also.


25                   Q.           Now        you had         a    gun




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     1                 A.           Yes           sir.


     2                 Q.           Why       did you               take        a    gun    in   there

     3                 A.               I   felt       that         I    didnt have              a   choice.


     4                 Q.           What          do     you        mean

     5                 A.           You       know              I       before        the    robbery          I    even       told


     6   them         Im     not    going          to       go in and carry a gun and                              there was          a


     7   little        argument             and they             made         it    very clear          that        you       know

     8   it   was       you    know           their way                  or the        highway.          And       so    I    told


     9   them     I    wasnt        going          to       pull a gun                and they         said        fine        just


 10      gather        clothes              grab a          shopping                cart    and gather             clothes.


11                     Q.           Is       that        what           you    did

12                     A.           Yes           sir.


13                     Q.           And       you        heard           Wes        Ferris testify

14                     A.           Yes           sir.


15                     Q.           Were          you       one         of    the     individuals         up       there that

16       made     a    semicircle and pulled a                                 gun on anybody

17                     A.           No        sir           I    was         not.


18                     Q.           Once          Mr.       Rivas            had gotten          all    those

19       individuals           corralled                    what         happened          next         What       was       your

20       role          What    happened                next

21                     A.           As       far       as       that         was    going    down        my role was

22       still        where    I    was           to    load            the    shopping          cart    up       and        you

23       know         stay    in that             area.


24                     Q.           What          were          you      looking       for

25                    A.            I       was    looking               for       jackets       and    you       know




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     1   T-shirts           whatever             was       around       that       would       help     us    out.


     2               Q.            Were          you       --    is    that       --    were       those     instructions


     3   or were       you    just       grabbingstuff                       that       was    attractive           to    you

     4               A.            No.           There          was    specific          instructions              to    grab

     5   jackets          you know               T-shirts              long       sleeved          shirts you            know.


     6               Q.            Were          you       doing       that       just       for    yourself though

     7   grabbing         clothes        just          for       yourself

     8               A.            No    sir           no       sir.


  9                  Q.            Who       were          you grabbing                clothes       for

 10                  A.            For everybody.


 11                  Q.            All       right.              The    robbery          is    going       down.         They

 12      have    got      most of        the          employees.                 What    happens        next

 13                  A.            Um        I    remember             hearing          on    the    radio     that


 14      somebody         had somebody                 --       there was          a    person in the back

 is      because       actually          during             that       time Rodriguez                had taken           off.


 16      I   dont      know       where          he    went       at    the       time        but    then    he     said


 17      that   he     had    somebody                in    the       back       and they          said bring them              to


 18      the    front.        I    was       still          where       I    was       and    Rodriguez        had


 19      brought       Laura       Fernandez                by the          aisle       in    front     of   us     and


 20      brought       them       up    to       the       front       and then          shortly after              that       he


 21      marched       --    Rivas       marched                everybody          down       the   aisle      to       the


 22      back   with        their hands                in       front       of    each       other      past      me.


23                   Q.            What          happened             next

24                   A.           At     that          time           then        there       was   a   call      for     me    to


25       come   to     the    back       to      grab an employees                           T-shirt.




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     1             Q.            To      the     back          where       are you              talking    about

     2   Where    did you       go
     3             A.           The       breakroom.


     4             Q.           All       right.              And    who was          asking        you    to    do       that

     5             A.           George           Rivas.


     6             Q.           Did       you       go back          there

     7             A.           Yes           sir.


     8             Q.           And what             did he          give       you        if    anything

     9            A.            He       gave       me    a    red employee T-shirt.

10                 Q.           Did       you receive                any instructions

11                A.            He       said        Put        it    on and go to                 the    front       and


12       act   like     you are          cleaning             up.

13                Q.         And what                did you          do

14                A.            I       put    it    on       and went          to    the       front.


is                Q.         What             was    the       next       thing       that       happened        of


16       significance

17                A.         At          that       point       Rivas       came       up       later with        Wes


18       Ferris and       took          him to the             security          room where              the    cameras

19       were.    I     turned          my back          as    they were             walking       by and he

20       walked   in.      And          shortly after                walked          out    and dropped           off       a


21       gym bag and       said           Keep your                 eye    on    that            and took       off.


22                Q.         What             happened         after        that

23                A.         I          stayed       --       well        the   phone           rang      the


24       telephone      rang.           And     I    called          George          and    I    asked     him        I




25       said     Theres            a   phone        ringing          up    here.           What    do     you want             me




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     1   to    do        And he          said            Answer             it.

     2              Q.              So       something             happens.              You       are       calling       Rivas


     3   and    asking     for          instructions


     4              A.              Yes           sir.


     5              Q.              Did          you     answer         the       phone       call

     6              A.              Yes           sir.


     7              Q.              Was          there       anybody          on the          line

     8              A.              I    couldnt              hear anything.


     9              Q.              Did you             hang       up
10                  A.              Yes           sir.


11                  Q.              What          happened             next

12                  A.             At        that       point          things       started             to    get    a    little


13       excited     and       I    heard          on the          radio           Get out               get       out.         And

14       you    know      Go            leave           leave          now.

15                  Q.             What           did you          do

16                  A.              So       I    grabbed          the       bag and          I    grabbed          another        bag

17       and the     bag that                George          Rivas          had placed             on    the       ground       and


18       told   me       you       know           keep       your       eye       on     and       I    grabbed          that    and

19       another     bag       and       I       ran    to    the       back.


20                  Q.             Now            when       you       say you          ran       to    the    back        what


21       are    you referring                    to

22                  A.             The           fire    exit          at    this       time.


23                  Q.             Were           you    the       first          one    there               The    last    one


24       there

25                 A.              At        that       time       I    was       the    first          one    at    the    back.




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     1                Q.             Okay.            And       did you            leave       out    the       fire    exit    at


     2   that       point      in    time

     3                A.             I     pushed          the      door       open       and then          Larry Harper

     4   came       out    and he          said          Go        grab the          long       sleeping          bag      or


     s   ordered          me   to.


     6                Q.             Long          sleeping             bag

     7                A.             Right.


  8                   Q.             Where           did you            go
  9                   A.             I    went        and grabbed                  the    sleeping bag             and there

 10      was    a    bunch      of        rifles         in it.


 11                   Q.             Where           was      that            Where       was    the    sleeping          bag

 12                   A.             That          was     up      --    I    want       to    say    close        it    would

 13      be    the    hunting            section           or      near the          --       near    where       they    kept


 14      the    guns.          Im        not       sure       of    that       area.


 is                   Q.             Okay.            And       where         was    the       sleeping         bag

16                    A.             It       was     just         lying out             in    the    middle       of    the


17       aisle.


18                    Q.             Okay.            And       was      it    unfolded          like       a    long

19       sleeping          bag

20                    A.             Right.              It     was      fully       out.


21                    Q.             Okay.            And       was      it    zipped          up

22                    A.             It       was     zipped up               on the          side.     It      had all        the


23       guns       pushed     up        in    it.


24                    Q.             Okay.            And       when         you    are       talking    guns           what


25       kind   of     guns      are          we     talking            about




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      1                A.           Im     not       sure       of    everything           that    was    in    there


      2   at    the    time.        I    know    that       there       were        some    rifles.


      3                Q.           Was    it    white          or    heavy

      4                A.           It    was    very       heavy.


      s                Q.           Okay.        Were       you able           to    pick     it   up
      6                A.           No     I    had to drag             it.


      7                Q.           All    right.           And       what     did you        do      Where      did


      a   you    go    with    it

      9                A.           I    ran.        I    went       back     to    the    back.


 10                    Q.           Okay.        And       did you have              the    sleeping bag            with


 ii       you

 12                    A.           Yes.


13                     Q.           All    right.           Now        once        you got     back      --   you    say

14        back        you   talking        about          the    fire       exit

15                     A.           The    fire          exit        excuse        me.


16                     Q.           Once       you get          there         what       happens

17                     A.           I    went    down       the       stairs         the    fire    exit       stairs

18        and    I    dragged       the    bag and          I    opened        up    the    Ford    Explorer

19        door.


20                     Q.       Where           was       the    Explorer

21                     A.           It    was    almost          right        in    front    of    the    fire      exit


22        door.


23                     Q.       Now            you       talking       about        the    exit    you    came      out


24        of

25                    A.        Yes.




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     1             Q.           And    as     you       came       out        tell       us    what        happened.


     2             A.           There       were        a    couple       of       others           out    at    that      time


     3   and    they    were    bringing           stuff          out    and       I    was    just        --    my main

     4   concern       was    just    pushing           the       bag    in    the       car.


     5             Q.           Now      at       that       point       that          you came           out        was


     6   Officer       Hawkins       or his vehicle                 in    view

     7             A.           No     not        at    the       time.


     8             Q.           All    right.               You    came       --
                                                                                       you come           down       the


     9   stairs-and          you get     to       the       Ford    Explorer              is        that       right

10                 A.           Yes      sir.


11                 Q.           All    right.               What    door are you                at

12                 A.           Im     at     the       left       side        actually              the       drivers

13       side    rear door.

14                 Q.           And    what        are you          doing          --    what       have        you    got

15       What    are    you trying          to     put       in    there

16                 A.           Im     trying           to    shove       the          sleeping           bag with         the


17       rifles    in.


18                 Q.           Where       are you           trying          to       shove        it

19                 A.           Into    the        back       seat.


20                 Q.          Are     you        talking          about       the       back        seat       where      the


21       passengers          sit

22                 A.           Yeah        the        passenger          seats.


23                 Q.           Okay.         Where          is    --   whos            around           you    at    this


24       point    in    time

25                 A.          Um      if     I    remember             correctly              it        was    --    Joseph




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     1   Garcia was             out    Larry Harper                was       out      I    want        to    say Michael

     2   Rodriguez          was   outside.


     3               Q.-          Okay.        Anybody             else

  4                  A.           George       Rivas              also.


     5               Q.           All    right.              Where       was        Rivas

  6                  A.           Um     this       was       before          the     patrol       car

  7                  Q.           Right.


  8                  A.           He    was    still          --    I    think        he    was        in    the     front


  9      drivers           seat   with       the    door          open.


 10                  Q.           Okay.        When          is    the       first        time    you        see     the


 11      patrol      car

 12                  A.           As    it    was       pulling up.

 13                  Q.           And    what       happens             as    Officer        Hawkins               pulls       up

 14      in    the   car

 is                  A.           George       Rivas          told me          to     stay put.

 16                  Q.           And    what       did you             do

17                   A.           I    stayed put.

18                   Q.           What       did George             Rivas       do

19                   A.           He    walked          up    to    the       patrol        car.


20                   Q.           Now        did    the       patrol          car     --    was    it        still


21       moving            Is   that    what       is    happening                   Or did       it        come     to    a


22       stop

23                   A.           At    that       time       I    think       it    was     at    a        full     --    it


24       was   completely             stopped.


25                   Q.           Whats        the       next       thing       that        happened




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     1                A.            I    remember           seeing George                Rivas       reach          for


     2       something.


     3                Q.          What         did you think                 he    was-reaching                for

     4                A.            I    thought        he       was       reaching       for       his       ID    his


     5   security          badge.


     6                Q.          What         did you           think       was       going    to       happen        at    this


     7   point       in    time

     8                A.            I    thought        that          he    was    going       to    say        hey         you

     9   know        Im     a   security            guard        or    something          to    take          him


10       off-guard.

11                    Q.          Okay.             What     did you             think    might          happen        after

12       that

13                    A.          That         he    would        just           you    know        say        hey        kind

14       of    pretty much              what       had happened              in    the    previous             robberies

15       that       you    know         you    came     at       us    at    a    bad time           you       know

16       handcuff          him or whatever                  hes going              to    do    and       we    were     going

17       to    go    on our way.

18                    Q.          What         ended        up    happening

19                    A.          He      ended        up    firing          some       shots.


20                    Q.          All         right.         What          happens       --    what       do    you     do


21       when       George      Rivas         --    when     you       say       firing        shots            tell        the


22       jury how          that   happened.                 Whats           George       Rivas       doing

23                    A.          He      walked        up       to    the       car where          the       patrol        car


24       was    and he       reached           back.         I    saw       him reach          back       for      his       what


25       I    thought      was    his         security           badge.           And then          at    that      time he




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     i   had    said something                       I     cant                remember             what          he    said        and then


     2   the    next        thing          you know               I       just          heard       gunshots.

     3                Q.               What         did you                   do

     4                A.               I    freaked               out          and started                   running          around    the


     5   car.     I        ran around               the       Ford Explorer.                             The       first       thing    in my


     6   mind was          get        across         the          field.


     7                Q.               Okay.             Now              had       yall        left          a    car       someplace

     8                A.               There         was          a       blue          Honda       across             the   field     at    the


     9   apartment             complex.


10                    Q.              And       why       had             yall           left       a    car       there

11                    A.               In      case       we          had          to    take       off       on foot.

12                    Q.              So       is    that             where             you    were          headed

13                    A.              Yes           sir.


14                    Q.              And as you                      ran          off        what       happened

15                    A.              I     heard         somebody                      call    my name.                 I   turned

16       around       and       thats           when          I       felt          my foot             go    numb.


17                    Q.              Did you know                            at    that       point          you      had been        shot

18                    A.              I     felt         like             I    had been          shot              yes       sir.


19                    Q.              All       right.                    What          happened             after       that        Whats

20       the    next       thing           that     happened

21                    A.              I     had gone                  down          those        like             there      was    like     a


22       grassy embankment                     and        I       remember                going         by them.              By then            I




23       believe           a    lot       of   people              had             filed       into          the    car      because        the


24       car    was    already moving.                                I       remember          Joseph             Garcia      and

25       Rodriguez             doing       something                      and       the       car       the        patrol      car




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     1   moving       back       and the           car          the       Explorer backing                    out.        And

     2   then     I   heard       somebody                tell       me       to       Get     in the        car.        Get       in


     3   the    car.         And        I    jumped            into       the      front        the     right       side        of


     4   the    front       seat        in    Newburys                   lap.


     5                Q.           Is        that         --    thats           the      front        seat    of    the


     6   passenger          side

     7                A.           Passenger                   side           yes      sir.


     8                Q.           Passenger                   side       front        seat

     9                A.           Right.


10                    Q.           Now         was         there          any other            gunshots           that    you

11       heard        other       than Rivas.


12                    A.           Um         everybody                  that      was    out      there was         firing.


13       I   mean      it    was        --    as     soon           as    Rivas        had     shot         there    was       a


14       brief pause             and then            it        was       just      like       just     nonstop       shots.


is                    Q.           Did you pull your                            gun      and shoot           your    gun

16                    A.           No         sir.


17                    Q.           Where           was         your       gun

18                    A.           At        some       point            in   time       it    fell     down       my pants.

19                    Q.           What        do       you         mean

20                    A.           It        actually               --    because         I   was      just       holding          it


21       like   in     the       jeans        belt        area            the      waist      of      the    jeans        and

22       thats        all    I    had to           --     you        know          I   didnt have             a    holster           or


23       anything.           And    at        some        time           during        all    that      incident           it        had

24       fallen       down       my pants           leg.


25                    Q.           What        kind            of    pants         did you have             on




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     1                A.               I    had some              bluejeans.

     2                Q.           Were           they           bellbottoms          or


                      A.           No.            They        were       like     just           you    know         like


     4   straight          leg    Levis               or something.               I    dont know              what       style


     s   you    would       call           them.


     6                Q.           So        you didnt                 lose    your        gun        did    you

     7                A.           No.


     8                Q.           Where              did    yall         --   once        you       jumped       in the       Ford

     9   Explorer           what           happened           after you          jumped          in    the    Ford

10       Explorer

11                    A.           Um         I       think       somebody       had        said something                like

12       were     missing somebody                          and everybody              turned          and    looked

13       around       and Rodriguez                    was       still     outside.              And    Im        not    sure


14       what    he    was       doing            but       it    looked       like        he    was    lost        and they

is       told him          to    get        into       the       car     and    you        know        Im     not       sure


16       where    he       got    in        at        but    thats        when        they       drove       off.


17                    Q.           Were           there          any shots       fired as              yall drove              off

18                    A.           When           I    got       into    Newburys               --   when     I    jumped

19       into    Newburys                  lap        there       were    a    couple           more    shots           yes

20       sir.


21                    Q.           Who        fired those

22                    A.           Newbury.

23                    Q.           When           he    fired those              what           happened

24                    A.           I       yelled            Oh          shit.         I   didnt         know       what      was


25       going    on.




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      1            Q.            All    right.                  When       you were       sitting            on    top    of


     2    him and he      was     shooting              a       gun

     3             A.            Yes        sir.


     4             Q.            Out    of     the          car

     s             A.            Yes        sir.


     6             Q.            Did    it    affect              any       part of       the          car

     7             A.            It    blew        out          the    window.


     8             Q.            So    he    was        shooting             through          a    closed         window

     9             A.            Yes        sir.


 10                Q.            Where       did        yall go from there

 11                A.            We    drove        --          Im     not       sure    of       the    directions            or


 12       anything      like     that.        All           I   know        is    we    drove          straight      to    the


 13       apartment      complex.


 14                Q.            Is    there        a       lot       of    confusion             at    this   point

 15       obviously

 16                A.            Yes        sir.


 17                Q.            You    in any              pain       at    this       point

18                 A.            Yes        sir.


19                 Q.            And where              did       yall go after you                       left


20        Oshmans         Who     was       driving

21                 A.            At    that    time in the                       Ford   Explorer             George       Rivas

22        was   driving    it.


23                 Q.            And where              did       yall go

24                 A.            We    went    to           the       apartment complex.

25                 Q.            Which       one




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     1             A.           The       one        across       the     field.            Im     not    sure    the


     2   exact     area   because             George        Rivas       had actually               dropped       us   off


     3   and told us       to       get       out.         There    was        like     a    white       trailer      that


     a   he    dropped    us    off       and we           piled    out        and kicked           some       bags   out


     s   and    thats where           we       stayed until               --    to     wait       for    the


     6   Suburban.


     7             Q.           When          you     are    talking           about        his    apartment          is


     8   this    where    the       car       had been           left

     9             A.           The       blue        Honda        yes         sir.


 10                Q.           Okay.            Now        who    left        in     the    Honda

 11                A.           Um        I    believe           Joseph Garcia                Donald Newbury


 12      and George       Rivas.


 13                Q.           All       right.            What    happened            to    the       Ford

 14      Explorer

 is                A.           I    guess            it    was    just        left     there.


 16                Q.           Who       came        and picked          you        up
17                 A.           Patrick              Murphy.


18                 Q.           What          was     he    driving

19                 A.           The    blue           Suburban.


20                 Q.           Did you get                 in the      Suburban             and leave         with

21       them

22                 A.           Yes           sir.


23                 Q.           Where          did       yall go

24                 A.           We    went          to     the    Econo        Lodge      where      we   were

25       staying    in.




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     1                Q.          Now        when       you got           to    the    --       when       you     were




 --7
     2   waiting          for   Murphy       to    show        up     had you          retrieve                your gun

     3   yet

 4                    A.          No.        In    fact         in    the       parking          lot       of    the


     5   apartment          complex         while we           were       waiting           I    pulled          it    out       of


 6       my pants          and stuck         it    in     a    bag        out    of    the


                      Q.          So       you pulled           it    out       of    your       pants

 8                    A.          I    pulled        it       out    from the          bottom where                   it    had


 9       fallen       down      the    leg of        the       pants       and put          it       in    a    bag.


10                    Q.          All       right.            A bag of          what

11                    A.          Im        not    exactly           sure       of    everything                that       was    in


12       there.        I    remember         a    T-shirt           and    I    put    it       in a       T-shirt          and


13       put    it    in the      bag.


14                    Q.          Yall           went     to    the       Econo       Lodge

15                    A.          Yes.


16                    Q.          And       what    happens           when       you       get       to    the    Econo


17       Lodge

18                    A.          Somebody          helped           me   upstairs               I    cant        remember


19       who        and takes         me    to    the     bathroom             and turns             on the       faucet


20       and    I    rinse my foot.

21                    Q.          All       right.         Now        did you          take          off       your    shoe


22       and your          sock

23                   A.           In       the    Suburban           on   the        way    over.


24                   Q.           Okay.           Once     you       were       back       at    the       Econo       Lodge

25       what       transpired there




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     --2
     1




     3
                     A.


                      Q.


                     A.
                                     Um

                                     You


                                     Washing
                                               are     washing

                                                       my foot
                                                                         your      foot

                                                                         and Donald Newbury                  came    In    and


     4   he    said        Whats           wrong            with       you         And    I    said     Ive         been


     s   shot       in the       foot.            And        he    told me         to    stop    whining       and stop


     6   crying       and he         said that               George         Rivas       had been      shot     and        you

     7   know       because          I    remember             him saying           he    was    shot       in the    car

     8   but    I   wasnt        sure where                  he    was      shot    at    and    I   asked     him where


     9   and he goes              You know where                        because         you    did   it.

 10                  Q.              What       did you            say

 11                  A.              I    said         What            are you      talking          about

 12                  Q.              What       did he            say

13                   A.              And he           said        --   he    goes        You were firing

14       crazy.            And   I       said         I     never        shot      my    gun.

15                   Q.              What       happened               then

16                   A.              And he           said         Well         well          see.    Wheres         your

17       gun         And     I   said           Its            in a      bag somewhere.                 I   was     telling

18       him    to     Check             the    gun         check        the    gun.

19                   Q.              Did       they       go      check      the    gun

20                   A.              Yes        sir.


21                   Q.              And had           it      been      fired

22                   A.              No        sir.


23                   Q.              Now        that        took       the     heat      off    of   you

24                   A.              Yes        sir.


25                   Q.              And what             was     happening           after      that       once     they




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     1   figured       out          it    wasnt                 your    gun

     2             A.                    Um        everybody                was       trying       to    shift       the    blame.


     3   Nobody would                   really give                --       nobody       said           you    know        said it


     4   could    have          been          me       or       maybe       I    did    it    or        you    know        it    was


     5   pretty much                 you know                    they       just       said what             exactly       they    did.


     6             Q.                    Were           in a       nice           calm       courtroom          and    youre           up


     7   on the    witness                stand             and you             are    answering             these questions

     s   in kind       of       a    calm manner.                       Is       that    what       was       happening          there

     9   in the    Econo             Lodge

10                 A.                    No        it       was    very          tense.        I    guess       you can          say


11       everybody          was          real          excited.


12                 Q.                    Well           when       you          say    excited                you    talking

13       about    excited                happy

14                 A.                    No        absolutely                   not.


15                 Q.                    What          was       being          said about          the       officer

16                 A.                    Um        I    remember                saying       something          like        you

17       know     what          exactly                happened                  Were    yall           --    what    were       yall

18       shooting       at          and       everybody                was       saying        I    dont know               I    dont

19       know    what       I       was       shooting.                 I       was    just    shooting.              And       George

20       Rivas    said              I     think             I    killed          him.         And       thats        when

21       everybody          kind          of    sat             quiet.


22                 Q.                    Did    anybody else                      say they          shot       at    him

23                 A.                    No     not             until       later.


24                 Q.                    How    long             did    yall stay there                         Yall didnt

25       have    any    medical                supplies




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     1               A.         No.


  2                  Q.         Somebody          go       get       some

  3                  A.         Yes        sir.


  4                  Q.         Who    was       that

  s                  A.         Larry Harper and Donald Newbury.

  6                  Q.         How    long       did       yall            stay there at                the    Econo


  7      Lodge

  8                  A.         We    left       the       next      day.


  9                  Q.         Where       did you             go
 10                  A.         We    went       straight            on      to    Colorado.


 11                  Q.         And    did you             end up           --    were       you    with       anybody

12       when   --    were     you with          them       when       the        RV was          purchased

13                   A.         No.


14                   Q.         Did    you       go    to       purchase           the       Honda       down    in


15       Houston      or San Antonio              wherever             it        was    purchased

16                   A.         No.        It    was       --    I   think         it       was    actually

17       purchased        --   they    said       somewhere               near Galveston.                      Im     not


is       sure   exactly         but    I    was       at    the      mall         at    the       time    they    had


19       gone   to    purchase        the       Honda.


20                   Q.        All     right.              On    the      road         to    Colorado          and up       in


21       Colorado         did you ever            go with            them         and purchase             any

22       vehicles

23                   A.        No      sir.


24                   Q.        Where        did you             spend        most       of    your       time

25                   A.         In    Pueblo          all       of   my time was                  spent    inside       the




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     --7
     1   motel     room.


     2              Q.              And    how        long       did    yall stay                 in    Pueblo

     3              A.              A couple           of    days.           Im     not       sure       how many            days


     4   exactly.


     s              Q.              Where       did     yall go from Pueblo

     6              A.              They       had said that                 they    had found                an       RV


         they wanted           to    actually           drive          around       an    RV park             and they

     s   were     like    searching             and everything                 and       they          found       a    place      in


     9   Woodland        Park.


 10                 Q.              All    right.            And       did    they       at       some       point

 11      purchase        the    RV

 12                 A.              Yes        sir.


13                  Q.              And did all              of    yall        stay up             there in the               RV

14                  A.              Yes.


is                  Q.              Was    there        ever       any discussions                      --    before         the


16       Oshmans          was       there       ever        any    discussions                about          breaking        up


17       and     yall going your separate ways

18                 A.               Um     I    had     --       there was          like          no   really verbal

19       --    nobody     you        know        said anything                at     that          time.           I   had in

20       my mind what           I    was       going        to    do    later on.


21                 Q.               Which       was    what

22                 A.               Which       was    the        first      chance           I    get        go       you

23       know.


24                 Q.               You    probably could                 have       run off             at    some         point

25       couldnt         you




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                                      Yes        sir.




     --8
     1                A.




     --9
     2                Q.              And    you       didnt

     3                A.              No     sir.


     4                Q.              Had you          talked     with      George        Rivas       about              before


     5   the    escape          from prison               about    the      robberies           he    had been


     6   involved          in    previously

     7                A.              He    had mentioned             them.         It    was     never         a


         during       the       escape       or    the     planning of             the    escape           he       was


         basically          he    would          talk     about    them       as    kind     of      reassurance

 10      like        hey        you       know     I    know    how    to     put       together       a       plan       and

ii       make    it    work.


12                    Q.              What       about    once     after          the    escape            Was       there

13       --    was    the       Oshmans           or    something        similar to             that           was       that


14       part    of    the       plan

15                    A.              He    talked       about     Toys       R    Us.     As far          as


16       something          big       like       the    Oshmans          he       talked    about          a    Toys       R    Us


17       that    he    had       done       something          big before.

18                    Q.           All       right.        And did you know                 much       about             that


19       particular             offense

20                    A.              I    knew    that    was     the      one     that    he       got       caught          on.


21                    Q.           Was       there       some     general          feeling        among         the       group

22       that    yall           ought       to    split    up     into      smaller sections                         I    mean

23       you are       seven       guys          that    had    broke       out     of    prison.


24                    A.           They          talked    about      whenever            they would             go       into


25       the    city       or   wherever           they    would      go          they    talked       about             you




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     1   know        actually          having        smaller groups.


     2                Q.           What       was     it       about       this     Oshmans

     3                A.           Um        George        Rivas       just        said he          could       do    it.         I




     4   mean        is    there a more              specific          question

     5                Q.           Well        what        was    it       about        George       Rivas            I     mean

     6   what    was       the    --    surely you could                    have        gone    some       place          with

     7   less    people

     8                A.           Well         I    had       originally thought                    that       there        were

     9   going       to    be    less    people           that    night.            Thats           the    way       he     had


10       talked       it    up.


11                    Q.           So    you were              surprised           at    the    number          of    people

12       that    were       there

13                    A.           Yeah        I     was       very    surprised.               I    didnt           think        it


14       was    going       to    happen       when        I    saw    how many              people       were       in


is       there.


16                    Q.           Was       there        any    conversation                 among       any    of       yall

17       in    the    planning          of    this        Oshmans           that        if    there was          a    serious


18       confrontation                 you    were        going       to    kill        anybody

19                   A.            No        sir.


20                    Q.           Had there              been    confrontations                    between          Rivas


21       and    individuals             and Newbury              and       individuals              in the       previous

22       two    robberies         before            the    Oshmans

23                   A.           There        had been           confrontations.

24                   Q.           Had        those        been    resolved              without       firing          a     shot

25       the    best       you    understood




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     1               A.              Yes           sir.


     2               Q.              Now           once       you are up             in    Colorado and you               are


     3   staying          in   the       RV        did you go             much       of    any place             Did    you go

     4   to    any   massage             parlors

     s               A.              No        I    did not          go    to    a    massage            parlor.


     6               Q.              Did       you       go       any place               Where      did you       go

     7               A.              I    went          to    Wal-Mart.              Went       to   a    CD   store.      It


     8   was    called         --    I    cant           remember          --    the       Independent           Records        or


 9       something.             And       I    went          there a       couple          of    times.


10                   Q.              Did you go                   by yourself

11                   A.              No.


12                   Q.              Who       went          with    you

13                   A.              Rodriguez.

14                   Q.              You       went          to    the    CDstore.              Did      you go by

is       yourself

16                   A.              No.


17                   Q.              Who       went          with    you

18                   A.              Rodriguez.

19                   Q.              Did       you       ever go          anyplace          by yourself

20                   A.              No       place          by myself.

21                   Q.              Were          you       ever given          access         or asked         to    borrow




--24
22       the   car    so       you       could          go    drive       down       to   the     store        and pick    up

23       milk or ice            or food             or


                     A.              No        I    knew          that   was     pointless.

25                   Q.              What          do    you      mean




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     1                A.        Rivas      wouldnt          trust       me    to   do   something       like


     2   that.        He    would    probably think           I    would       take     off    with    the


     3   car.


     4                Q.        No    honor     among       thieves

     5                A.        Pretty        much.


     6                Q.        How    did you        spend       the    majority of           your    time

     7   Mr.    Halprin        there     in    Colorado

     e                A.        In    Colorado

     9                Q.        Yes      sir.


10                    A.        Mostly listening              to    CDs       and watching        movies          in


11       the    RV.


12                    Q.        You    understand           what    this       jurys      role    is    in


13       this    trial

14                    A.        Yes     sir.


is                    Q.        You    gave     a    statement          to    Detective        Spivey        is


16       that    right

17                    A.        Yes     sir.


18                    Q.        Did you        --    other    --    and you        have       heard    me    read

19       the    statement       that    you gave        in court.              Were     there    other

20       things       that    you    talked     to    Mr.    Spivey          or Detective        Spivey

21       about    that       werent     included        in the          statement

22                    A.        Yes     sir.


23                    Q.        Like    what

24                    A.        I   gave   him the          color       codes.        There     were        you

25       know     some       different     parts       of    the    statement           where     you       know




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     1   I    would    be    dictating           a    statement            and he would              pause             and say


     2   okay        well       what     exactly          happened           at    this    part       and          I    would


     3   go into       a    little        you        know          greater        detail       of    what          I    could


     4   remember.           And       then    he     would         move     on and discuss                   things          and


     s   I    remember       showing          him how          I    had gone        around          the       car       and    do


     6   --    or    where      the     car was        at.


     7                Q.           Which       car     are         you talking           about

 8                    A.           The    Explorer             and how        I    moved       around          the       car


 9       and there was             a    little        sketch          or something.


10                    Q.           All    right.              Now       did he      ever ask          you          if    you

11       fired your          gun

12                    A.           Yes.


13                    Q.           What       did you          tell      him

14                    A.           I   told him           I    didnt         fire    my gun.

15                    Q.           Now        did he          trick     you       into    giving          a    statement

16       or anything            like     that

17                    A.           No     sir.


18                    Q.           And    did        he       as   he    testified         to       did he              read


19       you your Miranda                rights        and tell            you     that    you had             a       right    to


20       have    a    lawyer       and you           didnt have              to    talk    to       him and             they

21       would       appoint       a   lawyer        to       represent           you

22                    A.           Yes        sir.


23                    Q.           And ultimately you did have                             a    Colorado                lawyer

24       appointed         to   represent you                 at      some    point        did you            not

25                   A.            Yes        sir.




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     1             Q.           Did    --       after you            were       interviewed                   by Mr.          --    or


     2   Detective       Spivey        did        --     were       there       a    lot       of       news       people          up


     3   there

     4             A.           Yes        sir.          But       before       that       I    was          actually

     5   interviewed       by    TDC       and       their investigation                        or       whatever.


     6             Q.           They       got       there         before       Detective                Spivey             did

     7             A.           No     that          was      after.


     8             Q.           All    right.                So    Detective          Spivey                 was       he    the


     9   first    law    enforcement              officer           that       actually             takes          a


 10      statement       from you of              some        kind

 11                A.           Yes        sir.


 12                Q.           And    then          theres          somebody          from the                   Texas


13       Department       of    Corrections                  that    takes          some       kind          of    statement

14       from    you

15                 A.           Yes        sir.




--21
16                 Q.           And did you                  just    handwrite             something                   for    them

17       or did    they    just       --    how did               that    go
18                 A.           They       only asked               me    --    I    had the             lawyer.              It


19       was    actually       the    following               day        the    lawyer          that          had been

20       given    to    represent          me    at      the       time    was       there and                so       they

         they didnt        even       ask       me     any        questions.           And          I    told them             I




22       would    cooperate          and they           only        asked       a    couple             of    things          like


23       if    any guards       helped out              or        anything          like       that.              And       then

24       they    just   said that           was        it.


25                 Q.          Okay.            So     apparently              their focus                   was    wanting




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 1   to     know    if    yall had had                  some    aid or assistance                    from inside


 2   to     break       you    out

 3                 A.           Yes           sir.


 4                 Q.           Then          did you       talk     to    the     news       media

 s                 A.           Yes           sir.


 6                 Q.           And did              they    the    new media             videotape          some


 7   interviews           with          you

 8                 A.           Yes           sir.


 9                 Q.           And you also                talked        to     them    on    the    telephone

io   did you        not

11                 A.           Yes           sir.


12                 Q.           And did they                always        tell     you that          they    were


13   going     to       record          the    conversation

14                 A.           Yes           sir.


is                 Q.           What          statements           if     any      did you give             the   news

16   media about              whether          or    not    you had        discharged           a    firearm or


17   shot     Officer          Hawkins

18                 A.           I       told    every single              one     that    I    did not       ever

19   pull a        gun and          I    didnt ever            fire       the    gun.


20                 Q.          Now            you    are    in the        RV    with     Larry Harper             is


21   that     right

22                 A.          Yes            sir.


23                 Q.          Rivas           and     --   Rivas         Garcia         and    Rodriguez         had


24   left     and gone          towards              town    apparently

25                 A.          Yes            sir.




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     1              Q.           Where          were      Newbury           and Murphy          at    that    point

     2              A.           They       had       actually          gone    to     Colorado         Springs.


     3              Q.           How       long       had    they       been    gone

     4              A.           They       had been          gone          over the       weekend           that


     5   weekend.


     6              Q.           What       car       were    they          traveling       in

                    A.           It    was       a    van.


     8              Q.           So    a    van       had been          purchased           a    Jeep       had been

     9   purchased         and an          RV    had been          purchased

10                  A.           Yes        sir.


11                  Q.           And       who       normally          was    using    the       van

12                  A.           That       was      primarily Patrick                 Murphy          and Donald

13       Newbury.         When    I    would         go     into       town    to    Wal-Mart          or    whatever

14       Rodriguez        was    driving.


15                  Q.           When       did you          first       figure       out       that    there was

16       police     outside       the       RV

17                  A.           Actually            heard        some       chatter       on    the


18       walkie-talkie            but       I    didnt know              that       they    were       actually

19       outside     of    the    RV.


20                  Q.           What       kind       of    chatter          did you       hear

21                 A.            There          were      some     people       on    the       highway.           There

22       was   a   roadblock          and there             was    a   lot     of    confusion          and

23       everybody        was     you know                saying         you know           Whats            the    road

24       block     for          And    somebody             said        I     think    its           them    boys    from

25       Texas.




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     1                   Q.        What       did you              do

     2                  A.         And       thats          when         I    looked                out        the    window         and    I



     3   started            looking     out-the           window             and       I       went          to     the   bathroom


     4   and    I       looked    out    the        bathroom             window                and       I     could      see    at    an


     5   angle          from where       I    was        there       was       a       white             van        and   I    could       see


     6   somebody hiding                behind           the       van       with          a    gun.


     7                   Q.        While           you    are       around             the          camp           and you      are


     8   inside          the   van      are     you       carrying                 physically                       carrying a

     9   weapon         on your person


 10                     A.         No        sir.


11                      Q.         Had you been                    given       a       weapon

12                      A.         Yes        sir.


13                      Q.        And        what        weapon          had you been                         given

14                      A          It    was        --    Im        not       sure             of    the           model.       It    was


is       like       a    .2 gun         had     a    real          long       barrel                on       it.


16                      Q.        And where               was       that

17                      A.         It    was.       in my backpack.


18                      Q.        Was        there        some       type          of          color designation                      on


19       your       stuff

20                      A.        Yes         sir         it       was       green.


21                      Q.        Was        there        any       tape       on your backpack

22                      A.        Yes         it     was       a    strip of                green             tape.


23                      Q.        When        you        look       out       the          windows                 what       did you


24       see    and      whats        the     next        thing          you       did

25                      A.        The        only        thing       that          I       could             actually




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 1   physically             see       was    somebody hiding                      behind          a     white         van.            I




 2   could       see    their silhouette                      and       I       thought       I        saw      the    barrel              of


 3   a   rifle      or some            kind       of    gun.


 4                Q.              What       did you          think

 s               A.               I    told Larry              I    said           They           got        us.

 6                Q.              What       happened          next

 7               A.               And he          said        Well               what    are          you going                 to    do
 8   And   I     said        Im            going       to    surrender.                  And          he     said          Thats

 9   okay.          And      I    said           Is     there       anything             you want                me    to        tell


10   them           And      he       said        Tell them                 I   want     to       talk          to    my

11   father.

12               Q.               Did you           leave      the          van

13               A.               I    walked          out   the        RV yes               sir.


14               Q.               Did you           surrender

15               A.               Yes        sir.


16               Q.               Did       you relay          that             information to                   law


17   enforcement

is               A.               Yes        sir.


19               Q.               Now        what      was     the          state       of    your           foot      at       that


20   point     in      time

21               A.               It       was    still      pretty bad.                     It       was       had        it        was


22   bandaged          up    and       I    was    keeping          a       sock       over       it       to   hold        the


23   bandages          in place             and    I   was     wearing             a    sandal             because          I




24   wouldnt           put       on    a    shoe.


25               Q.               There          are    some       photographs                that           have      been




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         introduced          and you are                aware        of    the    medical        record.         Where


     2   did you       get    hit       in the          foot

     3                A.           I    got       hit     --    it    was       actually        the    first     four


     4   toes.        It    went       through          on the        side        went     clear       through

     5   and messed          this       toe       up completely.                  And     then    it    kind     of


     6   grazed under             the       second       toe     like       this         demonstrating              and it


     7   broke        it    snapped          the     bone        and       then     it    started       going out

     8   like    this        and       it    came       out     like       that     on the       third toe          and


     9   just    nicked       the       fourth          toe.


10                    Q.           They       took       you to           the    hospital        there in

11       Colorado

12                    A.           Yes        sir.


13                    Q.           A little             medical           center.         And    the    doctor        saw




--is
14       you    there

                      A.           Yes        sir.


16                    Q.           --       and    took        an x-ray and made                 you    a    little

17       chart        is    that       correct

18                    A.           Yes        sir.


19                    Q.           Did       he    give        you   some        antibiotics           or give        you   a


20       shot    or    anything

21                    A.           They       gave      me      --   they        took     some    blood and           I



22       remember          them    giving          an antibiotic                 shot     and putting          me     on


23       antibiotic          medicine.

24                    Q.           When       did you           first       find out        for       sure    that


25       Officer       Hawkins          was       dead




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  1             A.          That          following                 morning.

  2             Q           What          thoughts                 were       you having        at    that       point

  3             A.          I       was    just           wondering              how      something        like    that


  4   could    happen.          I    mean            I    felt          awful.         In    fact     Larry and          I




  s   cried.


  6             Q.          Why            What           was       he    to     you

  7             A.          Because             it        was       a    life.


  8             Q.          What          did you              think          was    going     to    happen

  9             A.          Happen             with        what

 10             Q.          Once          you    realized Officer                           Hawkins    had been


 11   killed        what   did you             think           was       going       to     happen    at    that


 12   point

 13             A.          My mind was                    kind          of    numb.         When    Rivas       said

 14   go     everybody      --       we    left.               I    mean         I   wasnt      --    my mind

 is   wasnt     on anything               else           but       that        the     incident.           And    whether


 16   we    would    get   caught          or anything                        that     wasnt        on my mind.


 17             Q.          What          did you think                       was    going     to    happen        if    you

 18   got    caught

 19             A.          I       thought              wed        come       back         you know        and be


 20   tried for capital                  murder.


 21             Q.          Before             you got              charged          in Ft.     Worth       and while


 22   you were       living         in    --    where              was    it         Im      sorry     Kentucky

 23   Tennessee

 24             A.          Kentucky.

 25             Q.          Kentucky.                     You       got       in some        trouble       there    on




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         some   theft        is    that       right

     2               A.           Right          fraudulent          use       of     a       credit       card.


     3               Q.           You    also       stole      some       checks              or    something           is


     4   that   right

     s               A.           Batteries when               I    was     17.


     6               Q.           And    you      got    put       on a misdemeanor probation                                for


     7   that       is    that    right

     8               A.           For    the       fraudulent            use     of       a    credit       card        yes

     9   sir.


10                   Q.           And    that      was    the       first        time          you had ever             gone

ii       to   court

12                  A.            Yes       sir.


13                   Q.           And    then      you went          to     the       --       ultimately to             the


14       Arlington         Shelter          is    that    right

15                  A.            Right.          The    summer           during              the    summer.


16                  Q.            What      made    you     think         that        somebody wasnt                    going

17       to   get    shot    and killed during                     this     robbery

18                  A.            Basically         from       the       first        two          robberies.           There

19       were   known       conflicts            and nothing             happened.


20                  Q.           What       was    Murphys           role        in the             Oshmans

21       robbery

22                  A.           He     was      basically a lookout                          to    monitor the

23       scanners         and radios          and watch            the    parking              lot    to   see     if


24       there were         any       you     know       patrol          cars     patrolling               through        or


25       anything         like   that.




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     1              Q.        To   the         best    of    your       knowledge               is    that    what    he


     2   did

 3                  A.        To   the         best    of    my knowledge.

 4                  Q.        To   the         best    of    your knowledge                     did he       shoot    at


 5       anybody

 6                  A.        No        sir.


 7                  Q.        Were       you     ever       told that          he    was        supposed       to    act


 8       as   a   sniper   or get        into a        fire       fight    with           anybody

 9                  A.       No         sir      not    in       front    of    my presence                 that    was


10       never     discussed.


11                  Q.       Did     George           Rivas       have    an    ego

12                  A.       Yes         sir.


13                  Q.       Why     do    you        think       he    wanted       to        do    this    Oshmans

14       robbery

is                  A.       My personal               opinion

16                  Q.       Yes         sir.


17                 A.        To    prove        that        he    could    do       it.


18                  Q.       Prove        he    could        do    it    and get           away       with    it

19                 A.        Yes         sir.


20                 Q.        What       were      yall looking                 for        to    get    out    of    the


21       this     Oshmans    robbery

22                 A.        Clothes            camping           gear     radios               and guns.


23                 Q.        So    it     provided           --    this    is       wintertime               right

24                 A.        Yes        sir.


25                 Q.        It    provided            everything          that           you       could    think    of




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     1   --   was       there already a plan                             to       go someplace             after       the


     2   Oshmans robbery

     3                  A.           Not       to        my knowledge.                       Everything          was    Rivas

     4   kind     of     made       it    up        as    he     went         along.           There       was    no    exact


     s   spot     that        we    were       supposed              to       go after             that     no     sir.


     6                  Q.           So    it       wasnt            a       game plan that                you were          going

     7   to   rob       the    Oshmans               and then                go    to     Colorado           That       hadnt

     8   been    discussed

     9                  A.           No        it        hadnt           been       discussed.              In    fact

10       Colorado didnt                   come           up until                 you know           when    they       --    the


11       night      after          the    incident              happened                  thats when             they       said

12       where      are       we    going       to        go        and       I    think       New Mexico          came       up    and

13       Nevada         and Colorado                and a           couple          of       other    states.


14                      Q.           Where          was        it    that          you wanted          to    go
15                      A.           When       I        decided             to    break       away    from the             group     I




16       wanted         to    go to       Seattle.


17                      Q.           When       did you decide                          that       you wanted          to    break

18       away    from the            group

19                      A.           Actually              in       Houston             at    the    Western      Auto        after

20       they    did the Western                     Auto.               I    had       it    in    my mind that             thats

21       where      I    was       going    to       go.


22                      Q.           If    you       could          get           away       when    the    smoke       cleared

23                      A.           Yes        sir.


24                      Q.           Now        did you have                       some       type    of    agreement          with

25       Rivas    that         you would             stay with                    him any          length    of   time




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  i             A.           He    had told me when                 I    started          discussing

  2   about     you know           what     my intentions                were        he    said     Well

  3   you owe    me    six       months.

  4             Q.           You     owe        me    six    months            what       did he   mean

  s             A.           He    meant        for    getting          me    out    of    prison.


  6             Q.          Yeah         but     what       did he mean             that    you owed      him


  7   six months


  8             A.           I    owed     --    I    guess    six months             of    active   duty       or


  9   six months       of    robbing        or whatever             his       plans       were.


 10             Q.          That     was        in exchange             for    having       helped   you

 11   escape

12              A.          Yes.


13              Q.          And     including           you    in       there

14              A.          Yes      sir.


15              Q.          Did you have               any    particular             skills        Had you

16    ever   been     in the      military            before

17              A.          No      sir.


18              Q.          Had     you ever           owned    any          firearms

19              A.          No      sir.


20              Q.          Had you         ever gone          bird hunting                or   anything

21    like   that

22              A.          No      sir.


23              Q.          Had you         ever owned          a       pistol before

24              A.          No      sir.


25              Q.          How    about        your     dad            Did   he    own     any    guns




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     1                 A.           No     sir.           There       were       no       guns    in our           house.


 2                     Q.           You    didnt graduate                    from high              school           did    you

 3                     A.           No     sir.


 4                     Q.           Did you             attend    any classes                while           in    custody

 s                     A.           I    got    my GED          in Tarrant                County        Jail.


 6                     Q.           Did you have                any    building             skills                Had you


 7       been     a    carpenter               A plumber               Had       you been           a    ham radio


 8       operator             I   mean         did you          have    any       actual          skill        with       this


 9       --     that       this group          would          utilize

10                     A.           No     sir.


11                     Q.           I    mean           once    Rivas    started             talking              about


12       giving        you    a   job     in maintenance                 did you have                    any       skills    in


13       maintenance

14                     A.           No     I    had no          maintenance                skills.


15                     Q.           Had you             held    any    kind       of       jobs     once       you were

16       expelled           from Oneida                  Did you hold             any       kind        of    jobs

17                     A.           Just       fast       food    and temporary                   labor.


18                     Q.           When       you       say    fast     food               what        did you       do

19                     A.           I    worked          at    Subway    for          a    little       while         a    place

20       called        Steak      Fest     and mainly when                   I    stopped           working          there


21       when     I    realized          that       I    could    just       get          money     in a       day        Labor

22       World        or    Labor       Ready.


23                     Q.           What       did       they    have    you       do

24                     A.           Send       me       out    wherever          they       needed           somebody       to


25       pick    up        trash or whatever.




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     1              Q.         Just    typical           day    labor stuff


     2              A.         Yes     sir.


     3              Q.         Just    manual        labor

     4              A.         Yes     sir.


     5              Q.         Do    you realize that                 as       a    result of          the


     6   robbery         Officer     Hawkins        is    dead            Yourealize              that

     7              A.         Yes     sir.


     8              Q.         Did you        ever       have       any    intention              yourself     of


     9   shooting        somebody     or killing              anyone

 10                 A.         No     sir      never          in my       life.


11                  Q.         Best    of     your       knowledge                 was    there any


12       discussion        by anyone         else    of       shooting             anybody or killing

13       anybody     during     the    course        of       any    robbery

14                  A.         No     sir.


15                  Q.         But    you     knew       everybody             was       armed

16                 A.          Yes     sir.


17                  Q.         And your        gun       --    you had             bullets       in your     gun

18                 A.          Yes     sir.


19                 Q.          And you voluntarily                    took          the    gun    in   there

20                 A.          Yes     sir.


21                 Q.          And you        participated                in       the    aggravated

22       robbery

23                 A.          Yes     sir.


24                 Q.          And you        enjoyed          the   proceeds              from that


25       robbery.        You   got    some    money




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     1             A.           Yes           sir.


     2             Q.           They          split        up    the      money and gave                you    an equal


     3   share     is    that       right

     4             A.           Yes           sir.


     s             Q.           How       much        was       that

     6             A.           About          five        thousand.


     7             Q.           Now           this        case       in   Ft.    Worth           this       injury to         a


     a   child     did you hire                an     attorney            or    did you get             one appointed

     9   to    represent     you

10                 A.           One       was        appointed            to    me.


11                 Q.           And from the                    time      you got          arrested         until       the


12       time   you     entered       a       plea        how much             time    passed

13                 A.           Um        I    want       to     say eight            or       nine    months.          It


14       was    from September                to     May        so.


15                 Q.           All       right.            Did       you have         any       family members or

16       anybody      show   up      at       your        sentencing

17                 A.           No        sir.


18                 Q.           Or the             day you did             the    plea

19                 A.           No        sir.


20                 Q.           Had you given                    your      lawyer          the    names       of   your

21       family    for    the       lawyer           to   contact

22                 A.           Yes           sir.


23                 Q.           And       you       were        18    years      old at          the    time

24                 A.           I   was        19    when        I    pled       but       I   was     18   when    I    went


25       into   jail     yes.




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     1               Q.              So      the    only person helping                     you make          any

     2   decisions            as   to     whether         or    not    you       should have             a   trial      or


     3   whether         or    not      you      should try           to     fight        charges        or whether-or


     4   not    you should              enter       a    plea       would     be    your       attorney

     5              A.               Yes         sir.


     6              Q.               And      that       was    Mr.    Mark        Perez

     7              A.               Yes       sir.


     8              Q.               Did Mr.            Perez       seem    to     be    trying      to      do   the    best


     9   he    could      for      you

10                  A.               Not      really           no.


11                  Q.               Were     any witnesses                 called        at   your sentencing

12       by your lawyer

13                  A.             No        sir.


14                  Q.             Once       again            though        you        did do      --    slap    this


15       child      hit       this      child        on    the       head        and kick        this        child      and

16       grab    this     child         and      shook         it     didnt        you

17                  A.             Yes        sir.


18                  Q.             You       are     aware          that    that        certainly        caused         some

19       of   the   damages             if    not       all     of    the    damages

20                  A.             Yes        sir.


21                  Q.             Do      you recall               whether       Mr.     Perez      ever     sat       down

22       with   you and discussed                       the    medical           records       of    the     child      with

23       you

24                  A.             He      was     very       vague        about    it.


25                  Q.             But       you knew          what        you   had      done




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     1             A.          Yes        sir.


     2             Q.          And    he       told you             what    the       injuries were            to   the


     3   child

     4             A.          Yes        sir.


     s             Q.          And    they          were          pretty    bad        werent they

     6             A.          Yes        sir.


     7             Q.          He    told you                this    was    a    first-degree felony

     a             A.          Yes        sir.


     9             Q.          And that             you       could       receive       anywhere         from five

10       years    to    99   years    or life                in   prison

11                A.           Yes        sir.


12                 Q.          If    you had             a    trial

13                A.           Yes        sir.


14                 Q.         Had     you          stayed         in prison when              would      you      have


15       become    eligible         for       parole           do    you    recall

16                A.          Thirty-four                     thirty-three              or    thirty-four.

17                Q.          What        do       you       mean

18                A.           I    had       to    do       half    of    it     15    years        so.


19                Q.          So     you would                have    been       33    or    34

20                A.          When        I    was       eligible          for    parole           yes     sir.


21                Q.          Now         you had             been    in prison             five   years       at   that


22       point

23                A.          Yes         sir.


24                Q.          Did you              know      very     many people             that    had been

25       paroled




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     1             A.           No        not        really.


     2             Q.           And       did you           have       any personal          opinion          of    the


     3   percentage       of    people           around          you how       much    of    a    sentence          were


 4       they    serving        what          percentage           of    their sentences                were       they

     5   serving

 6                 A.           Eighty-five                 to    ninety percent.

 7                 Q.           Is       that        whether       it    was    aggravated             or


 8       unaggravated

 9                 A.           Yes           sir.


10                 Q.           So       even        though       they    became       eligible             for


11       parole        people       werent necessarily                        getting       paroled

12                 A.           No        sir.


13                 Q.           What          did     that       mean    to    you

14                 A.           That          meant        that    when       my time       came       up     whether


15       I   showed     that    I    was       rehabilitated or good                    behavior             or


16       anything       like    that           that        they    werent even going                    to    look    at


17       that.     They       were       going        to    close       my file       and pass          it    on    for


18       another       couple       of    years            open    it    up     and pass          it   on another

19       couple    of    years           just        review       me    every    couple          of    years       but


20       keep    setting       me    off.


21                 Q.           What          did you        think       about       that

22                 A.           It       didnt         settle          with    me.


23                 Q.           Do       you    think        that       you    needed       to    be   punished

24       for    what    you    did       to    the     child

25                 A.           Yes           sir.




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     i                   Q.              What        sense                 did          it    make       to    try          to    escape              then

     2                   A.               I    wanted              a       second             chance.              I    knew          that       I    would


     3   never       do       something              like              that             again.


     4                   Q.              Youve                had          a    chance             to    look          back       now.


     s   Anything             you       can        tell           this          jury about                   what       happened                there    at


 6       the    Oshmans                       Anything                 at       all          that       you    can          say

 7                       A.              I     can        tell             all          of    yall           that       I    did not             intend


 8       the    death             of    the        officer.                     I       didnt           shoot          him.           I    didnt

 9       pull my gun.                    I     didnt               phonetic                        want       to       rob       the       people.


10       Obviously                I    did         but        I    didnt                 anticipate                anybody                being

11       killed.              I       didnt know                   that             anybody was                going             to       be    killed

12       and then                 you know                I       live         with           it    every day.                    Every          time    I



13       look       at    my foot              I    think              back             to    that       night          and       its

14       something                I    live        with.            And             I    understand                the       consequences

is       but    I    didnt             kill         him.               I       didnt              want       anybody             to       die    or


16       anybody to be                   hurt.


17                       Q.             Anything                   that             you can             do    to       bring          him       back

18                       A.             No          sir.


19                       Q.              You        understand                          that       this       is       the    guilt             and


20       innocence                phase        of    your           trial.                    You       understand                that

21                       A.             Yes          sir.


22                       Q.             You         understand                          that       the       jury has             to      decide

23       what       they          believe           the           evidence                   to    show       in       this       case

24                       A.             Yes          sir.


25                       Q.             Weve             talked                about              what       that       standard               of




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 1   evidence       is    in       regard           to    you    being       a   party or not         being      a


 2   party    to    capital             murder.            You       understand         that

 3             A.              Yes           sir.


 4             Q.              And each              of    these       jurors sitting              over here


 5   they    were    part          of    the    voir        dire       and we         sat   with    them   for       a


 6   better    part       of       an    hour and           a    half        talking        about    the   law

 7   didnt     we

 a            A.               Yes           sir.


 9             Q.              Now           have        you been          in general        population         here


10   in custody          in Dallas             County

11            A.               No        sir.


12             Q.              And where                 have    you been          kept

13            A.               They          have        kept    me    in a      single      cell     isolated.


14             Q.              And you get                 out       for    recreation

15            A.               No       recreation.


16             Q.              Youve            lost       some       weight       since     youve been          in


17   here     havent           you

18            A.               Yes           sir.


19            Q.               How       much       weight           have    you      lost

20            A.               I    guess       about           at    the    most 25        pounds.


21            Q.               When          you went           to    prison originally               did you


22   end up   gaining              weight       while you              were      in    prison

23            A.               Yes           sir.


24            Q.               Is       that    because              you were         outside      being   on


25   physical       labor          on    a    regular basis                 and eating        and    doing all




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     1   that     stuff

     2             A.              Yes       sir.


     3             Q.           Did         you     have    commissary              privileges

     4             A.           Yes          sir.


     5             Q.           To      buy        snack    food       and       that     kind         of    stuff

     6             A.              I   never        did     but    I    had       access          to    it    yes     sir.


     7             Q.           Did you have                anybody putting                   money on your

     8   books    while you were                   down    there       in    prison

     9             A.          No           sir.


10                 Q.          Did you              have    to    have       money to             buy commissary

11                 A.          Yes           sir.


12                 Q.          Was          your     situation          in prison better                     before     you

13       escaped     than     it       is    the    way     theyve           got        you   locked         up   now

14                 A.          Yes           sir.


15                 Q.          You          had a     lot   more        freedom

16                 A.          Yes           sir.


17                 Q.          I       believe        Mr.    Shook          is    going       to    have      some


18       questions      for    you.


19                 A.          Okay.


20                                          MR.     KING          Pass       the    witness             Your      Honor.


21                                          THE     COURT          Do    you want             a    break      now

22                                          MR.     SHOOK         Yes            sir.


23                                          THE     COURT         Well take               our       afternoon

24       break.     Fifteen minutes.


25                                                    Jury out




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 1                                                 Recess

 2                                                 Jury in

 3                                     THE     COURT               Thank    you        you    may be         seated.


 4                                            CROSS-EXAMINATION


 s   BY   MR.    SHOOK

 6               Q.            Mr.    Halprin              you     realize        of     course         this       jury

 7   is   judging         your credibility                  as     a    witness        do    you       not

 8              A.             Yes     sir.


 9              Q.             They    have       to.        Obviously           Aubrey       Hawkins         is    not


10   going      to    come     in here        and tell             us    what    happened          in that


11   loading         dock    area      is     he

12              A.             Yes     sir.


13              Q.             Im     sorry

14              A.             Youre right                  sir.


is              Q.             And you are             a    convicted           felon.       You       pled

16   guilty          is   that      right

17              A.             Yes     sir.


18              Q.             Didnt        have       a    trial.         You    entered          a   plea    of


19   guilty

20              A.             Yes     sir.


21              Q.             Received       a    30-year              sentence

22              A.             Yes     sir.


23              Q.             As    part of       a       plea        bargain    agreement

24              A.             Yes     sir.


25              Q.             For    the     first-degree                felony       offense         of    injury




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 1   to    a    child

 2                  A.         Yes        sir.


 3                  Q.         And when          you were         arrested        for        that    offense


 4   was       in   September        of    1996

 5                  A.         Yes        sir.


 6                  Q.         How    old were         you    at    that     time

 7                  A.         I    was    18.


 8                  Q.         When       did you turn            19

 9                  A.         I    turned       19   September           13th.


10                  Q.         So    you    had been         in    jail     about        a    week    before


11   you       turned     19   years       old

12                  A.         I    believe       I   went    to    jail     on      September 5th             so

13   yes        sir.


14                  Q.         Okay.        So    you were         almost       19   when       you

15   committed the             offense

16                  A.         Yes        sir.


17                  Q.         Now        you have      had a       long     history of               lying

18   have      you       not

19                  A.         During       my drug years                 yes     sir.


20                  Q.         Well        during your            entire     life            havent     you

21   always         lied

22                  A.         I    dont believe             so     sir      no.


23                  Q.         Wasnt        that      one    of    the     major     problems            You


24   were      always      lying      to    your      parents

25                  A.         Only when          I   started       doing drugs                sir.




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     1                Q.              And    when        was    that

     2                A.              It    was    about        when        I    was     16.


     3                Q.              Have    you        quit       lying

     4                A.              I    mean     --    I    dont         just        lie    to    lie.


     s                Q.              Well        did you           used to        lie        just    to    lie

     6                A.              I    used    to     lie        yes         sir.


     7                Q.              Well        when        was    the        last     --    when    did you quit

     8   lying

     9                A.              Im     not     exactly          sure         sir.


10                    Q.              Do    you    still        lie        when    the        situation       calls   for


ii       it

12                    A.              Ive     lied            yes     sir.


13                    Q.              Okay.        When        was    the       last      time you          lied

14                    A.              Could       have        been    a     day ago.            It    could    have   been

is       a    week    ago.           Im     not    sure.


16                    Q.              Do    you    lie        on a weekly              basis

17                    A.              Im     not     sure           sir.


18                    Q.              What    do    you        lie    about




--24
19                    A.              You    would        have       to     ask    me     a    specific       question.


         Im
--21
20              not


                      Q.              Can you not              remember           what        you    lie    about

22                    A.              I    mean      I    know       Ive        lied.


23                    Q.              Well        are     you       telling        this        jury you really

         you    lie       a    lot    and you       are       not     sure what               you may have         lied

25       about       in       the    last    week        or   two         for     instance




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     1            A.          You       would          have       to    give          me    a    specific       thing         a


     2   specific      question         of    what             Ive lied           about.


     3            Q.          Let       me    ask          you    this           Mr.       Halprin        is    that      your

     4   character     that       you    lie       a       lot

     5            A.          Ive lied yes                            sir.


     6            Q.          Do you          lie          a    lot

     7            A.          Ive        lied          a       lot     yes        sir.


     8            Q.          Would          you       describe              yourself as            a    pathological

     9   liar

 10               A.          Ive        been          a       pathological                liar     yes        sir.


 11               Q.          When       did you quit                   being          a    pathological            liar

12                A.          Im        not     sure.


13                Q.          Have       you       quit          being       a    pathological                liar

14                A.          I    dont         just            lie    constantly.                 Everybody          lies.


15                Q.          But       you     still            lie    on occasion

16                A.          Ive        lied              yes        sir.


17                Q.          Its        part          of      your     character

18                A.          Ive        lied.


19                Q.          Well           when          you    got    arrested                and put       in   jail

20       you   tried to   contact             your parents                       is    that       right

21               A.           Yes        sir.


22                Q.          Do       you    remember                writing a             letter       to    them      on


23       September     13th       of    1996

24               A.           Yes        sir.


25               Q.           Telling           them             This week                 has    been    such      an




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 1   eye-opener           to    me.        I    know    what       you         both are             probably

 2   thinking        right       now           oh      great       Randy            is    feeding          us    his


 3   regular bull and lies.                            Yall have every                     right          in    the       world


 4   to    believe        that.        In       fact        I    dont expect                   yall        to    believe.


 5   Sometimes        I    dont even believe myself.

 6                              Is    that        an example of                 the       type       of    lying that

 7   you    have

 8              A.              Yes        sir.


 9              Q.              Obviously              then        you have               lied to your parents


10   in the     past

11              A.              Yes        I    have    lied to            them.


12              Q.              Prior to this                   offense         in       1996

13              A.              Yes        sir.


14              Q.              Do    you have          a       long       history of               lying to your

15   parents     in       the    past

16              A.              During          my drug          years.             And    I    believe          that       was


17   during my drug years.

18              Q.              I     never         even        thought         I    could          even       hit    a


19   little     kid       an     infant           at   that.           I   never          thought          I    would       be      a


20   victim     of   drugs.            I       never    thought            Id        end       up    standing             --     is


21   that     standing

22              A.              Stealing.

23              Q.              --     stealing             from people                  who    tried to help                  me


24   out      ruining          every       chance       to       start         over.

25                              You    have         been        given      a   lot        of    chances          in       life




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     1   havent     you       Mr.    Halprin

     2             A.          Yes        sir.


     3             Q.          And       you have        blown        all       those    chances           havent

     4   you

     s             A.          Yes        sir.


     6             Q.          Your       parents        gave        you    a    whole    lot     of      chances


     7   when    you were      growing           up
     8             A.          Yes        sir.


     9             Q.          Ill        show        you another           letter       which       is    marked


10       December       18th       1996.         Start        that    one       off    saying        I     know       my

11       word    didnt    mean           doesnt         account        for       much    of     anything.

12                 A.          Yes        sir.


13                 Q.          That       was     back        in your       pathological             lying

14       days

is                 A.          Yes        sir.


16                 Q.          And then on              11-2     of    98         this    letter          would

17       have    been   from prison               I   guess

18                 A.          1998           yes      sir.


19                 Q.          You       tell     them         The Randy you knew                    a    couple       of


20       years    ago   was    a    drug        induced       pathological              liar.        I    was       much

21       more    concerned         about        finding        something          to    ease    my boredom

22       and depression            and    I   gave      up the        only      true     thing       that       I    ever

23       loved    was   you.

24                             Now        your parents                they worked             with       you    a    lot

25       didnt     they




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     1                A.           Yes.


     2                Q.           And you didnt                talk          about         them much       on    direct

     3   but    I    almost got          the      impression             that         it    was    like    they       just


  4      abandoned          you    or shoved            you    off       to       Kentucky.          That    wasnt

     5   the    case        was    it

  6                  A.            No     sir.


  7                  Q.            They      did all          types       of       things.          They    --    first


  8      of    all     they       provided          you with         a    loving            home when       you grew

  9      up     didnt        they

 10                  A.            Yes       sir.


 11                  Q.            They      --     you went         to       good         schools

 12                  A.            Yes       sir.


 13                  Q.           Went       on good          vacations

 14                  A.           Yes        sir.


 is                  Q.           When       you     had problems in school                           they provided

 16      tutors      for     you

 17                  A.           Yes        sir.


 18                  Q.           They       even       took    you       to      a    psychologist

 19                  A.           Yes        sir.


 20                  Q.           Of     course          you had problems                     --    how    old were


21       you when          you went       to      see    a    psychologist

22                   A.            I    think       12       somewhere            around          that.


23                   Q.           You     had problems with                       lying back          then        didnt

24       you

25                   A.           I    had     lied      before.              I   dont think              that    I   had




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     1   problems with           lying.


     2               Q.          One    of        the    reasons           that      you    left       and    went    up


     3   to     Kentucky        you did           that       without       permission on one

     4   occasion          is   that    right

     s               A.          Um     in        95         yes        sir.


     6               Q.          It    was        because          you couldnt              get    away       with


     7   things      at   home.


     8               A.          No     sir.


     9               Q.          Thats why you                     left        is   they    would      catch        you

10       and punish        you       and hold           you accountable

11                   A.          Can you give                 me    a    specific          incident

12                   Q.          Let    me        show       you    in your          letter.           I     gave    up


13       everything         --

14                                          MR.     KING            Excuse          me     Mr.    Shook        but    we


is       would    object        to    Mr.    Shook           reading       from something                  thats      not


16       in evidence.


17                                          THE     COURT               Sustained.

18                   Q.          By     Mr.        Shook            Let    me       show    you    State       Exhibit

19       938.     This     is    the    letter           I    showed       you       earlier dated             11-2-98

20       is   that    right

21                   A.          Yes        sir.


22                                          MR.     SHOOK               Your Honor           at    this      time    we


23       offer    State     Exhibit          938.


24                                          MR.    KING            No     objection.

25                                          THE    COURT             No.       938    shall       be   admitted.




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     1                Q.                By    Mr.    Shook                      I     gave          up everything                       for    a


     2   girl     and drugs.                 Theresa             wasnt               the       only reason                   I    left        home.


     3   Maybe     you realize it                   by       now            but       I       could          never       get       away        from

     4   things       at     home.

     5                              So       that    was             one        of    the          reasons             you       left       home

     6                A.            I    dont think                        that       it       was       like          get       away       with

     7   any    things           that    were       bad.              I     cant              --    I    cant           remember              what


     8




 --9                  Q.            Well        you had to                       leave             because             you couldnt

10       get    away        with    things          that             were       good

11                    A.            I    mean       --       I       dont know what                           I    was       talking

12       about.         I    cant        remember                this           letter.


13                    Q.            Lets read                    further.                     I     had to             leave.           I     stole


14       from    you         I    lied to       you              I    did everything                          in       the       world       to


15       defy    you         and    I    even       blamed you.                           I    blamed you                for       sending

16       me    away.         I    blamed you             for          not       allowing                 me       to    come       home       when

17       Oneida       kicked        me    out.           But          it    wasnt                  your       fault.              You       guys

18       constantly              dug me out          of          holes.               Bought             me       an    apartment

19       sent    me    money every              week                 did everything                          you       could       possibly




--25
20       to    save    your        son.       And        I       think          that           now       thats           how       it       always


21       has    been.            Ever    since       the             day    you adopted                       me.        Save       Randy

22       from destroying                 himself.                    Never           too       bright              a    little          too


23       slow     and       I     changed       for          the          worse.               I    met       Theresa              fell       into


24       a    different           group       and        thought                she           had       so    much       like       I



         thought       she       was     so   much           like          I.         I       was       just       trying to                find




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      1   my place                 trying          to       fit       in.


      2                                      So     we       took          drugs          together.                We       started


      3   smoking weed                       and then              acid             and       thats when                I    started             to


      4   change          my behavior                       everything.                       But   you       never          saw          the


      s   signs.           It          was    the       typical                 I    know       my       sons doing                   drugs.


      6   But    you       didnt              see.           I     was         too       conniving            and       I    lied all                the


      7   time        to       you           to    my brothers.

      8                                      I     got       kicked             out       of    school             went          back           got


      9   kicked          out          again.           Yes           I    stole          a    credit         card.              I    needed             the


 10       money.           I       had       to    support                my lifestyle                   drugs              and       sex.           I




 ii       was    caught                up    on Theresa.                       Theresa          was      never          my first

 12       though           and          wasnt           my last                 either.              I   was       getting                to    the


 13       point       that             nothing          mattered.                    I    struggled               with       myself and                   I



 14       ended       up       eventually                   losing             Theresa          because            of       my lies             were


 15       getting          out          of    control.


 16                                          I     was       on my own                   again.          I    screwed                over


 17       friends              stole          from the                neighbors                in Louisville                         and came


 18       back       to    Lexington                    used          another             friend             ended          up       in    a


 19       shelter.                 I    played          on        several            peoples emotions who                                  worked


 20       there           making             up    stories                as    to       why    I   had no home.                          It


 21       worked.              I       was    offered             a       place          to    stay.          I    got       a       job.        I       got


 22       a   GED.         I       really did.

23                                           I     tried to                change             around          but       my new hobbies

24        had    a    hold             of    me.        I    felt          like          you hated            me        so       I   made        up


25        the    story about                      the       Air Force                to       see   if       your       thoughts                would




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     1   change             about       me.     They       did.           You    sounded          proud          of       me        but


     2   the       fantasy             could    only       last          for    so    long.           Ronny          got       tired of


     3   supporting me and put                            me    back       in    the    shelter.                 I       had       to       come


     4   back          to    Texas           start    over           and       make    things          right.


     5                                   So     I    charmed             my way       into    getting                a    ride          back


     6   to    Arlington                and thats              when       you    cut    me    off       completely.                          I



     7   could          only blame myself.                          Once       again        Im        back       in a          shelter.


     8   So    I       go back          to    my old ways                 playing       on people                    using          drugs

     9   happy               happy       happy.


10                                       I    even    almost played                   on the          Sternblitz                   family

ii       but       couldnt              accept       anything             from them.              I    realize             I       could


12       never          hopefully             change           but       then it       all    happened.                    I       met       the


13       Plummers.                    Moved    in with          them           smoked       weed        dropped                acid

14       met       a    girl          named    Charity              had sex with             her        and              well           the


15       rest          is    a    nightmare.

16                                       Im         not    here          telling       you    that       Im              innocent.


17       Believe             what       you    want       to.        If    only you could                look             in my


18       eyes.              Thats        so    much       to    tell       you.        But    I       cant because                          on


19       paper          it       all    sounds       like       a    fairy       tale.        It       does.              Im        sorry

20       it    all          happened          this    way.           Im        sorry    I    tore       us       apart.                 I    can


21       only          blame myself.                 But       you       have    to    believe          me       when          I    tell


22       you       Im        sorry.


23                                       Im         two    and       a    half years          clean          and          Im        not


24       the       Randy          I    once    was    when          this       all    happened.              I       miss my mom


25       and       I   miss my dad              and hopefully someday                         I       will       get       them




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         back.

     2                          So    you        did have             a    long       history of           lying and

     3   getting       into    trouble           and they             would       always        help       you   out

     4             A.           Yes        during              those       years         yes        sir.


     5             Q.           So    it    wasnt               as    if       they     shoved       you    off

     6   shipped you          off    to    Kentucky              because          you        were    a    problem

     7             A.           No        sir.


     8             Q.           They       tried to do                    that    because           they    wanted      to


     9   help   you

 10                A.           Because           I    had       bad grades.

11                 Q.           Im        sorry

12                 A.           I    had bad grades                        yes        sir.


13                 Q.           There       were           a    lot       of   kids      up at      that     school


14       that   had     similar problems growing                               up       is   that        right

15                 A.          Yes.


16                 Q.          And that               school          gave       you     special         attention

17                A.           Yes.


18                 Q.          Your grades                     improved

19                A.           Yes         sir.


20                Q.           Now         you pled guilty what                              time

21                A.           I    believe           it       was     around           May.


22                Q.           Okay.         When          you were              first       confronted          with

23       this   offense        you     denied           it           right

24               A.            The     first          time            yes        sir.


25               Q.            And     then you pled guilty




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     1             A.            Yes      sir.


     2             Q.            When    you pled           guilty            you were            pleading       guilty

     3   because        you were    actually           guilty of              the      offense           were    you

     4   not

     5             A.            Yes     sir.


     6             Q.            Okay.        Let     me    show           you your       letter         which       has


     7   been    marked     April       11       97.        Let       me     show      you    what       has    been

     8   marked    State     Exhibit           939.        Do    you       recognize          this       letter       to


     9   your brother        Wesley

 10                A.         Yes        sir.


 11                Q.         Okay.


 12                                      MR.     SHOOK               Your Honor              at   this     time we


 13      offer    State     Exhibit        939.


14                                       MR.     SHOOK               No    objection.

15                                       THE     COURT               No.    939     is    admitted.


16                 Q.            By Mr.Shook                    On    the    back        page     you write            No

17       matter what        --      Well         Ive            lied to you              about      a    lot    of


18       things     but    my lying days               are       over.            Do     you remember

19       writing    that

20                 A.        Yes         sir.


21                 Q.        Were        your       lying days              over at          that       point    in


22       time

23                A.         No        sir.


24                 Q.        You       continued           to        lie    after        that

25                A.         Yes         sir.




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     1               Q.        In    fact       you told your brother                  Wesley       that          you

     2   --   that    you did not          commit     this       offense        didnt        you

     3               A.        Yes      sir.


     4               Q.        And    you      lied to      him about          that    repeatedly

     s   didnt       you

     6               A.        You    referring to           the    injury of          a    child

     7               Q.        Yes.


     8               A.        Yes      sir.


 9                   Q.        Let    me    show    you what        has    been       marked       as    State.

10       Exhibit      940.     Do you       recognize        that    as    a    letter       to    your

11       brother

12                   A.        Yes      sir.


13                                     MR.     SHOOK         Your Honor           at       this    time


14       well offer State             Exhibit       940.


is                                     MR.     KING         Can we       tie    that       down    as    to


16       time   and space           please

17                                     MR.     SHOOK         Dated       1-26-97.


18                                     MR.     KING         No   objection            Your Honor.

19                                     THE     COURT         States        940    shall       be


20       admitted.


21                   Q.        By     Mr.     Shook         This    is    when    you       are    in the


22       Tarrant      County    Jail.         You   still        havent        pled    guilty           is    that


23       right

24                 A.          Yes     sir.


25                   Q.        This    is     after      though          you had       confessed             to




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                                                                                                                                                72
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     1   the    police          of    your crime

  2                   A.              Yes           sir.


  3                   Q.              Right           now       Im        at    the       point       in which           I       dont

  4      care    what       anybody             thinks           how          they    view       me.         I    know       who       I




  s      am.     I    know       what          kind    of       person          I    am.        You     mom or           dad

  6      knows       what       really went                on.           You    guys       dont know               if    I       did       it


  7      or    not.        You       have       heard       what          the       police       want        you to hear.

  8      Im     not       saying          I    didnt        do       it        because          in actuality                 I    did


  9      hit    the       kid.        Hit       and    thats              it.         Whats           that

 10                   A.              Um        hit        like          in    spank.

 11                   Q.              Hit like              in spank.                 Youre           bad.         But       thats

12       bullshit          that       I       beat    the       hell       out       of    it.         Now         were          you

13       lying       then

14                    A.             Yes            sir     I    was          lying.


                                                      Because                       did     as               say        beat       the




--18
1s                    Q.             Okay.                                you                     you

16       hell    out       of    it
17                    A.             Yes            sir     but


                      Q.             And        thats what you referred                                to        the    boy       as        an


19       it
20                    A.              I       didnt        --    not          sure my       state       of       mind at           that


21       time.        I    dont           know       how    --       I    dont think              I    was        just


22       intentionally               calling           it       an       it.
23                    Q.             You        did beat             the       hell       out    of    it.         Thats what

24       you write          there              isnt it

25                    A.             I        did    beat       the       hell       out    of    the        baby        yes           sir




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     i   I   did.


     2               Q.          But       you used the            word     it         at    that       point       in


     3   time whatever               your     state      of    mind    was

     4               A.          Yes        sir.


     5               Q.          Okay.            Now    you    are    a    little          mad in this

     6   letter      because         you    are    not    getting          the       right    support             from

     7   these      parents      that       have    supported          you in the             past           is    that


     8   right

     9              A.           Yes        sir.


10                   Q           Your parents                 after    they          found    out       what       you

11       had done         to   that       child     they       didnt        want       to    talk       to    you

12       anymore

13                  A.           No        sir.


14                  Q.           You       couldnt        blame them             for    that        could          you

is                  A.           No        sir.


16                  Q.           Especially             because       of    all       the    things          you    had

17       done    in your       past

18                  A.           I    didnt        think       they were             that    bad    to       be    pushed

19       out    by people            parents.

20                  Q.           You       felt    they       should       be    supporting             you

21                  A.           I    thought       they       should       at       least    --    I    didnt

22       want    anything        but       letters       from them              to    talk    to    them.


23                  Q.           You       say here.           I   got      problems              but    theyre

24       only getting          worse.         What       the    fuck       happened          to    support            All


25       I   want   to    know       is   somebody        loves     me      and       that    somebody             cares




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     1   for    me.

     2                         Did    you        --    a   few       more       lines     down    you    say

     3   Honestly        do    you    think           that      I    could       have     hurt    a    child    so


     4   badly

     s            A.           I   was     lying then.

     6            Q.           You    were        lying

     7            A.           Yes        sir.


     8            Q.           Are you          pretty good                at   conning         people    and


     9   manipulating         them    when        you      have          to

10                A.           I   have       been         yes           sir.


11                Q.           How    long        have         you       been   doing        that

12                A.           I   cant really                  recall.


13                Q.           I   mean         you can             get    people       to     believe    your

14       lies   pretty   good.           You      have         in    the      past      havent         you

is                A.           I   have       in the           past        yes     sir.


16                Q.          One     of      these        letters refers                 to    you    talked    or


17       manipulated     someone           into       driving             you   all     the     way    down    from

18       Kentucky

19                A.          Yes        sir.


20                Q.          You     talk       about          your old ways of                 conning       people

21       and playing     people            that       sort          of    thing

22                A.          Yes        sir.


23                Q.          That       is    manipulating                   them      isnt      it

24                A.          Yes        sir.


25                Q.          Is     this       just       a   natural          skill     you     acquired       over




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  1   the    years

  2               A.          I    dont consider              it    a    skill.


  3                Q.         You    were       pretty good             at    it    at     one    point    in


  4   time        werent      you

  s               A.          I    have    manipulated             people.


  6                Q.         Were    you       pretty good             at    it

  7               A.          I    dont know        if    I    was       good       at     it    or not.


  8               Q.          Were    you       successful          at       it

  9               A.          Ive been successful                        yes        sir.


 10               Q.          Do    you    think    that       you       are       still        pretty good      at


 11   manipulating         people

 12               A.          Not    really        sir.


13                Q.          Now     lets talk about                    this       crime        that   happened

14    to    the    child      Jared Smith.           How old was                   the     baby    when    you

15    assaulted         him

16                A.          Sixteen       months.


17                Q.          And how       long    had you known                   him

18                A.          I    think    from about             June.


19                Q.          Where       did you meet             him




--25
20                A.          I    met him and Charity at                         the    Night     Shelter


21    Arlington         Night      Shelter.


22                Q.          When    is    it    that    you moved                in with        the


23    Plummers

24                A.          I    want    to    say late          July           September of          96

      or    I     mean    excuse      me        summer of          96.




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     1            Q.        Who    was        living with                   the    Plummers first


     2   Charity or yourself

     3            A.        I   was.


     4            Q.        And how           long       had you             lived       there

     s            A.        I   cant really                      recall.


     6            Q.        A   few     days             A       week            A month


     7            A.        A few       days     to          a    week       possibly.

     8            Q.       And     then Charity Smith came                                   to    live       with    you

     9            A.        Yes        sir.


10                Q.       And     were       you working                    back       then

11                A.       No      sir.


12                Q.       Didnt          have       a       job when             you were          at    the


13       homeless      shelter

14                A.       No      sir.        Well               I    actually          worked          at


15       Burlington     Coat    Factory setting                        up before             it    was    actually

16       opened   up yes        sir.


17                Q.       Did     you       ever        work when                you went          to    live       with

18       the   Plummers in Ft.          Worth

19                A.       No      sir.


20                Q.       Were       you     looking                 for    a    job

21                A.       No      sir.


22                Q.       So     you were           just             hanging          out    at    the       Plummers

23                A.       Yes        sir.


24                Q.       Did     you       ever    work              for       the    Plummers

25                A.       I    watched        their kids.




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     1            Q.          Was    that        the    reason          they       were    letting           you stay

     2   there

     3            A.          Yes     sir.


     4            Q.          That    was        their arrangement                      with   you

     5            A.          Yes     sir.


     6            Q.          Was    to     watch       their children


     7            A.          Yes     sir.


     8            Q.          Now    --     and then             Charity           how    long was           she


     9   living there        before       you assaulted                 her child


10                A.          Maybe       three         four       weeks.           I    cant       really

11       recall   the    time      period.


12                Q.          How    many times had you assaulted                                him

13                A.          Just    that        once.


14                Q.          Tell    us     how that             happened.              Was   it    during        the


is       day or during        the    night

16                A.          It    was     at    night.


17                Q.         And     was     everyone             at    the       apartment

18                A.          Um     to     the    best          that    I    remember         there were

19       just   the    two   children.            And       I    think       it   was     Kyle      --   I   cant

20       remember      the   girls        name.         I       dont     recall          anybody else being

21       in   there.


22                Q.          So    none     of    the          adults       were       home

23                A.         No      sir.


24                Q.         Where        were     they

25                A.         I     believe        they          were    out.




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     1              Q.           What       were        they out                doing

     2             A.            I    think        they          went          to    a    bar or some place.

     3             Q.            How       was     it       that          you       stayed behind

     4             A.            I    was    watching                 the       children.


     s             Q.            Okay.           Did        you       volunteer                to    do       that

     6             A.            Yes        sir.


     7             Q.            Why       did you volunteer                             to    do    that

     8             A.            I    felt       like        I    was          kind       of    pressured              into    it.


     9             Q.            Okay.           Tell        us       how       that          happened.


 10                A.            On what           I    remember                it       was    Charity wanted                 to    go


 11      out    and Charity and Todd                        had       a    thing          going          on at        the    time


12       and Ramie        didnt really                  trust             them.           She       didnt            suspect

13       anything        at    the    time         but       she          wasnt           going          to    let     them go


14       out    together.            And    Charity and                    I     we       had       already been

15       starting        to    argue       and     everything                   and not             really been              getting

16       along    at     the    time       anyways               and        you          know        I    was        upset    at


17       that    and     they    ended       up        leaving             and       I    said           Okay          Ill     watch

18       the    kids.

19                 Q.            So    you       agreed           to       watch          the       children

20                 A.            Yes        sir.


21                 Q.            But       you were              mad

22                A.             Yes        sir         I    was       upset.


23                 Q.            Were       you        on drugs

24                A.             I    was    on LSD              at       the    time           yes           sir.


25                Q.             Okay.        And           do    you       think             that       was    a    good     idea




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     1   to   watch      the    children when               you      are      on drugs


     2              A.             No.


     3              Q.             And then what               happened           later that           night       to


     4   cause     you    to    assault            Jared

     s              A.             Jared was             crying.


     6              Q.             How    long       did he       cry

     7              A.             He    had been          crying        for      weeks.


     8              Q.             So    what       did you       do     to    him when          he    cried

 9                  A.             I    first       tried to         calm him down.


10                  Q.             Then       what       happened

11                  A.             Then       I    hit    him.




--is
12                  Q.             How    did you hit             him

13                  A.             I    cant        remember         the      first        hit       but    I   pushed

14       him and hit           him in the            head      and


                    Q.             What       did you hit            him      with

16                  A.             My hands.

17                  Q.             Open       hand       or fist


18                  A.             Um     I       dont think           it     was     --   I    cant remember

19       if   it   was   --    I       think       probably a combination                       of    both.


20                  Q.             Where          did you hit          him

21                  A.             I    hit       him in the         head         side     of    the       face.


22                  Q.             How    hard did you               hit      him

23                 A.              Fairly hard for my size.

24                  Q.             What       did he      do     when       you     started hitting                him

25                 A.              He    was       crying      for    his     mom.




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     i               Q.        Started        calling       for       his      mother

     2               A.        Yes     sir.


     3               Q.        Did    he     sound       like    he    was     in   pain

 4                   A.        Yes     sir.


 s                   Q.        Sound       scared

 6                   A.        Yes     sir.


 7                   Q.        Did    you keep           hitting       him

 8                   A.        Yes     sir.


 9                   Q.       What     did you do           to    him after you             hit    him with


10       your   fist

11                   A.        I   remember         pushing him down                and kicking          him


12       and pushing        him again          pushed       him against             some    kind    of    chest


13       or something.

14                   Q.       And     hes      16    months       old

15                   A.       Yes      sir.


16                   Q.       He     didnt have much                  of   a   chance      against       you

17       did    he

18                   A.       No      sir.


19                   Q.       Did     he     try    to   get     away      from     you

20                   A.       I    cant       remember.


21                   Q.       Do     you     remember       him trying            to   hop away         from

22       you

23                   A.       I    cant       remember.


24                   Q.       When     you kicked          him         where      did you     kick       him

25                   A.       I    cant       remember          where      I   kicked      him    at.




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     1             Q.             Did    you kick              him    hard

     2             A.             Yes      sir.


     3             Q.             When     you       pushed          him down           how    hard did you


     4   push him       down

     s             A.             I    cant       remember.


     6             Q.             You    knew        you had hurt him pretty badly                            didnt

     7   you

     8             A.             Yes      sir.


     9             Q.             Did    you      call         an    ambulance

 10                A.             No     sir.


 11                Q.             Why    not

 12                A.             Because        at      that        time he       stopped       crying.


 13                Q.             Could       you       tell        the    next    day that       he   was    hurt

 14                A.             Yes     he     was      limping.


 15                Q.             He    was    too       young        to    tell       his    mother   what   you

 16      had done       to    him       wasnt           he

 17                A.             Yes     sir.


 is                Q.             Can you        tell        he     was     in    pain

 19                A.             Yes     sir.


 20                Q.             Did you        say         we     need     to    take       him to   the


21       doctor.        I    hurt      him

22                 A.             No.     But       I    told       them     --    I    told    Todd   that   he


23       needed    to       get   looked       at.


24                 Q.             Did    they       take       him to        the       hospital    then

25                 A.             Yes     sir.




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     1                Q.           Did    they       find out         what        was       wrong       with       him

     2                A.           Yes     sir.


     3                Q.           Let    me     show     you    first        a    two-page             document             that


     4   has     been      marked       State     Exhibit        948.         Do       you    recognize             that          as


     5   being     the      typed       confession         you    signed           in this             case    of       the


     6   injury to a          child

     7                A.           Yes     sir        I   do.


     8                Q.           And State          Exhibit         949         is    that       a    copy       of    the


     9   first     affidavit            that    you gave         the     police

10                    A.           Yes     sir.


11                                         MR.       SHOOK        Your Honor                  at       this    time


12       well offer State Exhibit                         948    and     949.


13                                         MR.       KING        No    objection.

14                                         THE       COURT        Nos.        948       and 949             shall       be


is       admitted.


16                                         MR.       SHOOK        May     I    publish             these       to       the


17       jury

18                                         THE       COURT        You    may.


19                    Q.           By     Mr.    Shook           State        Exhibit          949           Ill        read

20       at    this     time.       Its        the    first      affidavit              which          was    given          at


21       what    time        Mr.    Halprin

22                    A.           It   was     sometime         at    night            I    believe           Im        not


23       sure    of    the    exact       day or time.

24                    Q.           This    was       after      Jared with              taken          to    the


25       hospital




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     1                  A.                 The       hospital           yes        sir.


     2                  Q.                 Was       this       the    starting             time            Says    82996

     3                  A.                 Yes        sir.


 4                      Q.                 And was             this    down       at       the       police       station

     5                  A.                 Yes        sir.


 6                      Q.                 All       right.           My     name          is       Randy    Ethan       Halprin.


 7       I   am    18    years             of       age.        My date       of       birth          is    9-13-77.           I    am


 8       staying         at       3000          Las       Vegas       Trail Apartments                      1233        Ft.    Worth

 9       Texas          76116.                 My telephone             number             is       817/560-3192.              I    have


10       completed               11       years       of       schooling.              I    can       read       and write          the


11       English         language.


12                                         I        got    to    know       Charity Smith about                         six    and a


13       half weeks               ago          at    the       night    shelter             while we             were    both


14       staying         there.                 I    also got          to    know          Todd       and Ramie          Plummer             at


15       the      night          shelter.                 They    moved       out          of       the    shelter       about          a


16       month      ago.              I    moved          out    with       them       about          a    week    and a       half


17       ago.


18                                         While           at    the    shelter                 I    kept    Charitys              son

19       Jared          about             four hours while                   Charity went                   to    the    hospital

20       because         she          had chickenpox.                       After          the       Plummers       moved          into


21       their own               apartment                 I    kept    in    touch             by telephone.                 About          a


22       week      and       a   half           ago they          offered          to       let       me    move    in        so    I



23       went      to    stay with                   them.        I    kept       Jared             and the       Plummers              two


24       kids     on     Tuesday                for       about       three       and       a       half    hours.        This          is


25       the    only         time          I    have       kept       any    of    the          kids       myself.




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     1                             The        first         thing      I    noticed        about       Jared was             his


     2   leg    that    was       bruised on Thursday.                            Charity noticed                 it       first.


     3   Jared was          limping.              On      the       weekend       Jared woke           up    and       there


     4   was    blood       coming          out      of    his       ear.        Randy     said    it       might          have


     5   been    an    ear       infection              and     they       took     him to       the    hospital.


     6   They    said       it    was       an ear          infection            and prescribed              some


     7   Amoxicillin.

     8                             About            a     day       later some bruises                 started

     9   showing       up    by his ear and up to                           his     forehead.           After that                I



 10      really didnt              notice           anything.               It    was     either       Monday          or


 11      Tuesday       his       eye    started getting                     red and she           said       it       was


 12      pinkeye       because          Tom had pinkeye                     and     I    was    getting       a       red eye.

 13      They    just       kind       of     left        it    at    that.         And    then    today          I    noticed

14       the    blood       vessels           popped           in his       eye.


15                                 Todd          told her            she    needed        to    take    him to             the


16       hospital       and she             said        she     didnt         want       to.     She    said that

17       Cooks Hospital                was       going         to    call     CPS       because    they       thought

18       she    hit    her kid.               She       said this           several        times.           Then       she


19       just    basically             --     Ramie        said she           was       taking    him and             so    she


20       put    some    clothes             on    and they            left.


21                                 I        have        seen        Charity jerk Jared up by                          the


22       forearm near the                   wrist        and left           him up        off    the    floor several

23       times    while          Ive        been        staying        with       Todd     and    Ramie.              Charity

24       yells    at    him a          lot.         Sometimes              Charity will           take      Jared and

25       put    him in       a   room and close                      the    door.         Ive seen her                 do    that




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     1   a    lot     nearly every            day.        She       will       lay him down            or    sometimes


     2   he    will    crawl      to    the     door.          He    will       just      sit    there       and


     3   whimper.           Ive never           hit    Jared.


 4                                Of    course         you were            lying when            you    said you


 s       had    never       hit   Jared

 6                    A.          I    was    lying        yes        sir.


 7                    Q.          Looks       like     you were            trying to            kind    of    shift


 8       the    focus       on Charity.             Were       you    trying         to    do    that

 9                    A.          Yes        sir.


10                    Q.          They       were     looking         at       her     naturally because

11       she    was    the    mother          is    that       right

12                    A.          Yes        sir.


13                    Q.          You    didnt         turn yourself                 in did you

14                    A.          No     sir.


15                    Q.          Okay.         Now       your       confession            actually          occurred

16       on    September 4th            of    1996        is    that       right

17                    A.          Yes        sir.


18                    Q.          And    that       was    given          at   the     Ft.      Worth    Police

19       Department

20                    A.          Yes        sir.


21                    Q.          They       didnt threaten you                      or   coerce        you    in   any

22       way     did       they

23                    A.          No     sir.


24                    Q.          Do    you     remember            the    lady that            took    the


25       confession




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     --3
     1                A.            No        not       really.


     2                Q.            Sergeant

                      A.            It    was       done       on       a    computer.

     4                Q.            You       read it          over          and signed                   it

     5                A.            I    didnt           --    I    signed                it    the       first       time        but


     6   then    they       called        me    back          because             I       made       a    change       and    I




     7   initialled          it.


     8                Q.            And thats                 what          we    see          there           your    initials


     9   next    to    the    change

 10                   A.            Yes        sir.


 11                   Q.            That       was       on the             date          when       this       happened

12                    A.            I    believe             so     yes           sir.


13                    Q.            State       Exhibit             948.              Starting                 time September


14       4     1996        1711         hours.           My    name          is       Randy          Ethan       Halprin.              Im

is       18    years old           and my date                of    birth is                   9-13-77.           I    live       at


16       3000    Las       Vegas        Trail           Apartment                1233          Ft.    Worth           Texas        and


17       my telephone              number       is       560-3192.                    I    have          completed       11       and a

18       half years          of     schooling                and    I       can       read and write                   the    English

19       language.


20                                  About           7    weeks          ago       I       was       staying       at    the


21       Arlington Night                 Shelter             and    I    got          to       know       Charity Smith and

22       her    son    Jared            who    is       16    months              and Todd                and Ramie          Plummer

23       and    their       two     kids.


24                                 About        a       month      ago           Todd          and Ramie          got    their own

25       apartment and              about       two          weeks       I       went          to    stay with          them.




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      1   Charity and Jared moved                                  in the          day before                   I    did.              Jared


      2   cried       all    the       time.


      3                                On Thursday                        August             22           1996           I    was          in          the


      4   back       bedroom       probably about                         800           at       night          with          Jared.


      s   Everyone          else       in    the          living room.                       The          TV was             real          loud          and


      6   they       couldnt           hear.              Jared has                been          back          there with                      me       about


      7   ten minutes             and the             door was                closed.


      8                                He        had been             crying             the          whole          week          and             I    had

      9   been       thinking          the       whole             week       that       I       was      getting              really

 10       frustrated.              Just          everything                   crashed                down       and          Jared was                   the


 ii       closest          thing       to    take             my anger             out       on.


 12                                    I     told him to                      be    quiet             a    couple             of       times.                 I




 13       wanted       to    at    first             to       hit    him           but       I       didnt.                  But       I       just


 14       crashed          down        kind          of       flipped             out.           The       first             time          I       hit


 15       Jared        he    was       sitting                up    on the          bed and                I    hit          him up                side


 16       the    left       side of          his          head        just          a    slap.                 Ihit           him about


 17       five        six    times.              I    didnt           realize how                         hard       I       was       hitting

 18       him.        He    lay back             down          and    I       pulled             him back                up and he was

 19       saying           mama.             And          I    said           Do        you want                to       go to             mama

 20       And    I    put    him down                and       then       I       kicked             on his real                   hurt knee


 21       and then          he    fell       down.


 22                                    He        got          back    up.           I    pushed                him back                down            and


23        he    hit    the       floor real                   hard.           I    pulled            him back                 up       real            hard


24        by the       wrist       and       I       was       telling             him to            stop           crying.                    I       didnt

25        realize          that    I   was           hurting          him           but          I   think           that          I       could




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         have        broken          his arms then.                          I    could             have        hurt his                other      leg


     2   when        I    was       pushing             him back             down          because              he       was       trying       to


     3   stay off              his       hurt       leg       and he was                   twisting                  trying             to   get


     4   away        and       I    was       shoving          him back                down.             I     guess       Ihurt             his       eye


     5   when        I    slapped him because                            I       was       slapping                 him hard enough                     to


 6       bruise           his       face.           I    wasnt           aiming                for       any        particular               place.


     7   I    was        just       slapping             aim.


 8                                           I     got    scared             and       I       put       him down              on the         bed


 9       and kept              saying              Im         sorry.              Im           sorry.                He    fell          asleep

10       and     I       just       left          the    room.           I       never          hit          him after              that.          I



11       slapped him on the                             hand       once          before             while           in    the       shelter            and


12       Charity saw                 it       and asked             me       not       to       do       it.         I    dont know

13       anything              about          the       injuries to Jareds                                   mouth.            I    just


14       assumed           it       was       from him biting                      his          tongue.


is                                           The next morning when                                   the        blood          started


16       coming           out        I       got    really scared                      about             everything                 I    did to


17       him the           night             before.           I    made          --       I    didnt               say anything                first


is       about           the       injuries.              I    made          sure          someone              else       commented




--24
19       first           before          I    said anything.


20                                           I     lied to          the          police             when        I    gave          my first

21       statement                 because          I    was       scared          and didnt                        want       to       believe

22       that        I    did       that.

23                                           So    according             to       the          statement                  you       actually

         it   was         Charity Smith that                         lived             there             first

25                       A.                  Um     to    my knowledge                         --    I       know        what       I    said      in




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     1   there     but       from what           I    remember                 it    was       the    other         way

     2   around.        I    could       be    wrong.


     3             Q.              I    dont         see       any       mention of             being         on acid       or


     4   drugs   of     any sort          in     this          statement.


     s             A.              No     sir         but       I       told them             about     it.


     6             Q.              You    told the              police             that

     7             A.              Yes        sir.


     8             Q.              And they           left          it    out

     9             A.              I    thought           it    was       in       the    statement.


10                 Q.              Did you           read the             statement             over

11                 A.              Not    when        I    reinitialed                   it     no     sir.


12                 Q.              But    theres               no       mention          of    drugs in here              at


13       all

14                 A.              No     sir.


15                 Q.              Now        there        is       a    mention          of    --    was      his    ear


16       bleeding

17                 A.              Yes        sir.


18                 Q.              Did you           learn          later that                you    had busted his

19       eardrum

20                 A.              Thats what                  they       said       I   did yes               sir.


21                 Q.              And blood              was       coming          out         And    then         theres

22       one   line     in    the       last    paragraph.                     I     dont know                anything

23       about   the        injuries to              Jareds              mouth.           I    assumed         it   was     from

24       him biting          his       tongue.

25                                 Do    you    know           what       theyre              talking       about     there




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     1             A.           Not       really           no         sir.


     2             Q.           You       dont        remember               the    sergeant           asking       you

     3   about   the     blisters on his                   tongue            and mouth


     4             A.           I    remember             him asking               about        some    injuries to

     s   the   mouth.


     6             Q.          They        were       described               as    cigarette           burns

     7   werent      they

     8             A.           Im        not    a    smoker.


     9             Q.          Well            there       are        cigarettes            in    that    house

10       werent there

11                 A.           I    didnt           do    that.


12                 Q.          The        Plummers             smoked          didnt they

13                 A.          I     didnt           do    that.


14                 Q.          You        deny       doing        that

is                 A.          I     didnt           do    it.


16                 Q.          You        didnt           burn that            child       on the        tongue

17                 A.          No         sir        absolutely              not.


18                 Q.          You        did hit          him beside               the    head        kick     him in

19       the   legs.     Did        you    just       do       this     once        or was        there       more    than

20       one   occasion

21                 A.          That        night           I     cant        --     obviously          there was          a


22       series of      blows         but       thats            --   that         was    it.


23                 Q.          Let        me    show       you what           has        been     marked       as    State


24       Exhibit    941     942           943        944         945     and        946         947.     Do   you

25       recognize      those       photos        of       Jared smith and his                         injuries




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     1            A.           Yes     sir.


     2                                 MR.     SHOOK         Your Honor               at   this       time


     3   well offer        State      Exhibits        941    through           947.


     4                                 MR.     KING         No    objection            Your Honor.

     s                                 THE     COURT         Nos.        941    through         947    shall       be


     6   admitted.


     7            Q.           By     Mr.     Shook         We    know     at    least      from this


     8   case    you     are   capable        of   great violence                dont we              Mr.


     9   Halprin

 10               A.           One    incident.


11                Q.           Im     sorry

12                A.           One    incident         yes        sir.


13                Q.           We    see    here   this      is    Jared smith              is    that


14       right

15                A.           Yes     sir.


16                Q.           Bruises here           to    his forehead               around         his




--20
17       mouth    you    cause       those

18                A.           Yes     sir.


19                Q.           State       Exhibit    242


                                       THE     COURT        No.     942.


21                Q.           By    Mr.      Shook        No.     942         the    forehead         injury

22       you   caused    that

23                A.           Yes     sir.


24                Q.           See   the      blood   in     the    left        eye        Is    that       from

25       you hitting      him




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     --4
     1               A.                Yes        sir.


     2               Q.               Let     me    show       you     State       Exhibit      943.       See    that


     3   large    bruise          by his           ear         Is    that


                     A.               Yes        sir.


     s               Q.                --    where       you    slapped him beside                  his    head

     6               A.               I     remember          slapping           him on the        side    of    the


     7   head.       But     I    also        remember          him being           treated        for    ruptured

     8   eardrum          before          that     incident          happened.           So   Im     not    sure       if   I



     9   caused      that        or       not.


10                   Q.               Did     you       see    blood        coming      out   of    his    ear the

ii       day after you hit                    him

12                   A.               I     did notice          some        blood       yes     sir.


13                   Q.               Let     me    show       you    State        Exhibit      944.       This


14       broken      arm here that                  we    see       in a     cast       did you      cause      that


is       injury

16                   A.            Yes           sir.


17                   Q.            Was        that       when    you        were   kicking         him or hitting

18       him

19                   A.               I     dont     recall.


20                   Q.            See       how     his       legs        are   restrained        here         When

21       did   you    break        his       legs

22                   A.            I        dont     recall.


23                   Q.            How       long        did    this        assault      go   on

24                   A.            A couple              of    minutes.

25                   Q.            Do       you    remember           if    you    --    that   bone      was     broken




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  i   in    the    middle       of    the     forearm

  2                A.           Im     not        sure.


  3                Q.           Let    me    show        you    State          Exhibit         946.        See    the


  4   large       bruise       to    the    chin          Do    you       remember          causing         that

  s                A.           I    know     I   hit     him        so    if    I    hit      him     I    could


  6   have    caused       that        yes.


  7                Q.           Could       Jared walk              at    this       time

  8                A.           He    was    limping.


  9                Q.           Let    me    show        you    State          Exhibit         947.        See    those


 10   blisters to his                tongue

 11                A.           I    see    them         but    I    did not          cause      those.


 12                Q.           You    are        denying       that

 13                A.           Im     denying           that.


 14                Q.           For someone              that       would       actually         burn       a    childs

 is   tongue       like    that        they       would        have       to    think       about      doing       that


 16   type    of    offense           wouldnt            they

 17                A.          Excuse        me

 is                Q.          They        would     have       to       think       about      that.           That


 19   takes       some    planning

 20                A.          Obviously.

 21                Q.          Now         you    talk     about           Mr.       Halprin          that       you    in


 22   the    past       have   been        good     at    manipulating people                         is    that


 23   right

 24                A.          Yes         sir.


 25                Q.          You     have       been     successful                at   it




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     1              A.             Yes        sir.


     2              Q.             I    want      to    show    you     State      Exhibit         950      a   letter


     3   you     sent    to   a    lady named            Debbie       Toner       on 3-6-02.

     4              A.             Yes      sir.


     5              Q.             Do you        recall        writing       a    letter      to    her

     6              A.             Yes      sir.


     7              Q.             Okay.


     8                                      MR.        SHOOK         Your Honor          at    this        time   we


     9   offer    State       Exhibit          950.


10                                          MR.        KING     No     objection.

11                                          THE      COURT           No.    950   shall       be    admitted.


12                  Q.                By   Mr.     Shook         I    noticed      on the          first    day    of


13       trial    you were             wearing glasses

14                 A.             Yes       sir.


is                 Q.             And      during       jury selection             you were          wearing

16       glasses     some         days

17                 A.             Off      and     on    yes         sir.


18                 Q.             And do you            wear    glasses            You     need      glasses       to


19       read or     see

20                 A.             Yes       sir.


21                 Q.             How      long      have     you     worn   glasses

22                 A.             I    have      worn    --    Ive been prescribed glasses

23       before    when       I   was      young        but    mainly just          to    read       or    look   at


24       something.

25                 Q.             So    how      long    have        you been      wearing         glasses




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     1                A.              Off       and on.


     2                Q.              All       through                     your       school          years

     3                A.              Yeah               I     did          --    I    was    prescribed                   when       I    was


     4   younger           yes        sir.


     s                Q.              Because                     I    was       looking          at    your pen                record.


     6                A.              No        I     had no                 records          of       wearing             glasses             in


     7   prison.


     8                Q.              I    know.                      They       show       you    to       have          20/20       vision.


     9                A.              Yes           sir.                But       Im        sure       if    you had me                   tested


 10      now    --    Im       sure        if       you               had me tested                now           I    would          not       have


 11      perfect          eyesight.

 12                   Q.              Well            let              me    show          you your          records.                 First




--14
13       time tested


                                                    MR.               KING            Excuse       me.           If       Mr.    Shook


is       intends          to   offer         certified                       copies          of    prison records                          we


16       would       like      to     be    notified                        that       they       are       certified copies                         of


17       prison records.                    And              if        he    intends          to       offer          the       prison

18       records          in     we       would              like           to   have        them       marked             as    an       exhibit

19       and    I    would       like       to        see              them.


20                                                  MR.               SHOOK            I    would       just          like       to       ask       him

21       if    he    remembers getting                                his        eyes examined                   first.


22                                                  MR.               KING            That    was       the          question             he    asked

23       him        but    now      hes         showing                     him a          document.                 If    hes going                 to


24       show       him a      document                      we       would           like    it       to    be       marked          as       an


25       exhibit and             ask       if       it        can           be   identified                 as       part       of    the




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     1   prison records.                   We    would      like             to    have       Mr.     Shook        mark    it    so


     2   we    can know         what       part       of   the       prison records                          if    any

     3   Mr.    Shook       thinks         are    relevant               in       this       trial.


     4                                          THE    COURT                 Mr.    King           can       you please         mark

     5   exhibits.


     6                                          MR.    KING              I    will        for      the       moment.


     7               Q.               By    Mr.       Shook              Do       you     remember            checking      your

     8   eyes   in    prison

     9             A.             I    dont remember                         an exact           eye      exam.


 10                  Q.           You       dont remember ever getting                                        an   eye    exam

 11                A.             Im        not       saying         I       haven.             But      I    just    dont

 12      remember         it.


 13                Q.             So    you have            forgotten                   it    if    you had          an   eye

 14      exam

                                       dont remember.




--18
 15                A.             I



16                 Q.             You       just       have      no memory

17                 A.             I    dont recall

                   Q.             On June             2    1997              you wouldnt                 have      been

19       checked      for       eyes    and shown               to       have      20/20           vision

20                 A.             I    dont           recall.


21                 Q.             You      dont           recall             that

22                 A.             No       sir.


23                 Q.             Okay.           Let      me    ask         you     this.            On June        1st    of


24       1999    do       you    recall         getting         an eye             exam        and having            20/20


25       vision




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      1                A.              I    dont            recall.


      2                Q.              Could          that         have          happened

      3                A.              It    could           have              happened               yes    sir.


      4                Q.              But       you are               saying          that           you need         glasses          now

      s                A.              Im        just         saying             that          sometimes          I    need       them

      6   yes     sir.


      7                Q.              When        is       it     that          you       need        them




 --11
     8                 A.              Whenever               I    need          them           whenever          I    feel       like    I



     9    need    to    read something                            if       things          are getting                blurred.           Its

 10       my right          eye       that       is     actually

                       Q.              Let       me     show           you       this.           You     wrote         Ms.       Toner        I
 12       want    the       potential             jurors to                     see    me       in     different            outfits.


 13       It    shows       a    personality                 other              than       wearing          the       same       suit    over

 14       and over.              I    was    thinking                  about          some       Dockers              khakis        and


 is       Navy    blue          pants       with        a    couple              of    different             dress          shirts

 16       then    in my          trial           wearing               a       few    different             suits           ties        and

 17       shirts.           I    got       the    idea            from the             O.       J.    trial.           Its        crazy       I




 18       know        but       the    lawyers              did        different                dress       schemes          to


 19       distract          the       jurors.               The        shit          works.

 20                                    Is    that           what           your       --       then    you     say          Like        one


 21       day    Ill        wear       glasses              and one              day       I    wont.          One         day    Ill

 22       have    a    different             tie        on or              a    suit.

 23                    A.              I    did       say that                   yes           sir.


 24                    Q.              Is    that           what           you       are       attempting             to    do    with

25        wearing       glasses              things               like         that             You    wanted          to    distract




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  1   the    jurors

  2               A.              Not    really              no              sir.           I    dont           think       that       they

      are    paying      attention                to       me.           I    think             that       they      are        paying




  --8
  3




  4   attention         to    the       evidence.


  s               Q.              Then       why       did you write                            this       to    Ms.       Toner       about


  6




  --7             A.              I    just       wanted             to       show


                  Q.              Its         crazy              I       know           but       the       lawyers             did    it

  9   different         dress          schemes              to       distract                   the    jurors.              The       shit


 10   works.

 11               A.              Who    knows             what          I    was       thinking                at   the        time.


 12               Q.              Now        we    talked                about          your          lying.           And       I    asked


 13   if    you   continued             to    lie          you were                a    little             vague       on       that.




 --17
 14   You    wanted      me       to    give       you       a       specific                   reference              I    think

 is               A.              Well        I    mean              I       know       that          Ive        lied.           Im     not


 16   denying that            I       havent           lied.                 But


                  Q.              You    have          a    friend             named             Jennifer              I    think

 18   that    has      been       in    the       courtroom                   the       past          couple         of     days

 19   Jennifer         Roe

 20               A.              Jennifer             Roe       and Saline.                          If    you      ask        them

 21   they    both know               about       each       other.


 22               Q.              Okay.           Well           Saline                is       here        but      Jennifer you

 23   met    --   when       did you          meet          her

 24               A.              Back       at    the       beginning                      of   March           when       I   came        to


 25   Dallas      County.




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      1             Q.        After you were               here       in   the       Dallas     County     Jail

      2             A.        Yes.


      3             Q.        Does    she      live       here       in Dallas         County

      4             A.        She    lives      in Duncanville                   yes     sir.


      5             Q.        Okay.       But       you    didnt know her before                      then

      6             A.       No      sir.


      7             Q.        She    --   how did you meet                  her

      8             A.        Through         the    mail.


      9             Q.       Did     yall develop                a    relationship            after   that

 10                 A.       Yes      sir.


 11                 Q.       What     type      of    relationship

 12                 A.       A    love    relationship                 whatever         you want      to    call


 13       it


 14                 Q.       Does     she      have       some       children

 is                 A.       Yes.


 16                 Q.       How     old are         they

 17                 A.       Shes got           --    she       just    had      a   kid.     Hes     about       a


 18       year    old now and       she   also has          Austin.

 19                 Q.       Austin           Okay.         And      Jennifer and             Saline       they

 20       know    about   each    other

                             Yes




 --25
 21                 A.                they      know.


 22                 Q.       Let     me   show       you    a    letter       that     has    been    marked

 23       State    Exhibit   952     to   a   woman        named       Dawn   Amos          written    on

 24       August    15    2001.      Do   you       remember         that


                   A.        Yes      sir.




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      --7
      1             Q.          --    writing       to    Dawn      Amos

      2                                 MR.       SHOOK         Your Honor               at    this   time     we


      3   offer    State      Exhibit       952.


      4                                 MR.       KING        No    objection.

      5                                 THE       COURT         No.      952    small         be   admitted.


      6             Q.          By     Mr.       Shook        Ms.     Amos is        a    woman that

          shes     in    a   Colorado prison


      8            A.           Yes     sir.


      9             Q.          You    began       writing         her     too

 10                A.          Yes      she       was   pen     pals.


 11                Q.          Yes.         Do   you     remember         telling         her      in this


 12       letter   explaining          to    her who       Jennifer            was

 13                A.          Yes.


 14                Q.          And you           lied to      her        didnt       you

 15                A.          Yes.




 --18
 16                Q.          You    told her           that      Jennifer was               actually   a


 17       school   friend of yours

                   A.          From Kentucky.


 19                Q.          --     from Kentucky


 20                A.          Yes.


 21                Q.          That    yall had            slept         together

 22                A.          Yes      sir.


 23                Q.          And then          you    took       off   to    Texas

 24                A.          Yes      sir.


 25                Q.          Came    back        went       to    prison




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      1             A.         Yes     sir.


      2             Q.         And lo and behold                       she    showed    up    in   Dallas

      3             A.         Yes     sir.


      4             Q.         And came        to     see        you    at    the    jail

      5             A.         Yes     sir.


      6             Q.         And    turns     out     she        had been          impregnated by you

      7   several      years   before

      8             A.         Yes     sir.


      9             Q.         And that        your     son        was       Austin

 10                 A.         Yes     sir.


 11                 Q.         And you were            --    why       were     you    --    thats      a   big

 12       lie    right

 13                 A.         Yes     sir.


 14                 Q.         Why    were     you    telling            this       woman up      in Colorado


 15       this   lie

 16                 A.         I    dont      know.


 17                 Q.         You    dont know




 --21
 18                 A.         No.


 19                 Q.         That    lying        just     come        back       naturally to        you

 20                 A.         Not    naturally             it    just


                    Q.         Do    you   remember          a    reason        to    lie    to   her   about


 22       that

 23                 A.         No.


 24                 Q.         Pretty      insignificant                     isnt it

 25                 A.         Yes     sir.




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      1                   Q.           So       if     you would            lie    about          something            that


      2   insignificant                   dont you think you might                                 lie       about         something

      3   real       significant               like         about         what    happened             behind that


      4   Oshmans

      5                   A.           Sir.            I    did not         shoot       the       officer.             I    did not

      6   pull       a    gun    and      I    think            the   evidence          shows          that       sir.


      7                   Q.           But         you      lied about            something             that


      8   insignificant

  9                       A.           Yes           sir.


 10                       Q.           Big           elaborate             story.        Let       me    show       you what

 11       has    been          marked         as     State        Exhibit         953        another          letter         to    Dawn


 12       Amos           dated       April         8       2001.          Do you       recognize             that      as    a


 13       letter         you     sent         to     her

 14                      A.           Yes            sir.


 15                                                  MR.        SHOOK        Your Honor                 at    this         time we


 16       will       offer       State         Exhibit            953.


 17                                                  MR.        KING        No    objection.

 18                                                  THE        COURT        No.       953    shall          be   admitted.


 19                      Q.            By          Mr.      Shook           Now        like       we    talked         before

 20       you    are       good      at       manipulating                 people      or been           successful               in


 21       the    past           is   that          right

 22                      A.           Yes            sir.


 23                      Q.           Okay.                Do   you       remember       writing             this           If     I



 24       get    a   chance          to       tell         my side of            the   story            that      will       be


 25       great          because          I    know         that      I    can    reach       a    couple         of       jurors.




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  1   Its     just       something         I    know.

  2             A.             Im     telling          the    truth.


  3             Q.             You    think       that       you    can    reach      one     or    two

  4             A.             Yes        sir.


  s             Q.             Wouldnt           be    because       you have         been       pretty

  6   skilled    at       manipulating people                     in the    past

  7             A.             No     sir.


  8             Q.             Telling          lies

  9             A.             No     sir.


 10             Q.             Getting          people       to    feel    sorry for          you

 11             A.             No     sir.


 12             Q.             Because          thats        one    of    the    things       that      you have

 13   done    in the       past       isnt it

 14             A.             Yes        sir.


 15             Q.             You    talked          about       in your       letter      to     your

 16   parents        a   big    lie       to    Theresa.           That    was    one    of      your

 17   girlfriends          back      in    Kentucky

 18             A.             Yes        sir.


 19             Q.             Do    you       remember       convincing          her    and others         that


 20   you    had cancer


 21             A.             Yes        sir.


 22             Q.             They       believed       you

 23             A.             Yes        sir.


 24             Q.             Her    mother even             believed          you

 25             A.             Yes        sir.




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      1               Q.        Of    course           you    didnt have cancer

      2               A.        No        sir.


      3               Q.       And        then    the    --    right       when    you    were        finishing

      4   your   testimony           Mr.    King       talked    about       your       theft     case         in


      s   Kentucky.         Thats         when    you    stole       from some          former teachers




 --11
      6   of   yours

      7               A.        Yes        sir.


      8               Q.       You        talked       your way       into       their home               didnt

      9   you

 10                   A.       Yes         sir     I    didnt        talk        actually.            I    was

          we   were    actually       friends.


 12                   Q.       Made        them    feel       sorry for          you

 13                   A.       You        talking       about    the       teachers       in Kentucky


 14       right

 is                   Q.       The        Kernels

 16                   A.       The        Kernels        yes     sir.


 17                   Q.       They        let    you    come    stay       in their       home

 is                   A.       Yes         sir     they       did.


 19                   Q.       And while           you were          there you          stole     from         them

 20                   A.       I     stole       their credit          card.


 21                   Q.       And        even    actually       had       them    drive       you        to   pick

 22       up some      money you had             ordered       off    of    it     is    that     right

 23                   A.       Yes         they    actually          dropped      me     off     in


 24       Louisville        where     I    had    the   money wired               yes     sir.


 25                   Q.       So    you     deceived          them




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      1                A.        Yes     sir.


      2                Q.        Now     this        offense       that       you went      to       prison for

      3   you    got    30   years.      How     long         had you been           in   prison before

      4   you    met    George    Rivas

      5                A.        Um atthat                time    possibly three            and a half


      6   maybe    four.


      7                Q.        Okay.         You    already knew             your way         around    the


      8   prison system pretty well                       didnt         you

      9                A.        Yes     sir.


 10                    Q.        George        Rivas      was     not       your mentor         in    prison

 ii       was    he

 12                    A.        Um     not     to    that       time        no    sir.     I    was    pretty

 13       much    independent          or by myself.

 14                    Q.        You    told     the      jury on           direct   that       you never       had


 15       any    serious      incidents         in    prison

 16                    A.        No     sir.


 17                    Q.        Werent        violent

 18                   A.         No     sir.


 19                    Q.        Are   you      telling          the    jury that         you    never    had


 20       any fights

 21                   A.         Im    not      saying         Ive      never      been    in    a    fight.


 22       Prison is         prison.      You     are      going        to    fight   in prison.


 23                   Q.         You   have     been          in several          fights    in       prison

 24       havent        you

 25                   A.         Ive     been        in   a   couple         yes.




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                    Q.          You    never        got      in    trouble       for      that          did    you

      2             A.          No     sir.


      3             Q.          Because        the       guards         dont    see       a    lot      that    goes

      4   on down      there

      s             A.          Yes     sir.


      6             Q.          You    fought           to   get       respect       is       that      right

      7             A.          I    fought        so nobody            would   run me            over        yes

      8   sir.


      9             Q.          Do    you remember                starting      a    riot         in closed


 10       custody

 11                 A.          No     sir.


 12                 Q.          Let    me   show        you a          letter   which          has      been    marked


 13       State    Exhibit      954

 14                 A.          If    its      a    letter         to    Dawn       then       its       a    lie.      I



 is       was    trying   to    impress        her.


 16                 Q.          Its     a   letter           to    Dawn.


 17                 A.          Yes     sir.


 18                 Q.          And    this        is   the       letter    were talking                     about

 19       April    4     2001

 20                 A.          Yes     sir.


 21                                     MR.        SHOOK           Offer State            Exhibit            954.


 22                                     MR.        KING           No    objection.

 23                                     THE        COURT           No.    954   shall         be       admitted.


 24                 Q.          By    Mr.     Shook               You    talk   about             I    think

 25       getting      checked.       And     then       you       said     Though            I       did get        into




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      1   a    few      hairy situations                     I    started             that    riot       in   close        custody

      2   kitchen.                I    thought         oh        shit           Im     dead        you    know.        I    threw


      3   a    pitcher            of    juice       on that           Mexican.

      4                                  Were       you     telling             the    truth       or lying about


      s   that

      6                     A.           I    was    lying.


      7                     Q.           So    that        was    a    lie

      a                     A.           Yes        sir.


      9                     Q.           You     also talked                 about      in this          letter    that           you

 10       were         --    had dealings              with       the        leader of            the    Arian


 11       Brotherhood.                   Do    you remember                  that

 12                         A.           I    dont         recall          it     but    its        probably       a       lie.


 13                         Q.           Calling           him Batman


 14                         A.           Batman            yes        sir.


 15                         Q.           Yall had            this          little       deal       going where             you

 16       would         sell          cookies.        He     was       a    baker

 17                         A.           Yes        sir.


 18                         Q.           Did you make                 up    a    lie    about       him checking             with


 19       you     if        there was          any     trouble             between       the       Arian gangs


 20                         A.           You    mean        as    far       as    what       he    had    told    me        as     far


 21       as    if      I    had any          trouble            we    were       cool        because         Im   jewish

 22       you    know             I   could     go    to     him and he would                      take    care    of       me.


 23                         Q.           And he       knew        that          you were          with    the    whites            if


 24       anything               went    down

 25                         A.           Yes        sir.




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     1               Q.              You          told him          that

     2               A.              Yes           sir.        Thats              to    survive        sir.


     3               Q.              So       that        wasnt          a    lie

     4               A.              No           sir.        That       part          was    not     no     sir.


     5               Q.              Lets talk about                          this          escape    for    a   minute.


     6               A.              Yes           sir.


     7               Q.              You          said     that      George             Rivas      approached           you

     8               A.              Yes           sir.


     9               Q.              And          yall        --    or       he    did most of             the   planning

 10                  A.              Yes           sir.


 11                  Q.              Did you ever meet                            with       him about       the    planning

 12                  A.              I    talked          to       him        yes           sir.


 13                  Q.              You          knew    what       the          plan       was     didnt       you

 14                  A.              Yes           sir.


 15                  Q.              What          was    the      plan                How was       the   escape       going

 16      to   go    down

 17                 A.               Um           you    mean      just           as    a    whole

 18                  Q.              Right.


19                  A.               We       were       to    take      down           the    maintenance          shop


20       supervisors             use          a    white       truck         to        get    out.     George       Rivas       was


21       supposed         to    take          over       the       tower and                they were      supposed        to


22       come      down        get       in       the    truck        and we                were   supposed        to   leave.


23                  Q.               How          were    you going                to       take   down    the


24       supervisors

25                  A.               By wrestling                  them           to    the    ground.




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      1               Q.         And     now you had              some    weapons          ready      is     that


      2   right

      3               A.           Yes       sir.      There       were       weapons       yes       sir.


      4               Q.         And     who        were    you    close       friends      with

      s               A.           I   was    close        to    Joseph       Garcia       Larry Harper

      6   and George        Rivas.


      7               Q.         You     knew        Joseph       Garcia       was    serving      50      years

      8   for    murder

      9               A.         Yes         sir.


 10                   Q.         And you            knew    George       Rivas       was   serving          what


 11       was    it    17   life       sentences

 12                   A.         Yes         sir.


 13                   Q.         For     aggravated              robbery

 14                   A.         Yes         sir.


 15                   Q.         That        means     he       pulled guns          on people

 16                   A.         Yes         sir.


 17                   Q.         And Larry Harper                      that    was    your other           one   you

 18       were    close     to

 19                   A.         Yes         sir.


 20                   Q.         You     worked        with       Garcia       and Harper        in     the


 21       warehouse         is   that        right

 22                   A.         Yes         sir.


 23                   Q.         Larry Harper was                  actually          serving     three

 24       sentences         50   years         for     rape.


 25                   A.         I     was    not     aware       of    that    until      we   escaped.




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      1               Q.           What       did he        tell    you his       charge       was

      2               A.           He    had never           even    said anything             and       I   never


      3   asked    him anything.

      4               Q.           How    did you become                 aware    of    it

      s               A.           Actually            watching          Americas            Most    Wanted.

      6               Q.           Were       you     shocked       by    that

      7               A.           I    was    surprised            yes.


      8               Q.           You    liked        to    watch       Americas            Most    Wanted

      9   didnt       you

 10                   A.           Only to           see    what    was    being       said.


 11                   Q.           You    never        missed       an    episode       while you            were

 12       out     did      you

 13                   A.           Thats         not       true.


 14                   Q.           So    you     were       friends with          Garcia.           You      knew    he


 15       was   capable       of       murder

 16                   A.           Yes        sir      he    was    in    for    murder.


 17                   Q.           You    knew        George       Rivas    was    capable          of


 18       threatening         people          and committing              crimes

 19                   A.           Yes        sir.


 20                   Q.           Did you           think    anyone       might       get    hurt       in this


 21       escape

 22                   A.           No     sir.


 23                   Q.           Why    not

 24                   A.           Because       the        whole    idea       that    it   was     designed

 25       for   was     so   nobody       would        get    hurt.




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      --8
      1              Q.             You       had weapons            there           is     that     right

      2             A.              For       intimidation                   yes     sir.


      3              Q.             Shanks

      4             A.              Yes        sir.


      s              Q.             Did they           kill       someone

      6             A.              Im        not     sure.


      7             Q.              In    actuality              when        this    escape         started     you

          the    first        person you             took     down      was      the      assistant        supervisor

      9   Pat    Moczygemba              wasnt         it

 10                 A.              I    didnt         take       him down             but     yes       sir    he    was


 11       the    first        person tooken             down.


 12                 Q.              You       were     there when              it    happened

 13                 A.              Yes        sir.


 14                 Q.              In    fact         you       were    the        ones     that    you    and Rivas


 15       coaxed    him        into the         back        of    the    warehouse              is   that    right

 16                 A.              Rivas       did coax           him into            the    warehouse         yes

 17       sir.


 18                 Q.              And you were                 there       with      the    others

 19                 A.              I    was    on the           lookout            yes      sir.


 20                 Q.              Did you          ask      him or point                and say        Look    at


 21       this    motor under             a    table        --

 22                 A.              No        sir.


 23                 Q.              Were       you     there when             that        happened

 24                 A.              I    dont remember                  it    like        that.      I   remember


 25       being    --     I   was       in the       warehouse           room          if    thats       what   you




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  --2
  i   mean.    But


               Q.       What    happened        to    Mr.       Moczygemba      when    he   bent


  3   over

  4            A.       He    was   hit   by Rivas.

  s            Q.       What    did he     hit       him    with

  6            A.       With    his     hand.


  7            Q.       With    his     hand

  8            A.       With    his     hand.


  9            Q.       Do    you remember           his    ear getting         ripped half

 10   way   off

 11            A.       Yes     sir.


 12            Q.       He    did that     just       with       his    hand

 13            A.       He    did not     hit    him       --    he    wasnt    the    one   that


 14   caused   the   injury to      his   ear.


 15            Q.       Who    caused     the     injury to his            ear

 16            A.       Michael        Rodriguez.

 17            Q.       That    was     Michael       Rodriguez

 18            A.       Yes     sir.


 19            Q.       So    obviously     some       injuries did            occur    in this


 20   escape

 21            A.       Yes     sir.


 22            Q.       Do    you   remember         them       all    fighting   and    hitting

 23   him

 24            A.       Um Moczygemba

 25            Q.       Yes.




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      1                A.             I    dont         recall      everything          that     happened         to


      2   him.     I     know     that       he       was   the     biggest       man and probably                the


      3   hardest        and     it       took    a     couple      of    guys    to    get     him down          but




      --s
      4   thats

                       Q.             So    he    did get         hit

      6                A.             Yes        sir.


      7                Q.             Do    you       remember         threats     being        made       to   his


      8   life

      9                A.             Not    that        Im    aware          of no      sir.


 10                    Q.             Do    you     remember           him being gagged


 11                    A.             Yes        sir.


 12                    Q.             That       was    part      of     the    plan

 13                    A.             I    know     that     he     was       gagged     yes        sir.


 14                    Q.             Yall had gags                    right

 15                    A.             Yes        sir.


 16                    Q.             Yall worked              this       out    ahead    of    time

 17                    A.             Yes        sir.


 18                    Q.             Now        you    knew      he     was    going    to    be    on this

 19       escape       team       didnt you                 ahead        of    time

 20                 A.                Yes        sir.


 21                    Q.             Rivas       talked       to      you      selected       you     and you

 22       agreed       to   go
 23                 A.                After consideration                       yes     sir.


 24                 Q.                No    one     forced        you     to     right

 25                A.                 No     sir.




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      1               Q.             You    said on direct                      that        you know                 usually you


      2   were    pretty impulsive

  3                   A.             Yes        sir.


  4                   Q.             When       you       have       gotten          in   trouble              in    the    past    or


  5       done    things         that      have       gotten          you       in    trouble                 it    was    because


  6       you    had been         impulsive

  7                   A.             Yes.


  8                   Q.             This       time you             decided          not    to          be    impulsive

  9                   A.             Yes        sir.


 10                   Q.             Thought          about          it

 11                   A.             Yes        sir.


 12                   Q.             And then             decided          to    commit          a       crime

 13                   A.             Yes        sir.


 14                   Q.             So    whether             its    impulsive             or       think          about    it

 15       you were         willing         to       commit these                types       of       crimes

 16                   A.             Yes        I    did.


 17                   Q.             And you had                --    the       seven       of       you had to             trust


 18       each    other          didnt you

 19                   A.             There          was    a    level       of       trust           yes.


 20                   Q.             I    mean        how was             this       going       to      work        if    you

 21       didnt       trust      each       other

 22                   A.             Im     not       really sure.                   All     I       can       say    is    there


 23       was    trust      to   a       degree.


 24                   Q.             You    had to             work       together          as       a   team        to    get    out


 25       of    the   there          didnt you




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  1                A.       Yes        sir.


  2                Q.       And you worked                  very well                as    a    team    together


  3   didnt        you

  4                A.       Yes        sir.


  s                Q.       Yall had planned                      a    long          time

  6                A.       Yes        sir.


  7                Q.       And there was               a    lot       of    violence             done    to    those


  8   people

  9                A.       From later reports that                              I    heard        yes       sir.


 10                Q.       Do    you believe               those          reports

 11                A.       Um     obviously            they          are    true.


 12                Q.       You    were       there

 13                A.       Yes        sir.


 14                Q.       Do    you remember               a    man by the                   name of    Burgess

 is                A.       Yes        sir.


 16                Q.       And    a    guard      by       the       name of             Marroquin

 17             A.          Yes        sir.


 18                Q.       Mr.    Camber

 19             A.          Yes        sir.


 20                                    MR.    SHOOK              If    I    may have             some    people

 21   step    in    the   courtroom           I   wont           ask       any       questions          while    they

 22   are    in here.


 23                                               At this             time       four people             stepped    in


 24                                               and back             out       of       the    courtroom.


 25             Q.           By   Mr.        Shook           Can you             see       these       men




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      1             A.        Yes        sir.


      2             Q.        Do    you remember                Mr.    Camber           the    littlest        guy

      3   there

      4             A.        Was    that       Camber

      s             Q.        Yes        sir.


  6                 A.        I    wasnt        sure who             was    in    the    middle.


  7                 Q.        Do you        remember            jumping him             from behind and


  8       smashing his head          on the             ground

  9                 A.       No      sir.


 10                 Q.       You     didnt              do    that

 11                 A.       No      sir.


 12                 Q.       Do     you     remember            Mr.    Burgess           didnt you




 --16
 13                 A.       Yes         sir        I    remember          Burgess.


 14                 Q.       Do     you remember                you    and Rivas             starting     to


 15       carry him to      the     electrical                room

                    A.       No      sir        I       did not       do    that.


 17                 Q.       You     didnt carry him back                          to    the    electrical


 18       room

 19                 A.       No      sir.


 20                 Q.       Do     you     remember            saying       to    Mr.       Burgess      You

 21       thought    I   liked     you      Burgess             but    I    hate    your       fucking     guts

 22       --

 23                 A.       I     never     said            that.


 24                 Q.        --     I    would          just    as    soon kill             you right     now
 25                 A.       No      I    did not            ever     say that          to    him.




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      1                Q.          Do    you say that              to    him

      2                A.          In    fact        when       that     was     --    when     that   happened

      3   I   was    in     the   maintenance             shop     with     Murphy       watching         Gilley

          Im     not      sure    of    his    first       name.         But     I    just    remember     his


      5   last      name      Gilley.


      6                Q.          Then       what     happened

      7                A.          When       they     took      Mr.     Burgess        down.


      8                Q.          Do you        didnt        make       that        threat    to   Mr.   Burgess

      9                A.         No      sir.


 10                    Q.         Didnt          happen       at    all

 11                    A.         No      sir.


 12                    Q.         You     werent          even      there

 13                    A.         No      sir.


 14                    Q.         Did you get             along         with     Mr.    Burgess

 15                   A.          Yes         sir.


 16                    Q.         Never        had    a   problem with                him

 17                   A.          No      sir.


 18                   Q.          Okay.          How many          people        were    finally       taken     in


 19       that      electrical         room

 20                  A.           I    would      say     14.




 --23
 21                   Q.          Were     you       ever     in there           when    the    shanks     were


 22       placed      in    their ears


                     A.           No      sir.


 24                  Q.           --    and threatened                 to   be       shoved    into    their

 25       brains




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  1             A.          No     sir.


  2             Q.          These       people           no   doubt           were    very       scared       of


  3   their lives


  4             A.          Yes        sir.


  s             Q.          If    they        had kept        resisting              would       they have

  6   been    killed

  7             A.          No     sir.


  8             Q.          Then       would       yall have             just       given       up

  9             A.          Possibly.


 10             Q.          You    would          have

 11             A.          I    would       have        yes       sir.


 12             Q.          You    would          have

 13             A.          Yes        sir.


 14             Q.          But    you were          able      to       get    out    of    prison

 Zs             A.          Yes        sir.


 16             Q.          And when          you were         in       prison        you       knew    what       was


 17   going    to    happen      when       you    got    out       didnt you

 18             A.          I    knew       that    there were               planned       robberies           yes

 19   sir.


 20             Q.          And you          were    going         to    be    a    part    of    that

 21             A.          I    didnt want              to   be    a    part        but    I    knew    it    was


 22   going    to    happen      and    I    tried to         take       the       less     you know           I




 23   didnt         you   know     put       up    the    biggest            argument.


 24             Q.          So    you knew          while      even          when    you were          planning

 25   this    escape      that    you       were    going      to       be    committing          robberies




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      i   with   these     men

      2             A.           Yes      sir.            It    had been             discussed                 yes           sir.


      3             Q.           You     knew          one     of    the       men that             would          be


  4       committing       the        robbery          was     Joseph          Garcia              who       was    a


      5   murderer

  6                 A.           Yes      sir.


  7                 Q.           You     knew          Michael           Rodriguez             who       would          be


  8       committing       these        crimes            you knew             he    was       a    murderer

  9                 A.           Yes      sir.


 10                 Q.           Did     he        tell      you     about          his    crime

 11                 A.           Not     in any           great          length           no.           But    I    didnt

 12       know   all     the   details until                   the       news       report          in       San Antonio.

 13                 Q.           Had his wife                  murdered

 14                 A.           Yes      sir.


 is                 Q.           Was     serving a              life          sentence

 16                 A.           Yes      sir.


 17                 Q.           Of    course             you knew             he    was       violent             from the


 18       escape.        You   saw him hit                Mr.       Moczygemba             real          hard.


 19                 A.          Yes       sir.


 20                 Q.          What     did he              hit     him       with

 21                 A.           It    was         a   spout        of    a    pot    or       some          kind       of   valve.


 22                 Q.          Caused         a       lot     of    damage          to    his          ear

 23                 A.          Yes      sir.             Im        not       aware       of       --    I    dont know

 24       what   kind     of   damage         it       caused            but    I    remember                seeing blood

 25       yes    sir.




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      1                Q.          In    fact        you were          the    one    that            wiped    the    blood


      2   up     arent        you

      3                A.         No      sir.


      4                Q.          So    you knew          Michael          Rodriguez            was    a    convicted


      5   capital          murderer.       You       knew    he       was    capable            of    violence

      6                A.         Yes      sir.


      7                Q.         You     saw     that      firsthand

      8                A.         Yes      sir.


      9                Q.         You     knew       Mr.    Newbury          had been            to    the    pen

 10       what        three    times

 11                    A.          I    wasnt        aware       of    how    many      times he             had been


 12       to    prison.


 13                    Q.         But     he    had been          for       aggravated               robbery

 14                    A.         I     knew    he    was    in       for    robbery             but    he    said    it


                            dont know                                                           cant



 --17
 is       was    --    I                        he    said something.                   I                   remember


 16       what    he       said   but


                       Q.         You     knew       he    was    pretty violent                      though        prone

 18       to    violence          didnt you

 19                    A.         From the           escape

 20                    Q.         His     character.


 21                    A.         His character


 22                    Q.         Just     what       you knew           about      him

 23                    A.         Not     really           no     sir.       He     always            showed    a    real


 24       calm demeanor           in prison.


 25                    Q.         Did you        know       Mr.       Murphy      was       a    convicted




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  1   rapist

  2             A.            I    didnt       know      until    after the          escape.


  3              Q.           After       yall watched            Americas            Most     Wanted

  4             A.            Yes     sir.


  s              Q.           But    after      that          after you       got    out      then    you

  6   knew    what     all    their charges              were

  7             A.            Yes     sir.


  8             Q.            It    didnt       come      as    a big    surprise that           they

  9   were    all     violent       felons

 10             A.            No     sir.


 11             Q.            So    you     know       that    they had been          capable        of


 12   violence        in    the    past

 13             A.            Yes     sir.


 14             Q.            And    they      certainly         were    capable       of    violence


 15   during    that        escape

 16             A.            Yes     sir.


 17             Q.            And yet you agreed                 to    go through       these


 18   robberies            agreed    to   do    these         robberies       with    them      anyway

 19             A.            Yes     sir.         I    participated           yes     sir.


 20             Q.            You    knew      they      were    all    taking       loaded     guns       in

 21             A.            Yes     sir.


 22             Q.            When    you      went      with    them    to    help    rob     the    Radio


 23   Shack     you    wanted        to   hit      that       Radio    Shack    so    you    could        get


 24   that   electronic            equipment

 25             A.            Thats what               Rivas    wanted        yes     sir.




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      1                Q.          Because           you          knew       you were                going       to    do    bigger

      2   robberies          after      that

      3                A.          That        is    what          Rivas             had talked             about

      4   discussed           yes       sir.


      s                Q.          And    you were                 going             to    partake          in       that

      6                A.          I    was     going             to    try          not       to.


      7                            Thats why                  I    didnt participate                             in    the    Auto


      8   Western           sic.

      9                Q.          Mr.    Halprin                  I    want          to       show    you       a    document


 10       marked       State   Exhibit              955.           Its           a    letter.           Do you             recognize

 ii       the    letter

 12                    A.          Can    I     have          a    chance             to       read    it

 13                    Q.          Sure.


 14                    A.          Yes         sir.           This          is       the       letter       that       I    wrote


 is       when    I    escaped         from prison.


 16                    Q.          Left        it    there             at    your          bunk

 17                    A.          Yes        sir.


 18                    Q.          Okay.


 19                                           MR.        SHOOK               State             will    offer          State


 20       Exhibit       955.


 21                                           MR.        KING               No       objection.

 22                                           THE        COURT               No.          955       shall    be       admitted.


 23                    Q.          By     Mr.        Shook                  This          is    a    letter          that    you

 24       wrote       and left         in your           living             space          area

 25                   A.           It    was        in    a       book       in       the       living       space          area




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      i   yes         sir.


      2                                                MR.    SHOOK                May       I    publish           to    the       jury

      3                                                THE    COURT                You       may.


      4                 Q.                    By      Mr.    Shook               Some            might       be    confused              as    to


      5   why     I    did       this.             Some      might.              May     even          shock        --         I    want       to


      6   make        sure       I    get       this        word       right.


      7                 A.                    Snap.


      8                 Q.                    Snap.          It    may even              snap          into       peoples heads

      9   as    to     why       I    hung         out      with       the       people           I   was     around.               This


 10       wasnt         the          only       reason        why       I       did    it        to    show       that        race       nor


 11       creed        nor       religion                people             or better                 yet prisoners could

 12       unite        in one             common goal              against             the        system.            People          always

 13       bitched            complained                     about       what          they would              do.         We       got


 14       together           and acted                upon        our       thoughts.                  I    can    say that              God


 is       blessed           me       well       enough        that          I    have        had a          comfortable              prison

 16       life.         Content                 yes.         Happy              no.      I       could       do    my sentence

 17       but     I    refuse             to    live        under       the       tyranny of                 the    system           and the


 18       ignorance              or the prisoners.                              Im     not        talking          of     revolution

 19       but     change             for       people        to    see          eye    to        eye.        Maybe        its        a


 20       dream         maybe             I    will      fail.          But       my faith in God                        is    stronger

 21       and     I    have          no       doubt      that      we       will       succeed.


 22                                           Remember.           the       famous           words           one nation                  under


 23       God.          We       are          people         humans              society.                  Society        sees       us


 24       otherwise.                  Let       us    show        them          different.                 Believe            me     you

 25       have        not    heard             the    last        of    us.           God        bless all.               Keep       your




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      1   faith and heart.              Keep     hate       out       and dreams             alive.        Randy

  2       Halprin.

  3                              This    is     the    letter          you       left    in a    book

  4                  A.          Yes     sir.


  5                  Q.          And your        last       line       was        Believe        me        you    have

  6       not     heard   the    last    of     us.

  7                  A.          Yes     sir.


  8                  Q.          That    turned        out       to    be       true     didnt        it

  9                  A.          I    guess      yeah.           But       it    wasnt       written in that


 10       context     as       you know         something             is    going       to   happen        that     you

 11       know.


 12                  Q.          What    context           is    it    written          in when       you    say

 13       Believe         me    you have        not    heard          the       last    of   us
 14                  A.          If    Im      correct           theres           no    proof    of    this

 15       obviously        but       Larry Harper           had talked             about       writing a

 16       manifesto.


 17                  Q.          Well     this        is    your       writing

 18                  A.          Yes     sir      thats           my writing.

 19                  Q.          So    you could           understand             why    someone       who       might

 20       read    this    and say you have                 not    heard          the    last    of    us    might

 21       think    you were          planning     something

 22                  A.          Yes     sir.


 23                  Q.          Like    revenge

 24                 A.           No     sir.


 25                  Q.          Now     you have           denied          or you       have    lied       about




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  1   this    letter           havent                 you

  2                A.              I    didnt deny                    the    letter.            I    denied             writing


  3   anything          like           you havent                 heard       the        last       of       us    because          I



  4   didnt remember                    writing                that     no        sir.


  5                Q.              Let          me    show       you    what       has     been          marked         as    State


  6   Exhibit       956        a       letter             to    Dawn    Amos.


  7                A.              Yes           sir.


  8                Q.              Dated             March       20     2001.


  9                A.              Yes           sir.


 10                Q.              Thats              a       letter    you wrote           to       Dawn

 11                A.              Yes           sir.


 12                                              MR.          SHOOK         Your       Honor         at       this      time       we


 13   offer    State          Exhibit                956.


 14                                              MR.          KING      No    objection.

 15                                              THE          COURT         No.    956     shall             be    admitted.


 16                Q.              By           Mr.       Shook         Let       me     start       here.              I    was


 17   real    close       to       Rivas             and Garcia              also.         Rivas             was    a   good       guy.


 18   He    just    loved          doing             the       work    to    get       money.            I    always         got


 19   onto him about                   that.              I    blamed him for              the       Christmas               Eve


 20   incident          because             I    told him it                was    wrong            too       many      kids       and


 21   all    that.        But          he       insisted and he                   was     the       great          mind of         the


 22   group        so    he    got          the       final       say.        The       other        three guys               I



 23   couldnt           give       a    rats              ass    about.           They     were          trash

 24   unchanged           and          just          wanted       to    make       money            get       hookers         and


 25   all    that.




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      1                          In fact               one       of    those       dumb nuts             is    the       one


      2   that    left    that       note       saying           You havent                  heard       the       last       of


      3   us.      What    an    idiot.              Like    we       were       out    to    get    revenge             on


      4   society    or    something.                 When       they       tried to          say    I    was       the       one


      s   that    wrote    that       letter          on    AMW        I    felt       like    busting             the    guy

      6   in his    nose.        He       was    all       laughing          about       it    and all             that


      7   shit.

      8                          Now        those          are    your words

      9             A.           Yes        sir.


 10                 Q.           And you wrote                   that

 11                 A.           Yes        sir.


 12                 Q.           You       told       the    jury that             you planned                on    just


 13       fading    away    up       in    Seattle           is       that       right

 14                 A.           Yes        sir.


 15                 Q.           Cant really                 fade          away    when       you    are       going       to


 16       not heard        the       last       of    us         can       you         You    understand             what




 --20
          those

 --18
 17




                    A.           I    understand             what          you    saying.


 19                 Q.           --       fading       away

                    A.           I    understand             what          youre saying                  but       Im

 21       saying    the    letter          is    being       taken          out    of    context.


 22                 Q.           Obviously              you did remember                      what       was       written

 23       about    you havent               heard          the    last       of    us         because          you       told

 24       Dawn    Amos    that       was    an       idiot       who       would       write    that

 25                 A.           Yes        sir.




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                  Q.              So       you were             lying      about        it    then        werent you




  --4
  2               A.              Excuse             me         Can you         repeat        what       you had             said


  3   previously              About


                  Q.              About              You havent                 heard        the    last          of    us     what


  5   an   idiot.           Like       we    were          planning            revenge        on society                or


  6   something.

  7               A.              Right.


  8               Q.              You       were          lying about            you being              the       author       of


  9   that   letter

 10               A.              Well           I    didnt             have    any recollection                       of    saying

 11   anything         or writing                in       anything         like       that.         I    never          wrote


 12   anything         --    and       I    believe             that      at    the     time that             I    also had


 13   challenged            the    press             to    produce         the    letter           and    it       hadnt

 14   come   out       at    the       time           so       it   confirmed           my belief             in that          I




 15   hadnt written                that          line.


 16               Q.              And now you are                        telling        the    jury you did write

 17   it

 18               A.              Yes        sir           I    did write         it.



 19               Q.              Let       me       show       you.       Do    you     remember             interviewing

 20   with   --    a    phone          interview                with      Razuuk         Channel          8
 21               A.              On       the       telephone

 22               Q.              Right.


 23               A.              Yes.


 24               Q.              Mr.        Halprin                I    want    to     show       you    what          has    been


 25   marked      as    State          Exhibit             957          which    is     --
                                                                                              you       havent              seen    it




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it




           1   yet.        Its     a    copy    of    that           interview.                  I    want        to       plug       it        in


           2   to    the    part       where    she     asks          you        that       question.                  And       if    you

           3   dont think thats you                          just           let       me    know           and    Ill           take       it


           4   off.


           5                A.           I    believe        that           I    just       stated               though           that           I




           6   did    tell       the    press    that        I       didnt write                     it.


           7                Q.           I    just    want           to     make       sure          were talking                     about


           8   the    same       interview.


           9                A.           All    right.


      10                                                     At           this        time       the        tape       was      played by

      11                                                         Mr.        Shook.

      12                    Q.            By    Mr.     Shook                   You    sound          pretty sure                 in that


      13       interview          that       you never           wrote           that       statement.


      14                    A.           Yes     sir.            I    was        pretty sure until                          I   just        read


      is       it    with    my own          eyes     yes            sir.


      16                    Q.           So    you had           just           forgotten             it

      17                    A.           Yes     sir.


      18                    Q.           And you        --       you       know         you          agreed           to    that


      19       30-year       sentence.           You     said             that        you had              to    do    half       of       that


      20       by    law     is    that       right

      21                    A.           Yes     15    years.


      22                    Q.           Before       you would                 be     eligible                 for    parole

      23                    A.           Yes     sir.


      24                    Q.           But   you      --       did you              not    think              that       you deserved

      25       a    30-year       sentence       for     what          you        did       to       Jared smith




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      1                A.                 My thinking                     I    deserved             --     I    think          I       deserved


      2   punishment                 yes           sir.


      3                Q.                 But       not         30    years

  4                    A.                 I       cant          say    30      years.           I    mean            I    cant           say

  s       that    I    didnt deserve                            30    years          but    I       felt        that          when       my time

  6       came    up        that          if        you know                  Ive     shown          that        I       have          gone

  7       through          the       system and showed                          a    change          and rehabilitated


  8       myself and done                         everything              that       was    necessary                    to    make


  9       parole           and       if       I    have         shown         that     then          I    should be                    able    to


 10       get    parole          and they                 werent doing                 that.


 11                    Q.                 Well            that       was       going       to       be    ten        years             down    the


 12       line        wasnt           it

 13                    A.                 Yes            sir.


 14                    Q.                 So       you     just       thought          you would                 free          yourself

 15       ahead       of    time

 16                    A.                 Yes            sir.


 17                    Q.                 So       you     think          that       you have             served              enough          time


 18       for    beating             Jared smith and breaking                                   his       bones               what        five


 19       years

 20                    A.                 I       felt     that       I       could    change             myself.                  I    felt


 21       that    I    was       a    changed              person.


 22                    Q.                 Why       do     you       think          that   you           felt        like          you were          a


 23       changed          person

 24                   A.                  I       felt     that       I       would    never             hurt        somebody             again.


 25                    Q.                 Okay.            And       then people                are       hurt           during          the




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      1   escape

      2                A.              I    never        hurt    anybody.


      3                Q.              But    you        partook          in    that       escape       where       other


      4   inmates hurt people                          didnt         you

      5                A.              Yes        sir.


      6                Q.              And    then          you get        with       a    group       of    guys whose

      7   plan    is        to    go out      and        stick       guns       in    peoples           faces

      a                A.              Yes        sir.


      9                Q.              For up          to    six months              as    far    as    you       knew

 10       right

 11                    A.              Yes        sir.


 12                    Q.              How    can        you    say that             you    had changed              if    you

 13       are    going           to   agree       to     commit          those       types       of    felony       offenses

 14                    A.              I    cant         say.        I    can    just       say what          I    believe       is


 15       in my heart.


 16                    Q.             Wasnt            in your           heart        but    you went             along with

 17       it

 18                    A.             Yes         sir.


 19                    Q.             These        people        that          got    guns    put       in their          faces

 20       they   obviously                 were    very frightened

 21                    A.             Yes         sir.


 22                    Q.             Probably            had    a       lot    of   emotional              trauma    on

 23       them

 24                A.                 Yes         sir.


25                 Q.                 They        didnt know               if    they were            going to        live   or




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      1   die

     2                 A.           Yes           sir.


     3                 Q.           And       you helped               commit         those    offenses

     4                 A.           Yes           sir.


     5                 Q.           But       you        tell    this       jury you          have    changed

     6              A.              I    feel          that     Im     not       a    monster or       a    threat          to


     7    society       or    a   violent              person          no    sir.


     8                 Q.           Well           you     continue          to       lie

     9              A.              Yes           sir      I    lie.


 10                    Q.           And you              continue        that         while    youve been              in    the


 11       Dallas       County       Jail

 12                 A.              Yes           sir.


 13                 Q.              So       after       you     escaped              you    took    part       in the


 14       first    robbery              is    that        right        the       Radio       Shack

 15                 A.              The       Radio        Shack.


 16                 Q.              And       I    think        you    told Mr.             King on direct             that


 17       after    that       you       told the           group       you werent              doing       that


 18       anymore

 19                 A.              Yes           sir.


 20                 Q.              Tell          us    about        that.           How    did that    come       up

 21                 A.              The       --       they     hadnt        got       enough       money from the

22        Radio    Shack       and Rivas                was     upset       at       the    items    that       were

23        grabbed       from the             Radio       Shack.         So       he    said    were going              to   do


24        another      one    here           in    this area           and       I    told him how          I    felt.           I




25        said     I        dont like              this.         I    feel       very uncomfortable                with




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  1   this.        Im     not        going       to       do       it.

  2                Q.            And who             did you             tell       that        to

  3                A.            I    told Rivas                   that.


  4                Q.            And       what       did he             say

  5                A.            And we          argued             about       it.         He       said          You     are


  6   part    of    the    group           and you need                   to    do     your share.                    And       I




  7   said       Im       not        going       to       do       it.         And     he       kind          of   just    passed

  8   it   off     like      Well               its        something                small.               We    dont have             to


  9   worry      about     it.            We    dont need him.

 10                Q.            So       then they                need    --       did need              you      on the


 11   Oshmans           robbery

 12                A.            Yes           sir.


 13                Q.            And how             come          you    agreed           to       do    that

 14                A.            But       not       without             argument.

 15                Q.            Well           what       did you             say to           them

 16                A.            That          was    said before                   the     Oshmans                robbery

 17                Q.            Right.


 18                A.            I    basically                asked       why        he    was          so    intent      on


 19   doing      something            large          like          this.


 20                Q.            Then          how come             you agreed              to       do       it

 21                A.            I    felt       like          I    didnt have                  a    choice.


 22                Q.            You       say you             are       not    a     violent             person          but       when


 23   you get       pushed           to    a    limit              you    can       become           a    totally

 24   different         person             cant           you

 25              A.              It       takes       a    lot       to    push        me       to       that      limit        but




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      1   yes     I    can       lose       my temper.              It    doesnt           necessary         mean     Im

      2   going       to    be    violent.


      3                Q.              Okay.           You werent              forced       into       committing       this


      4   robbery          of    the       Oshmans            were       you

      5               A.               No     sir        I    was    not       forced.


      6                Q.              No    one       threatened          you

      7               A.               No     sir.


      8                Q.              And    you       helped       plan       it     didnt           you

      9               A..              I    was    in the          listening          of    the       plans.      I   didnt




 --13
 10       have    any       direct          say    in    what       would       be    done       or    anything       like


 ii       that.


 12                    Q.              They       sent       you    in    to


                      A.               Yes.


 14                   Q.               --    scout       out       the    floor plan              didnt        they

 15                   A.               Yes.


 16                   Q.               Obviously             they    trusted you             to       do   that

 17                   A.               With       Rodriguez.

 is                   Q.               Okay.           But    you were          a    valuable          member of       this


 19       team        arent        you

 20                   A.               I    wouldnt           say    I    was       very valuable.

 21                   Q.               Why    did       they       take    you       out    of    there        then

 22                   A.               Take       me    out    of    where

 23                   Q.               The    Connally             Unit

 24                   A.               Because          Rivas       and    I    were       like       brothers.


 25                   Q.               So    you       were    like       brothers          with       Rivas




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     1               A.          Yes     sir.


     2               Q.          And    you     are       cooperating                  and helping


     3               A.          Yes     sir.


     4               Q.          But    was     Rodriguez              --       are     you trying          to       say


     5   Rodriguez        was    your guard                He     had to keep                 an    eye    on    you

     6               A.          Thats who they always                                put    in charge          of    me.   I




  7      guess      you   can    say    in     charge.


  8                  Q.          But    he     wasnt        watching                  you    like    you were          going

  9      to   run    off    right

 10                  A.          Pretty much               yes         sir.


 11                  Q.          So    you were           held        as    a     hostage

 12                  A.          No.     They        were       afraid            --    no     not    hostage.


 13      They    were     afraid that           I    might        try       to        leave    with       the    vehicle


 14      or something           like    that.


 15                  Q.          Why    were        they    afraid of                  that

 16                 A.           Because        they       knew        how        I    felt    about       everything.


 17                  Q.          Had you        threatened                 to     leave       them

 18                 A.           I    talked        about       it.


 19                 Q.          Would        you     have       been        able        to    leave       them

 20                 A.           I    could     have        yes            sir.


 21                 Q.          How     come        you    didnt

 22                 A.           I    cant      say.


 23                 Q.          You     cant         say

 24                 A.          No      sir.


25                  Q.          So     you     are    saying           these           guys    thought          you   might




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      run off       or they          were    scared            so       they    had       someone             with    you

  2   all    the    time

  3                A.           Yes        sir.


  4                Q.           Why    would        they go             in    and commit             a    robbery          like


  s   the    Oshmans           robbery       and have              someone       like          you       along       that


  6   they    couldnt           depend       on

  7                A.           They       just     had me get                clothes.


  8                Q.           That       would        be    pretty          foolish           wouldnt              it

  9                A.           Foolish           for    what

 10                Q.           Someone          who     is    reluctant             to   go along on                 this

 11                A.           Im     not       understanding                 the    question.


 12                Q.           Why    would        --       now        you    said Rivas                was    pretty

 13   smart        right

 14                A.           Yes        sir.


 15                Q.           He    planned           out    all       those       robberies

 16                A.           Yes        sir.


 17                Q.           Why    would        he       take       someone       along          that       he    had       to


 18   keep    a    watch       over        afraid he           was       going       to   run        off       with       one


 19   of    the    cars

 20                A.           They       wouldnt            ever       let    me    go out             alone.           They

 21   wouldnt           ever    leave       me     alone       in a       motel.           I   mean            thats        the


 22   only    conclusion             that    I     can       come       to.


 23                Q.           But    you       were        not    a    hostage

 24               A.            No     I    was     not       --    no    one    ever held                a    gun    and


 25   said        You     are    going       to     stay       here.




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  1             Q.           And    you    did commit                this       robbery      voluntarily

  2             A.           Yes     sir.


  3             Q.           And    you    took       a    gun

  4             A.           Yes     sir.


  s             Q.           A loaded       gun

  6             A.           Yes     sir.


  7             Q.           Why    did you       take          a    loaded          gun

  8             A.           I    felt    like    I       had no          choice.          The    guns    were

  9   loaded     you know.

 10             Q.           You    could    have          unloaded             it     couldnt          you

 11             A.           I    could    have           yes        sir.


 12             Q.           But    you    chose          not       to

 13             A.           It    wasnt     a    choice.                 I    just    didnt.

 14             Q.           In    fact     prior to                the       robbery      some    of    these


 15   guys   had gone        out    and bought             extra          ammunition

 16             A.           They    had done             that       way       earlier.          Im     not   sure


 17   when   they     did    that.


 18             Q.           Who    is    that

 19             A.           I    really    dont know who                       went    and got         the


 20   ammunition or not.


 21             Q..          You    dont remember

 22             A.           I    cant     recall.


 23             Q.           You    mentioned             that       in your          confession          that


 24   someone    else       bought       ammunition.                 Do       you    remember      that

 25             A.           I    know    that    there             was       ammunition bought               but




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   --3
   1   Im   not     sure      --    I    cant         recall       who did          it    or   not.


   2               Q.          Well

                   A.          The       ones       who     always       went       out    were    Rivas       and


   4   Harper and Newbury.

   s               Q.          Okay.            Why    would       they       need       extra    ammunition




   --8
   6               A.          I    really          dont      know.


   7               Q.          Why

                   A.          They          like     guns    and     they      like       ammo        is    the   only


   9   thing   I    can      say.


 10                Q.          Do       you     think       that    they       might       have    thought


 11    about   using         some       of    that     ammunition

 12                A.          Absolutely              not.


 13                Q.          Then          why    would     they       need       extra      ammunition

 14                A.          I    dont           know.      I    cant        say what          was    in    their


 3.s   mind.


 16                Q.          Well           can     you give        us      any    reason       or    common


 17    sense   why      you would             need     extra       ammunition              other       than    you

 18    might   use      it

 19                A.          They          could     be    using       it    for       target    practice.              I



 20    dont    know.


 21                Q.          Did you             ever     see    them use          it    for    target


 22    practice

 23                A.          No        sir.


24                 Q.          what          would     they       want     target         practice          for

25                 A.          I    dont           know.      They       have       several       gun buffs          in




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  1    the    group.           I    dont           know.


  2                 Q.              You       were       with     a    bunch      of     guys    that    are       violent


  3-   felons.           You       know       they       like     guns.


  4                 A.              Yes        sir.


  s                 Q.              And       you know           now    they      are     buying       extra


  6    ammunition

                                    Yes




 --11
  7                 A.                         sir.


  8                 Q.              And       you     said there was                some     incidents         earlier

  9    is    that    right

 10                 A.              An    incident           pertaining             to


                    Q.              In    one       of     the    other       robberies

 12                 A.              A confrontation                     you     mean

 13                 Q.              Yes.


 14                 A.              I    know       about        the    Radio       Shack       for    sure.        The


 is    only thing          I       dont know about                     is   the     Auto     Western.          I    can


 16    only go by what                   Newbury          had     talked        about.


 17                 Q.              But       nobody       got        killed

 18                 A.              Nobody          got    hurt        or killed.


 19                 Q.              I    guess       from seeing              the      Radio     Shack        you    knew


 20    someone       might          try       to    resist            though.


 21                 A.              I    saw       that      you       know       people        had    come    in    and


 22    surprised         them           and    that       nobody        overreacted             or    did anything


 23    foolishly.


 24                 Q.              You       mentioned           in    one    of      the   letters that           we


 25    were    looking             at    earlier that                 you   said when           Rivas    planned          out




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  1   this    Oshmans        that      you    argued          against          it    because         there were


  2   all    those    kids       involved.


  3             A.           Yes       sir.


  4             Q.           You    were      afraid          something             might      go    wrong      in


  5   there

  6             A.           No     sir.       I    was       just       worried          about      their state


  7   of    mind.     You    know       you    have       a    bunch       of       teenagers         in    there


  8   and they       are    obviously         going       to       be    scared.


  9             Q.           Right.          And    might          do    something             foolish

 10             A.           Not    necessarily                no.


 11             Q.-          Might      get    shot

 12             A.           Not .necessarily

 13             Q.           How    come      --    well           the    target          actually         of   the


 14   Oshmans        was    to   get    guns        wasnt           it

 is             A.           That      was    just    one          of    the    things         that    George

 16   Rivas    had    included         with    everything                else.


 17             Q.           I   mean        you got          44    guns       out    of      there

 18             A.           Yes       sir.


 19             Q.           Why    did they         want          so    many       guns




 --23
 20             A.           Some      of    them    were          going       to    be       sold    some      of


 21   the    guys kept       some      for    personal              whatever              I   dont know what

 22   they    planned       to   use    it    for    or


                Q.           Why    did      they    need          these       extra          guns     They


 24   already had          guns

 25             A.           I   really       cant        say what             was    in their minds.




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  1                Q.       Do you       think        they       were    planning           on using         them

  2                A.       No     sir.


  3                Q.       You    even        got    a    gun out       of    it.



  4                A.        I   was    issued        a    gun yes            sir.


  s                Q.        Issued a          gun

  6                A.       Yes        sir.


  7                Q.       You    didnt            want    the    gun

  8                A.       Not    really.


  9                Q.       But    you had           it    in your       pack

 10                A.       It    was    in     my backpack.

 11                Q.       And it       was        loaded

 12                A.       Yes        sir.


 13                Q.       So    you    go to        the       Oshmans.             Its been planned

 14   out.     You      planned    it    for        what        three    days

 1s                A.       Im     not        sure    exactly       how many days                 it   was


 16   planned       for.    I    cant         really remember.

 17                Q.       But    part        of    the    plan was          to     have    an    escape

 18   car     is    that   right

 19                A.       Yes        sir.


 20                Q.       And what          were        you    going    to       need     an    escape     car


 21   for

 22                A.       Basically           if    we    needed       to    take       off     on   foot    we


 23   could    run across         the    field        and get       to    the        car.


 24                Q.       So    you    talked           about    that

 25                A.       Yes        sir.




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      1                Q.             And     thought          something          might       happen      where    you

      2   may have          to   do    that

      3                A.             If    Rivas        couldnt            get   a    car    or anything         like


      4   that.


      s                Q.             Well         what       were    the      other     scenarios         that    were


      6   talked       about       that      might        come       up

      7                A.             There       were        no    other      scenarios        talked      about.


  8                    Q.             So    if     he    couldnt            get   a    car     yall were          all


  9       going    to       run across             the    field

 10                    A.             Yes        sir.


 11                    Q.             Abandon           your property

 12                    A.             Not    necessarily              abandon          all    the    property          but


 13       some    of    it       yes        sir.


 14                    Q.             You    had police              monitors

                       A.             Yes        sir.


 16                    Q.             And Murphys                  role    was    to    sit    out    there   and


 17       monitor the            police          channels

 18                    A.             Yes        sir.


 19                    Q.             Why    did you           need       him to do          that

 20                    A.             So    we    would        know       if   anybody was           coming       so    we


 21       could    get       out      of    there.


 22                    Q.             So    you    obviously              thought       about       the   situation


 23       where    the       police         might        be    coming

 24                    A.          To       leave         yes        sir.


 25                    Q.          But       you knew              that    was    a    possibility




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  1                A.             Yes         sir.


  2                Q.             And       thats         why you        wanted            him to       listen to the


  3   radio

  4                A.             I    didnt         want       him to       listen              but     yes        sir.


  s                Q.             You       knew     that       was    part       of       the    plan

  6                A.             Yes         sir.


  7                Q.             You       were     in on        that      part

  a                A.             Yes         sir.


  9                Q.             Were       you     there        when      Rivas          would       tell    you    how


 10   this       was    going         to    go     down

 11                A.             Listening to the                    parts       and the          roles       of


 12   everybody              yes       sir.




 --17
 13                Q.             But       you werent             doing      the          planning           yourself

 14                A.             No        sir.


 is                Q.             Did       you miss that              meeting where                   Mr.    Murphy       was


 16   issued       that      AR-15          and was        going       to    be       a    sniper

                   A.             That       was     never        discussed               in my presence.


 18                Q.             --       and was        to    initiate          a       fire    fight         Well

 19   the       statement         has       been     introduced.              You          have    heard       it    read

 20                A.             Yes         sir.


 21                Q.             Thats            the    first       time you             have    ever       heard


 22   that

 23                A.             I    had       read     it    previously.                 But        yes     sir     that


 24   --    I    had no      recollection                 that     that      was          what    he    said he was


 25   going       to    do   or       anything           like     that.




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      1                Q.          So    if    that       was    discussed              you    just       missed       that


  2       particular          meeting

  3                    A.          It    was    never       discussed.                 Those    guys went             into


  4       town    all       the   time during             those       days.        So     I    mean        that       could


  5       have    been       discussed         during       that.


  6                    Q.          Apparently Mr.                Murphy          was    anticipating             some


  7       trouble with            the    police           wasnt        he

  a                    A.          I    cant        say what          he    was    or what       he       wasnt.

  9                    Q.          If    you believe             his       statement          where       he    says        I

 10       was    to    initiate         the    fire       fight       with       pursuing       police               that


 11



 --12                                    thats                                     then he must have.
                       A.          If                 what       he    says

 13                    Q.          But    you didnt              know       about       that

 14                    A.          I    did not.


 15                    Q.          What       was    the    plan       if    the       police    were          going    to


 16       come

 17                    A.          As far       as    I    know        Rivas       said that          he       was   going

 18       to    show    them the         security          badge       or something             to    take       them


 19       offguard.


 20                    Q.          Is    that       what    he    talked          about

 21                    A.          Yeah.        He    said that             he    was    going       to    do    that

 22       something         to    take    them       offguard          and they          were    going          to    try

 23       to    subdue      them.


 24                    Q.         And how was              he    going       to    subdue       the       police

 25                    A.          Use    the       handcuffs.




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      1             Q.            So    it    had been           talked       about        if       the    police       did


      2   arrive         they    were       going     to    be    subdued

      3             A.            In    a    nonlethal           way        yes     sir.


      4             Q.            You       are     telling       this jury you                 didnt think

      5   anything        bad would          happen

      6             A.            I    didnt         believe          anything       bad would              happen.


      7             Q.            Mr.       Halprin        you        do    have    common sense                  dont

      8   you

      9             A.            Yes        sir.


 10                 Q.            You       are    trying        to    tell       this    jury that              you

 ii       didnt     think        anything          bad would           happen       when        you were          going

 12       to    go into     an    Oshmans           with     six other             men      all       are    convicted


 13       violent    felons            some       with     murder           they    are     all       armed        and

 14       they   know     the     police          might    come.            You    know     that          they    are


 is       capable    of     great       violence

 16                 A.            Based       on the previous                 robberies               I    had no

 17       reason    to    believe        that       they    couldnt               handle        a   situation


 18       without    violence           erupting.

 19                 Q.           You     didnt           think        that    was    a    possibility              at


 20       all    that     someone might              get    hurt

 21                 A.            I   didnt think                anybody would              get      hurt.


 22                 Q.           With        that    many     men running                around           with   guns

 23                 A.           No      sir.        No     sir.


 24                 Q.           So     you go       into        the       Oshmans and you                  start


25        gathering       up clothes.               Thats part               of    your     role




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  1                A.        Yes        sir.


  2                Q.        And    you took              a    loaded          gun    in

  3                A.        Yes        sir.


  4                Q.        And    why        is    it       you    decided          to    take    a    loaded


  5   weapon

  6                A.        I    felt     I    didnt           have       a    choice.


  7                Q.        Someone           force          you    to    do       that

  8                A.        No     nobody           forced          me.


  9                Q.        But    you        could          have    unloaded             it

 10                A.        I    could        have           yes     sir.


 11                Q.        But    you        didnt

 12                A.        No     sir.


 13                Q.        You    know            when       --    you       are    saying       that    you

 14   werent        up    there when           the    guns          were       pulled       on the       employees

 15                A.        No     sir.


 16                Q.        You    were        with          Mr.    Rodriguez

 17                A.        I    was    in the           apparel          section.


 18                Q.        But    you        were       with       Mr.       Rodriguez

 19                A.        Yes        sir.


 20                Q.        So    that        didnt           happen               You    didnt        pull   your

 21   gun out       then

 22                A.       No      sir.


 23                Q.       But     during           the       middle          of    this       robbery    you were

 24   doing    things       like    picking           up       clothes          and also carrying                the


 25   guns    to    the   back      is    that        right




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  1             A.           Yes        sir.           I    was    told to          go    get    the       guns        yes

  2   sir     or the       sleeping          bag.


  3             Q.           And    you knew                while       you were          in-the          store    that


  4   the    police       were    out       front

  s             A.           I    knew       that          there       was    a    suspicious             call    or


  6   whatever       and    they    said          that       somebody             could    possibly be

  7   coming        yes     sir.


  8             Q.           Well           Murphy          got    on the          radio       and told all            of


  9   you    that    a    police    officer                was    out    front           didnt        he

 10             A.           No     he       said           Get out               get    out.     This       is    a


 11   suspicious          call.

 12             Q.           Okay.           Now           you    are    saying          you    heard       Murphy

 13   say    what

 14             A.           He    said something                      about       there was          a    suspicious

 is   call    and    somebody       was        coming            around       or somebody was                coming

 16   --    something       to    that       extent.


 17             Q.           Didnt           say the             police       was       there

 18             A.           He    could          have.


 19             Q.           Well           let    me       show       you your          confession.              It


 20   says     Murphy        was    on       the       radio       saying          there was          a   patrol       car


 21   out    front       and that       a    call          had been          made       and the       police       had


 22   been   notified.             Okay           is       that    the       truth

 23             A.           Yes        sir.           I    believe          thats        what    I       just    said.


 24             Q.           Okay.           Well          when        you testified             earlier you


 25   said he       only    said        Get out                  get    out.




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  i                A.           Well        when        I       --    Rivas       is    the    one    that          actually


  2   said        Get out            get    out.

  3                Q.           So    you     knew          while you were                   inside       the       store.


  4   that    a    police       officer had                 pulled up outside                   the       Oshmans

  s                A.           I    knew     that          a    policeman             was    coming.           I    didnt

  6   know    that       he    had pulled up or pulled                                in or anything                like


  7   that.        I    didnt        know    where              he    was.


  8                Q.           Well        let     me          --    is    that       what    --    Murphy          told


  9   you    one       was    outside        didnt               he

 10                A.          He     said one              was       coming          around        yes     sir.


 11                Q.           Murphy            was       on       the    radio       saying       there was             a


 12   patrol       car       in the    front.

 13                A.          Okay.         But        you          just    said he          just    pulled up.

 14                Q.          Okay.         You        knew          there was          a    patrol       car       in    the


 Is   front

 16                A.           I    knew    there was                 a    patrol       car    near        yes           sir.


 17                Q.          Thats         what           your       language          says       right       there

 18   right

 19                A.          Yes         sir.


 20                Q.          So     you    knew           there was             a    patrol       car    in       the


 21   front

 22                A.          Yes         sir.


 23                Q.          And     thats while you were                              in the       store

24                 A.          Yes         sir.


25                 Q.          Now     you        know          theres        a       problem        right




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  1                A.           I    know    that          somebody           is    coming        yes        sir        and


  2   we    need    to    get       out.


  3                Q.           Not    coming.                  Hes     out    front.


  4                A.           Yes        sir.


  s                Q.           So    you    know          hes there                right

  6                A.           Yes        sir.


  7                Q.           Okay.        So        you are          inside          with    the    gun.        You


  8   are    robbing       people.           And now             you     know       a    police       officer          is


  9   out    front

 10                A.           Okay.


 11                Q.           Now        Mr.        Halprin           you    know       theres        a    great


 12   potential          for    violence              now       dont you

 13                A.           If    Murphy said he was                       going       to    initiate          a    fire


 14   fight        why    didnt        he    do        that       in the       front

 15                Q.           But    you        know          there    is    great       potential          for


 16   violence          now     dont you

 17                A.           I    know    that           somebody          is    coming.           That    doesnt

 18   mean    the       situation          can        be   disposed           of.


 19                Q.           Theres            a    lawman         out     there        right

 20                A.           We    could           have      gotten        out.        We    could       have       all


 21   gotten       into    the       car    and drove              away.


 22                Q.           Theres            a    lawman         out     front.


 23                A.           Okay.


 24                Q.           His    job        is       to    catch      outlaws.


 25                A.           Yes        sir.




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  1                Q.            Such    as     yourself.


  2                A.            Yes     sir.


  3                Q.            And you        are    in   there with             your    six friends


  4   with    guns.


  s                A.            Yes     sir.


  6                Q.            So    you know        theres          a    great    chance       something

  7   bad    is    going     to       happen      dont you

  8                A.            No     sir.


  9                Q.            You    didnt         think      anything          bad was       going    to


 10   happen

 11               A.             Not    deadly.


 12                Q.            So    Murphy     tells       you      while       you    are    in the    store


 13   that    theres         a    police        officer       out      front.        You    didnt        leave


 14   then        did   you

 Is               A.             No     sir.


 16                Q.            You    could     have      run out          the    back    door     couldnt

 17   you

 18               A.             Yes     sir.


 19               Q.             Could    have        taken      off       across    that       field

 20               A.             Yes     sir.


 21               Q.             But    you     didnt       do     that

 22               A.             No     sir.


 23               Q.             Yall continued               to    try      to    get    your    guns    and


 24   money out         of   there

 25               A.             Yes     sir.




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  1               Q.       In    fact       at    that    time you          are    the    one    that


  2   grabbed       the   money

  3               A.       Yes     sir.


  4               Q.       They    obviously            trusted       you    to    grab that


  5   $70000

  6               A.       That    was      the    bag that       Rivas       put      down     by    the


  7   counter       and told me to          watch.


  8               Q.       You    go   to    the       back    now     is    that      right

  9               A.       Yes     sir.


 10               Q.       When    you go         to    the    back     you       know    the    police

 11   --    hes     out   front

 12               A.       Yes     sir.


 13               Q.       And    then      later on you          knew       he    was    coming


 14   around

 15               A.       Yes     sir.


 16               Q.       Because         Murphy       told you he          was    coming       around

 17               A.       Yes     sir.


 18               Q.       So    yall were ready                for    him

 19               A.       No     sir       not    in the       readiness          that       you are

 20   implying         because    when      he    pulled       up behind          us     it   was     still


 21   a    shock.


 22               Q.       It    was   a    shock

 23               A.       Yes     sir.


 24               Q.       You    didnt think             the    police       would       come       around

 25               A.       I    didnt think             they    were    going to          drive      up.       I




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     1   thought    we    were       going    to    be    able    to    get    away    before    he    came


     2   around.        When    he    said the       car    was    in    the    front        theres     no


     3   telling    where       he    could       have    gone.


     4             Q.           You    just       said Murphy          told you       that    hes     coming

     s   around.


     6             A.           Okay.        But    where         Which       way      Coming around

     7   where     though

     8             Q.           When       hes     coming       around        you   didnt      figure       he


     9   was   coming     to    the    back       where    you    were

 10                A.           I    didnt know           where    he   was     going.


 11                Q.           Who    was    out    there       when    the    police       officer


 12      drove   up

 13                A.           Rivas        Joseph       Garcia        Harper was       out    there       and


 14      Rodriguez       was    out    there.


 is                Q.           Okay.        And where          were    they

 16                A.           They       were    all    out     piling       stuff    into    the    car.


17                 Q.           Why    dont you stand up and kind                       of   draw     how


18       everything       was       going    on out       there.


19                 A.           I    was    loading.


20                 Q.           If    you    would        why    dont you draw           a   rectangle

21       where   the     Explorer          was.


22                 A.           Witness           complies.

23                 Q.           And where


24                 A.           Two    doors are open.

25                 Q.           Two    doors are          open




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     1               A.              You        have          the       rectangle           with       the    two    doors open


     2   and then         the    staircase                    is       right       here      if    I    remember


     3   correctly.             And        everybody                   was    just    putting           stuff        putting

  4      stuff      into     the          car       loading             it    in.



     5               Q.              Hold           it    right             there.        Now      Officer          Hawkins


  6      drives      up
  7                  A.              Yes.


  8                  Q.              Draw           on the             diagram where              he    parked.          If    you

  9      would      put     initials                where          everyone          is     when       Officer       Hawkins


 10      drove      up.


 11                  A.              Where           everybody                was         Initials           of    the   people




 --14
 12                  Q.              Right.


 13                  A.              Rivas


                     Q.              Put        a    G    before             that.




 --19
 is                  A.              Sorry.               Larry was                trying     to       get    the    smoke


 16      grenade      lit       or whatever.                           He    was    still     in       the    doorway of           the


 17      --   but    this       is    the           doorway right                   here.         He    was       trying      to


 18      light      the     smoke         bomb           and       a    couple       of     guys were

                     Q.              So     is       Larry Harper                   here

 20                 A.               He     was          on    the          staircase         fire       exit       door.


 21                  Q.              If    you           would          put    an LH        there.


 22                 A.               Okay.


 23                 Q.               And you              said Garcia                was     out       there

 24                 A.               Garcia              was       out       there.


25                  Q.               Where           was       Garcia




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  1                A.           I    cant         remember         exactly       where       he    was.       I    just


  2   know    he    was       out    there.


  3                Q.           Do    you know           the      general      vicinity

  4                A.           Around       the       Explorer.


  s                Q.           Like       on this          side

  6                A.           I    cant         say.       I    cant     recall.


  7                Q.           Do    you know           what      he   was     doing

  8                A.           Putting           stuff      in the       car     also.


  9                Q.           Same       place       you       were

 10                A.           We    were         you      know        some   were     moving.


 11                Q.           But    are you           on the         same    side    of       the    car

 12                A.           Yes        sir.        On    the    same       side    of    the       car.


 13                Q.           So    hes         in   here

 14                A.           Yes        sir.


 is                Q.           Put    his        initials         in here.           You    said Michael


 16   Rodriguez          was    out    there           too

 17                A.           Yes        sir.


 18                Q.           Where       was        he

 19                A.           He    was    somewhere             in the       area.        I    dont know

 20   where    he       was    at.     I    remember him being                   out    there.


 21                Q.           Was    he    loading             stuff     too

 22                A.           Yes        sir.        Every       once    in a       while       before      he


 23   pulled up          somebody          would       run upstairs             and grab bags             and run


 24   back    down.


 25                Q.           At    the    time he             pulled    up     was       he    loading         stuff




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      with    you       and    Garcia

  2                A.           Yes        sir.


  3                Q.           So    he    was     on the          same       side

  4                A.           Yes.


  s                Q.           Put    MR.         So    weve           got    George         Rivas      here      by   the


  6   front    of       the    Explorer           and you and Garcia                     and Michael


  7   Rodriguez          all    loading           equipment             in

  8                A.           Yes.        And     I    believe          Newbury            was     still    at    the


  9   time    before          the    officer        showed          up        he   was       still     tying       people

 10   up    in the      breakroom.


 11                Q.           Okay.        And        when       the    officer            showed      up     where


 12   was    Newbury

 13                A.           He    just       came        running          out.       I    dont know where

 14   he    came    from.


 is                Q.           Was    that        after       the       shooting            started

 16                A.           That       was    after        the       shooting            started.


 17                Q.           And then           --    okay.           So    then      the       officer      drives


 18   up    and George          Rivas       then walks              up    to       him

 19                A.           He    told me           --    he    said           Stay put.

 20                Q.           Told       you to        stay       put

 21                A.           Yes        sir.


 22                Q.           Did    everyone              else       stay       put

 23                A.           I    was    not     aware          of    what      they       were     doing       at


 24   that    time.


 25                Q.           Did you          see     them       move




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     1               A.             I    dont      recall.


     2               Q.             Do    you     know      if    they       moved

     3               A.             I    cant      recall.


     4               Q.             Go    ahead       and have          a    seat.        So    George       Rivas


     5   pulls up         --   I    mean        the    Officer          Hawkins          pulls    up    and George


     6   Rivas      tells      you        Ill         take       care       of    him
     7               A.             No     he     says        Stay put.

     8               Q.             Stay        put
     9               A.             Yes     sir.


 10                  Q.             Did    he     ever      say     Ill            take    care    of       him
 11                  A.            No      sir.


 12                  Q.            And     he     started walking                  toward       Officer          Hawkins

 13      car

 14                  A.            He     started walking                   toward       the    officers           car


 1s      and reaching              for    something          that       I    assumed       at    the    time was


 16      his   ID    badge.


 17                  Q.            Now      at     this      point          in    time    you    have       got    a


 is      bunch      of    guys     with     guns       out       in the          back     is    that    right

 19                 A.             Yes      sir.


 20                  Q.            You    have        got    George         Rivas        walking       to    a    police

 21      car

 22                 A.             Yes      sir.


23                  Q.             You    have        got    him outnumbered


24                  A.             Yes      sir.


25                  Q.             But    hes         got    you blocked             in




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      1                A.          Yes        sir.


      2                Q.          You       got     to    get    that       car    out     of    the    way       or    you

      3   are    not    going      to    be    able        to    get    out    of    there

      4                A.          Yes        sir.


      5                Q.          Now        at     this       point    in    time         Mr.       Halprin           you

      6   know    something            bad    is     about       to    happen

      7                A.          No        because        there was          nothing           to    tell       me    that


      8   Rivas    couldnt             have    handled           the    problem.




 --11
      9                Q.          Do    you       think        Aubrey       Hawkins        was       just       going    to


 10       give    up         Say       hey

                       A.          I    dont know what                  was    in his        mind.           I    dont

          know

 --13
 12




                       Q.          That       was     an    armed       lawman.           Any doubt              about


 14       that    in your         mind

 15                    A.          No    doubt        about       that        no     sir.


 16                    Q.          His       sworn duty           is    to    stop    people           like      you.


 17                    A.          Yes        sir.


 18                    Q.          And       hes     parked           behind    you

 19                    A.          But    when        somebody          is    scared         they       can do


 20       anything.


 21                    Q.          Hes        parked        behind       you

 22                A.              Yes        sir.


 23                    Q.          And you          dont think               there    is    any       potential           for


 24       violence          out   there

 25                A.              Not       in my mind           at    the    time.




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     1                Q.           Not       at     all

     2                A.           No        sir.


     3                Q.           And       then when           George          Rivas    walks          up    to    the


     4   car     he    doesnt hesitate

     s                A.           He       reached        for    something             and then          the       next


     6   thing    I    know       --    I    just        hear gunshots.


     7                Q.           How       many shots           do    you       hear

     8                A.           I    heard        a    series.           I    thought       --    I    believed         it


 9       was   four        at   the     time.


10                    Q.           Now        you didnt            raise          a    finger       to    stop       Rivas

11       did   you

12                    A.           No.        I     took    off    running             when   he     started          firing


13       the   shots.


14                    Q.           But       before        that        you didnt              try    to       stop    him

15       did   you

16                    A.           No        sir.         Because       I       didnt     believe             that    he   was


17       going    to       fire    the       shots.


18                    Q.          And you didnt                   --   when           you saw       that       police

19       officer       pull       up        you     didnt        run    across the             field           did    you

20                    A.          No         sir.


21                    Q.          You        could        have     couldnt              you

22                    A.          Yes         sir.


23                    Q.          Could           have     avoided          this      whole     thing          and taken


24       off

25                    A.          Yes         sir.




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       1                Q.           But       you didnt               do    that

       2                A.           No        sir.


       3                Q.           You       say you           didnt           start        running       until          Rivas


       4   started       firing           shots

       s                A.           When       the     first          initial          gunshots        were          fired

       6   thats        when    I    took       off     running             around       the     Explorer.


       7                Q.           And       which        way    did you             run

       8                A.           I    went       behind and              I    was    heading        for       --       theres

       9   a    green    or grass          embankment              of       some       sort      kind       of   goes           down


      10   at    an angle       and thats               what       I    was       heading        for    it       because


      11   theres        the    road       and        then       theres           a    field.         And then             as       I



      12   was    taking       off       running            somebody             called       my name        and       I    turned




      --15
      13   around       and    thats           when     I    felt       my foot          go numb            as    I    was


      14   coming       around       the


                        Q.           Theres           nothing           but       solid gunshots                 going off

      16   isnt it

      17                A.           There       was        --    it    was       a    series.         There          was       a


      18   pause    and somewhere                in     it       was    like          pop     pop      pop       and then               a


      19   pop     pop        pop        pop     and then               you know              another        series             of


      20   gunshots.


      21                Q.           So    you       heard        the       witnesses          describe          virtually

      22   one    right       after       the    other            isnt it

      23                A.           If    thats            what       they       say    it     is.     I    cant           recall


      24   exactly       how    it       was    at    that        time.           I    just    know     I    heard


      25   somebody          called       my name           and    I    turned          around        and thats                 when




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      I    felt   my foot          go    numb.


  2               Q.           Would you              show       us       on the       diagram the          path you

  3   took

  4               A.           Yes        sir.            Where          is    the    --    where    would    the    car


  5   be

  6               Q.           The       car    would           be       in    this    area.


  7               A.           It       would        be    in    this          area    right       here.     When


  8   somebody         fires       a    shot         thats           when       I    took    off    this    way.     And


  9   if    Im    correct              this    would        be       a    little       green       embankment       or


 10   some    kind     of   little            hill        or grass.


 11               Q.           Did you make                 it       over       the    embankment

 12               A            No        sir.


 13               Q.           How       far    did you              get

 14               A.           I       didnt         even       really get             to    the    grass    when


 is   someone      called          my name           and    I    felt          my foot       go numb.

 16               Q.           So       you never           made          it    this       far

 17               A.           No        sir.


 18               Q.           And then              you heard                someone       calling    your    name

 19               A.           I       heard    somebody                 say        Randy.

 20               Q.           Why       did they           say          that

 21               A.           I       have    no     idea.


 22               Q.           Then       your        foot       went          numb

 23               A.           And       then        my foot             went       numb.


 24               Q.           Were       you        running             away       when    your    foot    went


 25   numb




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                   A.          When           my foot           went    numb           it    caught              me    --    as    I




  2   turned       it    caught          me    and     I    felt       it     and      I    go      Oh shit                       like


  3   that.        And then          I    took        off       running        again         and        I       actually          got




  --9
  --8
  4   to    the    grass.        By then              the       car was        already backing                         up.


  s   There       was    movement             back     here       and       the       car    was        coming          out.


  6   And    somebody          said           Get in             get     in.          And     thats               when       I




  7   hopped       into    Newburys                  lap and


                   Q.           So       you     never          made     it    across


                  A.           No         I    never        made       it     across         there.               I    had




 --15
 10   actually          touched          grass        that       time.


 11                Q.          All        right.            You       never       made       it     across this


 12   street

 13               A.           No         sir.


 14                Q.          You        never        made       it     into the            field              that


                  A.           No         sir.


 16                Q.          Never           made        it    to    the     field

 17               A.           No         sir.


 18                Q.          Okay.            And thats               where          you got              into       the       car

 19               A.           Yes            sir.         It    was    coming             out.         It      was     coming




--24
20    out    like       this   and        somewhere              in    this area               I    would             say    thats

21    --    the    car    came       in this           area       and       thats           where           I   got     into       the


22    car.


23                Q.           And where               did Michael                Rodriguez

                  A.           He        got     in    somewhere.                 I    want        to       say       the    car


25    was    already       starting              to    pull off             when       he    got        in.




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      1             Q.           So    you       never         ran across          the       street        or into          the


  2       field

  3                 A.           No       sir.


  4                 Q.           And you            said the          only person you                 saw       shooting


  s       was    George    Rivas          is     that      right

  6                 A.           Originally.                   Those       were    the       first        shots       fired

  7       but    gunshots      were       erupting             everywhere          and       I    assumed           that


  8       everybody       else      was       firing.           And    then the          stories when                 they

  9       talked    about      it     later everybody                  was        who    did       what

 10                 Q.           Who      took       credit          for doing          what

 11                 A.           Everybody                everybody          but    me.           They    were

 12       blaming me at          first         and    I    said        Find        the       gun     in    the       bag.


 13       The    guns     in a      bag       somewhere.

 14                 Q.           No       I    want       to    know       who    took       credit        for


 15       shooting       Aubrey       Hawkins

 16                 A.           Rivas         took       --    he    said        If     anything              happens        I




 17       shot    him.     Im       the       one    that       killed       him.        I       think     I    killed


 18       him.

 19                 Q.           What         about       the       others         Did       they     say they             shot


 20       him

 21                 A.           No.          They    said          that    they    were          firing        their

 22       gun.     At    the   time Rodriguez                   said he          believed          that        he   had


 23       shot   him in the           head.


 24                 Q.           What         did he       say about             that

 25                A.            He    said that               he    had    fired two            shots         at   the




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      1   time.


      2              Q.        And how did that                 happen

     3               A.        I    cant      recall.           He    just    --    they    were       talking

     4    about     it    and thats     what        he    said he       had    done.


     5               Q.        So    Michael        Rodriguez          says    he    shot    him twice            in


     6    the   head

     7               A.        Thats        what     he    had       said at       first     yes.


     8               Q.        And    Rivas      said he         shot    him how         many times

     9               A.        He    initially           said    four    times.


 10                  Q.        Obviously            Officer          Hawkins       was   shot     a    lot    more

 11       than that        wasnt      he

 12                  A.        Yes     sir.


 13                  Q.        The    intent        out    there        obviously           was       to   kill


 14       Aubrey     Hawkins        wasnt      it

 15                  A.        Yes     sir.


 16                  Q.        Shot    11     times

 17                  A.        Yes     sir.


 18                  Q.        His    bulletproof          vest        was    hit

 19                  A.        Yes     sir.


 20                  Q.        His    car     was    surrounded          and       fired at       from


 21       several        angles

 22                 A.         Yes     sir.


 23                  Q.       And     the     intent      was        clear    to    murder      him

24                  A.        Yes      sir.


25                  Q.        Because       he      was   in the        way




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     1               A.               Yes         sir.


     2                Q.              The     only way                 you       could       get       away    is       if     he      was


     3   dead       and you          could        get        him out             of    the       way

  4                  A.               I     dont know why they started firing                                                on       him.


     5   But    I   know     when           you    shoot           a    gun           its        usually       to       kill


  6      somebody           yes            sir.


  7                  Q.               Usually               when       you bring             a    loaded       gun       to       a


  8      robbery           you       plan on using                     it    or at       least          the    potential

  9      dont you

 10                  A.              Not      necessarily                        no     sir.


 11                  Q.              Why      else          would           you       bring a          loaded       gun        to      a


 12      robbery

 13                  A.               To     intimidate                     to    get    somebody             to     cooperate

 14      easier.


is                   Q.              Do      you       remember              giving          an    interview             to       a    guy

16       named      Jason        Bromley

17                   A.              Yes          sir.         Is       it       Jason       or    Jay

18                   Q.               It     may be          Jay.            Do    you       remember          talking                about


19       the    shooting             and how           it    occurred              with          him

20                   A.              Yes          sir.         I       remember          going over                it    in an


21       interview           yes           sir.


22                   Q.              I     want        to    show           you    what          has    been       marked             as


23       State      Exhibit          959          which            I    believe              is    going       to       be     that


24       interview.              I   want         to    play           that       portion          of    the       interview


25       where      you    talk           about        the     shooting.                 If       thats        not       you           let




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         us   know        and   well turn               it    off.


     2                                          MR.     SHOOK               Your Honor           at       this          time we


     3   offer     State        Exhibit          959.


     4                                          MR.     KING            No    objection.

     5                                          THE     COURT               No.    959    is    admitted.


     6                                                       At    this       time the          tape       was          played

     7                                                   for       the       jury.

     8               Q.               By       Mr.     Shook            You       talking       about          Michael

     9   Rodriguez

 10                  A.           Michael              Rodriguez              yes        sir.        When       I       said

         field

 --12
 11




                     Q.           You          said      I        had       taken       across       the       field          --

13                   A.           --       I    meant        the    grassy bank.

14                   Q.           Oh           thats what               you meant               The       grassy             bank

15                   A.           Yes           sir.


16                   Q.           But          you     said        field.

17                   A.           I    wasnt            aware       that          it    was    actually             a   grassy

18       bank     until     I    saw    the          diagrams and everything                          now.


19                   Q.          Well            how big           is       the    grassy       bank

20                  A.            I    cant            recall       how       large       it    was.           All       I    know

21       is   I   was     shot    in    the          foot     and       I    was       trying    to       get       away.


22                   Q.           Is    that          the     embankment               you     are    talking                about

23                  A.           That           is    the     embankment                 yes     sir.


24                  Q.           You           could     hardly confuse                   that       as    a    field

25       could     you



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     1                 A.        At    the     time       I    was    calling         it    a       field.        I    dont

     2   --     really       cant give         any    other explanation.

     3                 Q.           Thats obviously                  not   more       than           what         How

     4   many feet           would    you    say that           is

     5                 A.        Um     it     appears          to   probably be                about        five      or


     6   six feet.


     7                 Q.        State       Exhibit           57     thats          the    field          that       you

     8   have     to    get    across to           your       car

     9                 A.        Yes        sir.


 10                    Q.        Right

 11                    A.        Yes        sir.


 12                    Q.        You   are        grinning           there          saying           Im      limping

 13      across        the    field

 14                   A.         Yes        sir.      I       dont     think         that       I    was    grinning

 15      but    - -




 16                   Q.         Well        we    can        look   at    it       again.           You werent

17       grinning           there

18                    A.         Im    was        saying        Im    limping with                   a    flutter       of


19       the    eyes.


20                    Q.        You    are        saying now          that          you were             confused       and

21



--22                  A.        Yes      sir.        At       the    time       I    was    confused              yes

23       sir.


24                    Q.        You    were        just       confused          in    that          interview

25                    A.        Yes      sir.




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      1                Q.           And what              you really mean                   is   embankment

     2                 A.           Grass.


     3                 Q.           Of    course            at    the       time       you gave         that


     4    interview           you       didnt know               we       had    this       security      tape    and


     5    could       see    if   anyone           crossed        that          street.


     6                A.            No         sir.


     7                 Q.           But       you have           viewed          the    tape      here    in    court

     8    havent        you

     9                A.            Ive           seen     the    tape           but    I    cant       make    anything

 10       out    of    it.


 11                   Q.            Well          you can         see       the       Explorer      going down

 12       street        couldnt           you

 13                   A.            I    couldnt            see       an Explorer.

 14                   Q.            But       today your              story is          what      you meant       by

 is       limping across                the     field       was       just       that       embankment




 --21
 16                   A.            That       grass        and       I    dont think             that    changes.


 17                   Q.           You        said that           you       feel       really bad about            what


 18       happened           is   that        right

 19                   A.           Yes         sir.


 20                   Q.           Every          time      you       look       at    your      foot     you    think


          you    think       of   what        happened           out      there

 22                   A.            I    do.


 23                   Q.           You        plan        on making             some    money off         of    this

24                    A.           Was        I       I    had tried to make                     some    money     yes

25        sir.




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      1                 Q.                 You    wanted              to    get      a   book      deal        to    tell       your

      2   story         right

      3                 A.                 I    believe           I    also       said that            a   certain

      4   percentage              would          be    used           for    victim           rights.           But    that      was


      5   basically           to       survive              in prison.


      6                 Q.                 Let    me        show      you       what      has      been        marked       as    State


     7    Exhibit            960       a       letter        to       Jennifer           Roe.


     8                  A.                 Yes        sir.


     9                  Q.                 May    10         2001.           Is      that      a   letter you           sent       to


 10       her

 11                     A.                 Yes        sir.


 12                                                   MR.     SHOOK               Offer State              Exhibit          960.


 13                                                   MR.     KING              No    objection.

 14                                                   THE     COURT               No.     960      shall        be    admitted.


 15                     Q.                 By     Mr.       Shook               I    do       plan     on eventually

 16       writing        a    book             about    my life             and the            whole       Texas       Seven

 17       incident.               I    thought          about           giving           certain percentages                     of        the


 18       money to           different                organizations.                      I    thought          about       Hawkins

 19       son    and also              the       child       I     hurt         and when           I   was      on    acid.        I



 20       would     probably go                   for       30     or 40          percent          for     me    and    split          the


 21       rest     up    among          the       ones       I     mentioned.                 Maybe        I    would       give       a


22        little        to    a       victims          right          advocates               also.

23                      A.              Yes        sir.


24                      Q.              So       you    thought             maybe         you would             write       a   book       on


25        there and you                 could          take        30      or   40       percent         of     the    profits for




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  1   yourself

  2                A.          That     was       to    get    by in prison                    yes       sir.


  3                Q.          So    you     thought          you might          earn money off                   of


  4   this    whole       deal

  s                A.          Not     as    a    cashing          in on    telling                my story or

  6   anything          like   that.


  7                Q.          Thats what               you would          be    doing             wouldnt            you

  8                A.          Its      to       survive       in prison.                 I    also      said     I




  9   would    give       more more than                 half        to    other          things         besides


 10   myself.


 11                Q.          But     you would          take       some       of    that         cash

 12                A.          Yes      sir.


 13                                     THE       COURT            Thank    you           Mr.      Shook.         That


 14   will    be    enough       for    today.           Folks           its     been          a    long    day.


 15   Obviously           again        Im        going    to       leave    you with               the     same


 16   instructions.              Media       coverage.              Do    not        do       not     do    not       watch


 17   the    media.        Dont        read the paper                    talk    to       friends           spouses

 18   or anyone          else.       Dont         let    anyone          else    tell         you what          your

 19   opinion       should be          about       what       you heard          from          this      witness.


 20                            With     that       we    shall       stand       in       recess until                830

 21   tomorrow          morning.

 22                                                End        of   Volume

23




24




25




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  1   STATE      OF TEXAS


  2   COUNTY      OF DALLAS


  3         I    NANCY       BREWER       Official          Court       Reporter          for    the       283rd


  4   Judicial        District         Court        do    hereby       certify          that    the    above


  5   and foregoing           constitutes            a    true    and correct             transcription

  6   of   all   portions         of    evidence          and    other       proceedings             requested

  7   in writing        by counsel            for    the    parties          to    be    included          in    this


  8   volume     of    the   Reporters Record                     in    the       above-styled             and


  9   numbered        cause       all    of    which       occurred          in open          court    or       in


 10   chambers        and were         reported          by me.

 11         WITNESS      MY OFFICIAL            HAND       on this       the                   day    of


 12                           1
                                          2003.


 13




 14




 15                                                        A N\    04    A
                                                NANO        BREWER                R     NO.    5759
 16                                             Expiration             Dat            12-31-04
                                                Official Reporter   283rd JDC
 17                                             Frank Crowley Crts. Bldg. LB33
                                                133 No.  Industrial Blvd.
 1s                                             Dallas   TX 75207
                                                214        653-5863
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